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Phone: (215) 938-6378
Attorneys for Defendant
Mahanoy Area School District


              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                    :
B.L., a minor, by her father,       :
LAWRENCE LEVY, and her mother,      :
BETTY LOU LEVY                      : Civil Action No. 3:17-cv-1734
                                    :
                        Plaintiffs, : (The Hon. A. Richard Caputo)
            v.                      :
                                    :
MAHANOY AREA SCHOOL DISTRICT, :
                                    :
                        Defendant.  :



         ANSWER TO COMPLAINT, AFFIRMATIVE DEFENSES
                     AND JURY DEMAND

      AND NOW, COMES THE Defendant, Mahanoy Area School District (the

“District”), by and through its undersigned counsel, the LEVIN LEGAL GROUP,

P.C., who files this Answer to Complaint, Affirmative Defenses and Jury Demand,

and who, in support thereof, states the following:

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      1.     Admitted in part, and denied in part. The District admits that this

action is brought under 42 U.S.C. § 1983. The District further admits that this

Court has jurisdiction of this matter pursuant to 28 U.S.C. §§ 1331 and 1343, as

well as 28 U.S.C. §§ 2201 and 2202. The District denies that there are any rights

to be vindicated in this action.

      2.     Admitted.

                                    PARTIES

      3.     Admitted.

      4.     Admitted.

      5.     Admitted.

      6.     Admitted.

      7.     Admitted.

                                     FACTS

      8.     Admitted.

      9.     Denied.     The District admits only that B.L. achieved “superior

honors” as a freshman at Mahanoy Area High School. All other averments of this

paragraph are denied.

      10.    Admitted.

      11.    Admitted.

      12.    Admitted.
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      13.      Admitted in part, and denied in part. The District admits that the

cheerleading coaches report to the athletic director, high school principal, and

Superintendent Dr. Joie Green. The District denies that the cheerleading coaches

report to the band director or assistant band director.

      14.      Admitted.

      15.      Admitted in part, and denied in part. The District admits that the

cheerleading team practices twice a week in June and July. The District denies that

the cheerleading team always practices twice a week during the school year. In

reality, the cheerleading team practices once a week in August and during the

school year.

      16.      Admitted.

                                 Cheerleading Rules

      17.                                            Admitted in part, and denied in

part. The District admits that the cheerleading coaches were authorized to draft

and implement rules for student cheerleaders. The District further admits that the

rules were submitted to the District administration for approval.         All other

averments of this paragraph are denied.

      18.      Admitted.

      19.      Admitted. By way of further explanation, B.L. received another copy

of the Cheerleading Rules in May 2017.
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      20.   Admitted.

      21.   Admitted.

      22.   Admitted.

      23.   Admitted in part, and denied in part. The District admits that the

cheerleading rules state, “Each cheerleader must raise at least $60 per year (or pay

the boosters this fee) to remain on the squad. If the $60 is not met the cheerleader

will not be able to cheer the following year until the debt is paid off.” All other

averments of this paragraph are denied.

      24.   Admitted.

      25.   Admitted.

                               B.L.’s Snapchat Post

      26.   Admitted in part, and denied in part. The District admits that B.L.

posted a “Snap” to Snapchat featuring her and a friend holding up their middle

fingers, with text superimposed on the image stating, “fuck school fuck softball

fuck cheer fuck everything.” The District lacks sufficient information to formulate

a belief as to the truth of the averments as to the date when the Snap was posted.

Accordingly, that averment is denied.

      27.   Admitted.

      28.   Admitted.

      29.   Admitted.
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      30.    Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      31.    Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      32.    Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      33.    Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      34.    Admitted.

      35.    Admitted.

                  B.L.’s Dismissal from the Cheerleading Team

      36.    Admitted.

      37.    Admitted.

      38.    Admitted.

      39.    Denied. The averments of this paragraph constitute conclusions of

law or argument to which no response is required. To the extent that the averments

are deemed factual, they are denied.

      40.    Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.


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By way of further explanation, at this time the District is not aware of any other

violations of the Cheerleading Rules by B.L.

      41.   Admitted.

      42.   Admitted.

      43.   Admitted.

      44.   Admitted.

      45.   Admitted.

      46.   Admitted.

      47.   Admitted.

      48.   Admitted.

      49.   Admitted. By way of further explanation, the District does not agree

with Mr. Levy that public schools may not punish students for out-of-school

speech.

      50.   Admitted.

      51.   Admitted.

      52.   Admitted.

      53.   Admitted.

      54.   Admitted.

      55.   Admitted in part, and denied in part. The District admits only that Mr.

Levy’s comments to the school board included his interpretation of the First
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Amendment with regard to school students. All other averments of this paragraph

are denied.

      56.     Admitted.

      57.     Admitted in part, and denied in part. The District admits that on

September 1, 2017, counsel for B.L. and Lawrence Levy wrote to Superintendent

Green and the District’s solicitor about the matter. The District further admits that

the letter requested a response by September 6, 2017. All other averments of this

paragraph are denied.

      58.     Admitted.

                                    Harm to B.L.

      59.     Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      60.     Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      61.     Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      62.     Denied. The averments of this paragraph constitute legal conclusions

or argument to which no response is required. To the extent that the averments are

deemed factual, they are denied.


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      63.    Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      64.    Denied. The District lacks sufficient information to formulate a belief

as to the truth of the averments of this paragraph. Accordingly, they are denied.

      65.    Denied. The averments of this paragraph constitute legal conclusions

or argument to which no response is required. To the extent that the averments are

deemed factual, they are denied.

                                     CLAIMS

                                      Count I

      66.    Denied. The averments of this paragraph constitute legal conclusions

or argument to which no response is required. To the extent that the averments are

deemed factual, they are denied.

                                     Count II

      67.    Denied. The averments of this paragraph constitute legal conclusions

or argument to which no response is required. To the extent that the averments are

deemed factual, they are denied.

                                     Count III

      68.    Denied. The averments of this paragraph constitute legal conclusions

or argument to which no response is required. To the extent that the averments are

deemed factual, they are denied.
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      WHEREFORE, the Defendants respectfully requests that this Court grant

judgment in favor of the Defendant.



                           AFFIRMATIVE DEFENSES

      1.      The Plaintiffs’ Complaint fails to state a claim upon which relief can

be granted.

      2.      There is no respondeat superior liability of the Mahanoy Area School

District for the actions of its employees.

      3.      The Plaintiffs have suffered no injury in this matter.

      4.      No unlawful act or omission caused any injury.

      5.      The decision to remove B.L. from the cheerleading team – an

extracurricular activity – did not violate the First Amendment.

      6.      B.L.’s profane comments and photograph posted on Snapchat are not

protected by the First Amendment.

      7.      The decision to remove B.L. from the cheerleading team did not affect

her ability to advocate her viewpoint.

      8.      B.L. breached her agreement to comply with the Cheerleading Rules.

      9.      The conduct of B.L. was repugnant to the images of the School

District she agreed to uphold as a voluntary member and representative of the

School District’s cheerleading squad, wearing the uniform of the School District.
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      WHEREFORE, the Defendant respectfully requests that this Court dismiss

all claims in the Complaint and grant judgment in the District’s favor.

                         DEMAND FOR JURY TRIAL

      Defendant hereby respectfully requests makes a demand for a trial by jury.




                                              Respectfully submitted,

Date: November 17, 2017                       /s/ David W. Brown
                                              Michael I. Levin (PA 21232)
                                              David W. Brown (PA 201553)
                                              LEVIN LEGAL GROUP, P.C.
                                              1301 Masons Mill Business Park
                                              1800 Byberry Road
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                                              Attorneys for Defendant
                                              Mahanoy Area School District




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                         CERTIFICATE OF SERVICE


      I hereby certify that on this 17th day of November, 2017, I caused the

foregoing Defendant’s Answer to Complaint, Affirmative Defenses and Jury

Demand to be filed using the Court’s Electronic Case Filing system, and a Notice

of Electronic Case Filing was served upon all counsel in accordance with Fed. R.

Civ. P. 5(b) and M.D. Pa. L. R. 5.7.


                                            /s/ David W. Brown
                                            David W. Brown




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                                                                     1


                         UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF PENNSYLVANIA


   B.L.,                        )
             Plaintiff          )
                                )
        VS.                     )        CASE NO. 3:17-CV-01734
                                )
   Mahanoy Area School          )
   District,                    )
            Defendant           )
                                )
   ____________________________ )


           TRANSCRIPT OF PROCEEDING - PRELIMINARY INJUNCTION
                BEFORE THE HONORABLE A. RICHARD CAPUTO
                 MONDAY, OCTOBER 2, 2017 AT 9:30 A.M.
                      WILKES-BARRE, PENNSYLVANIA


   FOR THE PLAINTIFF:

        Mary Catherine Roper, Esq.
        ACLU of Pennsylvania
        P.O. Box 40008
        Philadelphia, PA 19106

        Molly Tack-Hooper, Esq.
        ACLU of Pennsylvania
        P.O. Box 60173
        Philadelphia, PA 19102

   FOR THE DEFENDANT:

        Michael I. Levin, Esq.
        Levin Legal Group, P.C.
        1301 Masons Mill Business Park
        1800 Byberry Road
        Huntingdon Valley, PA 19006

             ______________________________________________

                         DIANA GILBRIDE, RMR, FCRR
                      FEDERAL OFFICIAL COURT REPORTER
                                P.O. BOX G
                          SCRANTON, PA 18501-0090
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16 DEFENDANT:                                   IDENTIFIED       ADMITTED

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                                                                       3

 1                          (9:30 a.m., convene.)

 2             THE COURT:    Okay.   We're here on a hearing on a

 3 preliminary injunction in the case of B.L. versus Mahanoy Area

 4 School District.     And the plaintiff -- are you ready to

 5 proceed?

 6             MS. TACK-HOOPER:      Yes, your Honor, a couple

 7 housekeeping matters before we would proceed, if that's all

 8 right?

 9             THE COURT:    All right.

10             MS. TACK-HOOPER:      We would propose that the parties

11 do very brief opening statements and then closing argument

12 after the presentation of evidence.        And that my understanding

13 is that the district has brought several witnesses.          We'd

14 request that they -- other than the representative of the

15 district, Superintendent Green, that they be sequestered

16 during --

17             THE COURT:    Okay.   Any problem with that?

18             MR. LEVIN:    Mike Levin for the defense.      We have no

19 problem with that, your Honor.

20             THE COURT:    Okay.   Well then, let's do that, and then

21 let's proceed.    I'm fine with that procedure, as far as the

22 opening and closing.

23             MR. LEVIN:    Is there a room that the witnesses can

24 sit in during sequestration?

25             THE COURT:    I'm sure there is.
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                                                                      4

 1            THE DEPUTY CLERK:     There is a conference room in the

 2 lobby.   Do you want me to --

 3            MR. LEVIN:    Yes.

 4            THE COURT:    Yes, we will do that.

 5            (Pause.)

 6            MS. TACK-HOOPER:     Okay.   Molly Tack-Hooper for the

 7 plaintiff, your Honor.      Good morning.

 8            THE COURT:    All right.

 9            MS. TACK-HOOPER:     The parties agree here that the

10 plaintiff's likelihood of success on the merits is the main

11 issue in deciding plaintiff's motion for a preliminary

12 injunction.    And it's quite clear here that under the Third

13 Circuit decision in J.S. and Layshock the school does not have

14 the power to punish a student for disrespectful or even profane

15 speech that happens entirely outside of school and doesn't

16 cause a substantial material disruption to school activities.

17            In this case the Plaintiff B.L. was punished for a

18 Snap she posted that said, Fuck school, fuck softball, fuck

19 cheer, fuck everything.      She posted it on the weekend from a

20 convenience store that's not on school campus.         It wasn't

21 during any school activities.       And she used no school resources

22 or school time to create it.       All of those facts have already

23 been stipulated to by the district.        That's really all the

24 Court needs to decide this motion.

25            But today we'll provide some additional context.
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                                                                        5

 1 You'll see the Snap.     You'll hear from Plaintiff B.L.          You'll

 2 hear that she had a rough week when she posted that.          She was

 3 venting to her friends, which is one of the ways she uses

 4 Snapchat.   Posting a Snap takes just a few seconds, she'll

 5 explain.    You open the app on your phone, you take a photo, you

 6 add a line of text, and you share it with some or all of your

 7 friends.

 8             So that Saturday in May B.L. used Snapchat to vent.

 9 She posted a Snap that didn't refer to any particular person or

10 team; it didn't include a school logo; she wasn't wearing her

11 cheerleading uniform; it wasn't even during cheerleading

12 season.    The sports seasons were over.

13             And she'll explain that Snaps are designed to be

14 fleeting and temporary.      They're available for anywhere from

15 one second to 24 hours.      This particular Snap was accessible

16 only by her friends on Snapchat, you couldn't go on-line and

17 see it, the general public couldn't download the Snapchat app

18 and see it.    And even her friends could only access it for 24

19 hours from that Saturday.      So by Monday morning the Snap had

20 already self-deleted from Snapchat.        By the time the school

21 week started it was gone.

22             The school punished B          for that fleeting

23 expression of frustration that she shared with her friends on

24 the weekend entirely outside of the school.         Thank you, your

25 Honor.
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                                                                        6

 1            THE COURT:    Thank you.    Yes.

 2            MR. LEVIN:    Your Honor, on behalf of the school

 3 district the plaintiffs cite cases which are simply

 4 inapplicable here.     The Layshock case, the J.S. case, and the

 5 others including Tinker are all cases where the students are

 6 suspended or expelled from school.       This is an extracurricular

 7 case, where extracurriculars are considered to be privileges,

 8 not rights.

 9            This student and her parents signed the conduct

10 forms, agreed to comply with the code of conduct, which

11 expressly states that it is applicable during the entire time

12 that the activity, in this case cheerleading, is in session.

13 And the parties stipulated -- it's in paragraph 13 of the

14 stipulations -- as well as the plaintiff's statement, quote,

15 The cheerleaading squad is active throughout the year,

16 including the summer.

17            Sportsmanship is one of the important lessons to

18 learn from extracurriculars.       And you'll hear that this picture

19 of the plaintiff giving her middle finger to everybody who saw

20 that Snap and the plaintiffs, quote, Fuck cheerleading, end of

21 quote, is not really expressive conduct.        I don't know what she

22 intended to mean by that contempt that she showed.          And it

23 didn't disappear after 24 hours because people who got her Snap

24 made pictures, brought pictures into the school district, and

25 in fact the pictures are captured on the exhibits that we'll be
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                                                                         7

 1 presenting.

 2            When the Court applies the cases that deal with

 3 extracurricular activities, the school district was well within

 4 its rights in this particular case.        Thank you.

 5            THE COURT:    All right.

 6            MS. TACK-HOOPER:     Your Honor, to shorten the

 7 presentation of evidence the parties have entered into some

 8 stipulations of fact and stipulated to two exhibits.           The --

 9 they have been pre-marked as Defendant's 1 and 3, but we would

10 jointly move them into evidence, your Honor.         And I've got

11 copies of the stipulated facts and the exhibits.

12            THE COURT:    All right.

13            MS. TACK-HOOPER:     Would you like me to pass them up

14 now, your Honor, or hold them until the end?

15            THE COURT:    Well, you can do either.         Why don't you

16 just hold onto them, as long as there's no --

17            MS. TACK-HOOPER:     Certainly.

18            THE COURT:    There's no disagreement about it, that's

19 fine.   But just be sure to do it at the conclusion of your

20 presentation.

21            MS. TACK-HOOPER:     Okay, all right.     In that case,

22 your Honor, we would call the plaintiff B             L      to the

23 school [sic].    We've used her initials in the complaint, of

24 course, as is required under the Rules --

25            THE COURT:    Right.
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                                                                       8

 1               MS. TACK-HOOPER:        -- but we have -- we're not

 2 proceeding anonymously.        Okay.

 3               THE DEPUTY CLERK:       Will you raise your right hand.

 4                                   B         L       ,

 5 called as a witness, having been duly sworn or affirmed

 6 according to law, testified as follows:

 7               THE DEPUTY CLERK:       Can you please state your name for

 8 the record?

 9               THE WITNESS:    B         L       .

10               THE REPORTER:       And can you just spell your first name

11 for me?

12               THE WITNESS:    B-                .

13                              DIRECT EXAMINATION

14 BY MS. TACK-HOOPER:

15 Q.     Good morning B         .

16 A.     Good morning.

17 Q.     How old are you?

18               THE COURT:    Just move that microphone a little closer

19 to you.      That's fine.    Thank you.

20 BY MS. TACK-HOOPER:

21 Q.     Can you say your name again so we can see if we can hear

22 you.

23 A.     B        L   .

24 Q.     Great.    And how old are you B                  ?

25 A.     15.
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                                                                     9

1 Q.     What grade are you in?

2 A.     Tenth.

3 Q.     All right.   And where do you go to school?

4 A.     Mahanoy Area.

5 Q.     And what do you do when you're not in school?

6 A.     I do my homework or I go outside with my friends.

7 Q.     Do you do any sports or activities?

8 A.     Cheerleading and softball.

9 Q.     When did you start cheerleading?

10 A.    In fifth and sixth grade.

11 Q.    Okay.    Did you do cheerleading in seventh and eighth

12 grade?

13 A.    No.

14 Q.    All right.   What about ninth grade?

15 A.    Yes.

16 Q.    Okay.    What -- so, in ninth grade you were on what

17 cheerleading team?

18 A.    JV.

19 Q.    JV, junior varsity?

20 A.    Yes.

21 Q.    Okay, thank you.    What teams do you cheer for on the JV

22 squad?

23 A.    Basketball, football and wrestling.

24 Q.    And those are all men's teams, those teams?

25 A.    Yes.
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                                                                     10

 1 Q.    How did you get on to the JV squad?

 2 A.    You had to try out.

 3 Q.    When did you try out?

 4 A.    Towards like the end of the school years.

 5 Q.    So towards the end of eighth grade, before eighth grade?

 6 A.    Yeah.

 7 Q.    Okay.   And what did you have to do at tryouts?

 8 A.    A dance and three cheers.

 9 Q.    Okay.   How did you find out that you were -- you had made

10 it onto the JV squad?

11 A.    So they called all of us out, and then we had numbers, and

12 they just said our numbers like if we made it on the JV, on the

13 junior varsity.

14 Q.    Okay.   So they told you right there at tryouts that you

15 were on the team?

16 A.    Yes.

17 Q.    Okay.   And did you have to try out again at the end of

18 ninth grade for tenth grade cheerleading?

19 A.    Yes.

20 Q.    Okay.   And how did -- did that work the same way as the

21 tryouts for ninth grade JV?

22 A.    Yes.

23 Q.    Okay.   And did you make varsity at the end of your ninth

24 grade year?

25 A.    No.
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                                                                        11

 1 Q.    Okay.    Do you remember getting a copy of some cheerleading

 2 rules?

 3 A.    I don't remember.

 4 Q.    Okay.    Can I -- may I approach, your Honor?

 5               THE COURT:    Yes.

 6 BY MS. TACK-HOOPER:

 7 Q.    Okay.    All right.    Okay.   Let the record reflect I have

 8 handed the witness what has been marked as D-3.          B        , do you

 9 see the page that says Mahanoy Area High School Cheerleading

10 Rules at the top?

11 A.    Yes.

12 Q.    Okay.    Do you remember getting these at some point?

13 A.    Yeah.

14 Q.    Okay.    What do you remember about these rules?

15 A.    About how like you needed to keep your grades up and you

16 needed to raise a certain amount of money.

17 Q.    Okay.    Do you remember when you got a copy of these?

18 A.    No.

19 Q.    Okay.    Let's go through a few of the rules.          So there's a

20 section at the top that says Attendance.        Can you read the

21 first sentence of that first bullet point for me, please.

22 A.    All cheerleaders must attend every practice and workshop.

23 Q.    Okay.    Did you attend every practice and workshop?

24 A.    Yes.

25 Q.    Okay.    The next section says Academic Policy.         Is that the
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                                                                        12

 1 one you remember?

 2 A.    Yeah.

 3 Q.    All right.    Can you read that first bullet point for us,

 4 please?

 5 A.    All cheerleaders must me academically eligible.         If you

 6 are ineligible you are -- if you are failing two or more

 7 classes to participate at games.

 8 Q.    Have you ever been academically disqualified from doing

 9 cheerleading?

10 A.    No.

11 Q.    How are your grades?

12 A.    Good, like honors.

13 Q.    All right.    And do you plan to go to college?

14 A.    Yes.

15 Q.    All right.    The next section is called Uniforms.          Could

16 you read that second bullet point under Uniforms please?

17 A.    Uniforms should be machine washed weekly and line dried

18 during regular season.

19 Q.    Okay.   Have you ever gotten in trouble for having a dirty

20 uniform?

21 A.    No.

22 Q.    All right.    Let's turn the page.     There's another section

23 called Sportsmanship and Responsibilities/Fundraising.            Did you

24 participate in fundraising as part of the cheerleading team?

25 A.    Yes.
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                                                                         13

 1 Q.    What did you guys do?

 2 A.    Krispy Kreme Doughnuts and popcorn sales.

 3 Q.    Sales, okay.    And the final section is called Technology.

 4 Can you read that first bullet point under Technology.

 5 A.    The use of cell phones is prohibited during games and

 6 other events.

 7 Q.    Have you ever gotten in trouble for using your cell phone

 8 during a game or other school event?

 9 A.    No.

10 Q.    Have you ever been benched at all from cheerleading?

11 A.    No.

12 Q.    All right.    And other than being punished for your Snap,

13 have you ever gotten in trouble at school?

14 A.    No.

15 Q.    Okay.    In that same document, if you could flip back a

16 couple pages to the exhibit that's been marked Exhibit D-1.

17 And can I approach, your Honor?

18               THE COURT:   You may.       You don't have to ask me.

19               MS. TACK-HOOPER:   Okay.

20 BY MS. TACK-HOOPER:

21 Q.    Did you find it?     Great.     B       , is this a photo of a

22 Snapchat that you made?

23 A.    Yes.

24 Q.    Okay.    I want to talk a little bit about what Snapchat is

25 and how it works.     So how do you post something on Snapchat?
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                                                                     14

 1 A.    Like you go onto the app and click on a button and take a

 2 picture or a video.     And then you could type like something,

 3 anything you want, and then you can post it to your story,

 4 which is all of your friends, or send it to like an individual

 5 person.

 6 Q.    Okay.    And how long do Snaps last?

 7 A.    If you send it to an individual person it only lasts ten

 8 seconds.     But if you put it on your story it will last 24

 9 hours.

10 Q.    And is there a website you can go to to see someone's

11 Snapchat posts?

12 A.    No.

13 Q.    So how do you -- you have to -- you mentioned an app.        You

14 have to have the app, is that how it works?

15 A.    Yes.

16 Q.    So what do you use Snapchat for?

17 A.    To rant or post funny stuff.

18 Q.    Okay.    How does it compare to the things you would say to

19 your friends in person?

20 A.    How I would talk to them normally.

21 Q.    So it's the same way you would talk to them on Snapchat as

22 a person?

23 A.    Yeah.

24 Q.    Are you on other social media, like facebook or Instagram?

25 A.    Yeah.
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                                                                      15

 1 Q.      And how does Snapchat compare to those other sites,

 2 platforms?

 3 A.      On my facebook, like the stuff you make is permanent

 4 unless you delete it and stuff.       And then with Snapchat it only

 5 lasts 24 hours.

 6 Q.      Okay.   So let's talk about this particular Snap that you

 7 have in front of you.     When did you post this?

 8 A.      It was on a Saturday after tryouts for cheerleading.

 9 Q.      Do you know like roughly what month that was or season?

10 A.      The end of May.

11 Q.      All right.   So you said it was after tryouts.      Were

12 there -- was cheerleading -- were there practices going on at

13 that time?

14 A.      No.

15 Q.      Okay.   Were there games that you were cheering for at that

16 time?

17 A.      No.

18 Q.      All right.   How -- when does cheerleading happen during

19 the school year?

20 A.      Practices would start like a week after school ended, like

21 somewhere around there.      And then they'd go like throughout the

22 entire school year.

23 Q.      Okay.   So this was in the period between the end of

24 cheerleading and the start of practices for the next season?

25 A.      Yes.
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                                                                     16

 1 Q.    All right.    And where was this photo taken?

 2 A.    The Cocoa Hut.

 3 Q.    What's a the Cocoa Hut?

 4 A.    It's like a store, a small store.

 5 Q.    Is it part of school?

 6 A.    No.

 7 Q.    All right.    Were there any school activities that you were

 8 participating in while you took this photo?

 9 A.    No.

10 Q.    All right.    And what are you wearing in this photo?       First

11 of all, is that you on the left there?

12 A.    Yes.

13 Q.    And who is the girl on the right?

14 A.    My friend D      .

15 Q.    Does she go to school with you?

16 A.    Yeah.

17 Q.    Is she a cheerleader?

18 A.    No.

19 Q.    And what are you wearing in that?

20 A.    A gray shirt.

21 Q.    Is that your school uniform?

22 A.    No.

23 Q.    Is your school uniform what you're wearing today?

24 A.    Yeah.

25 Q.    Okay.   Are there any school logos in this photo?
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                                                                      17

 1 A.      No.

 2 Q.      And why did you make this post?

 3 A.      I was angry about a lot of stuff that day.

 4 Q.      What were you angry about?

 5 A.      That I didn't make varsity for cheerleading, and I didn't

 6 get the spot I wanted for softball.

 7 Q.      What spot did you want for softball?

 8 A.      Right field.

 9 Q.      And what were you playing?

10 A.      The left.

11 Q.      Okay.    And why were you angry about school?

12 A.      Because of finals.

13 Q.      Okay.    And this language on this Snap, how does that

14 compare to the way you speak when you're at school?

15 A.      Different.    Because I know I'd get in like big trouble if

16 like a teacher or something hears it.

17 Q.      So that's not the kind of language you use at school?

18 A.      No.

19 Q.      Okay.    How did you think your friends would react to the

20 Snap?

21                 MR. LEVIN:   Objection, irrelevant and speculative.

22                 THE COURT:   What's the purpose of the question?

23                 MS. TACK-HOOPER:   Your Honor, the district's brief

24 emphasizes that she was being disrespectful and that this

25 impacted her coaches and her team.        So, asking about the intent
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                                                                     18

 1 of the post is --

 2               THE COURT:   Well I think you can rephrase the

 3 question and ask her what she intended to happen rather than

 4 what she expected the result to be.

 5               MS. TACK-HOOPER:   Certainly.

 6 BY MS. TACK-HOOPER:

 7 Q.    What did you intend when you posted this Snapchat?

 8 A.    What does that mean?

 9 Q.    It means -- were you trying to send a message to someone

10 with this?

11 A.    I was just mad about everything.

12 Q.    Okay.    Was it directed at a particular person?

13 A.    No.

14 Q.    All right.    And do you know how this photo came to be?

15 A.    No.

16 Q.    All right.    How do you -- so if a Snapchat only lasts ten

17 seconds or 24 hours, is there a way to make them last longer?

18 A.    Other than taking a picture of it like this, no.

19 Q.    So how do you take a picture of somebody's Snapchat?

20 A.    You'd have to get another phone to take a picture of it

21 from someone else's phone.

22 Q.    Okay, all right.     So you posted this on a Saturday.      Was

23 there school the following Monday?

24 A.    Yes.

25 Q.    And how did your friends react to this post?
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                                                                      19

 1 A.    No one said anything to me about it.

 2 Q.    Not on the weekend?

 3 A.    No.

 4 Q.    Not on Monday?

 5 A.    No.

 6 Q.    What about on Tuesday?     Did anyone say anything to you

 7 about the post on Tuesday?

 8 A.    No.

 9 Q.    What about Wednesday?

10 A.    No.

11 Q.    Okay.    When was the first time anyone said anything to you

12 about this post?

13 A.    Thursday Morning.

14 Q.    And what was that conversation?

15 A.    Mrs. Luchetta called me to her room at homeroom, and she

16 showed me the picture and said it was disrespectful towards

17 her, the school, and everyone -- like all the students.           And

18 then she told me I wasn't allowed to do cheerleading that year.

19 Q.    Okay.    Did she say what in particular about the Snap was

20 disrespectful?

21 A.    No -- oh yeah.     She pointed at it.

22 Q.    What did she point to?

23 A.    The words fuck cheer.

24 Q.    Okay.    One moment, your Honor.

25               (Pause.)
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                                                                     20

 1               MS. TACK-HOOPER:     Nothing else, your Honor.

 2               THE COURT:   Cross-examine.

 3               MR. LEVIN:   Yes.    I have a packet of exhibits that

 4 I'd like to hand up.       I have a packet for the Court.

 5               THE COURT:   All right.

 6                             CROSS EXAMINATION

 7 BY MR. LEVIN:

 8 Q.    May I call you B         ?

 9 A.    Yes.

10 Q.    Okay.    Good morning.      I'm Mike Levin.   I'm an attorney,

11 and I represent the school district.        I'm going to ask you some

12 questions.     Is that okay with you?

13 A.    Okay.

14 Q.    If you don't understand any question let me know and I'll

15 be happy to rephrase it, is that all right?

16 A.    Yes.

17 Q.    Okay.    Cheerleading is an extracurricular activity, isn't

18 that true?

19 A.    Yes.

20 Q.    Cheerleading is totally voluntary, isn't that true?

21 A.    Yes.

22 Q.    There's no requirement that students participate in

23 cheerleading in order to graduate, is that correct?

24 A.    Yes.

25 Q.    None of your grades in your academic classes or even gym
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                                                                     21

1 or phys ed take cheerleading into account, isn't that correct?

2 A.      Yes.

3 Q.      You're not listed -- cheerleading is not listed on your

4 transcript, isn't that correct?

5 A.      I don't know what a transcript is.

6 Q.      In order to join the cheerleading squad your parents have

7 to sign an application giving you permission, isn't that

8 correct?

9 A.      Yeah.

10 Q.     Please take a look at Exhibit D-7.      That's behind the 7th

11 tab.   Tell me when you have it in front of you.

12 A.     I have it.

13 Q.     Okay.   Do you recognize that as an application form for

14 cheerleading?

15 A.     For tryouts, yes.

16 Q.     And do you recognize your mother's signature about

17 one-third of the way down?

18 A.     Yeah.

19 Q.     And in fact, under what has been blacked out, have you

20 ever heard of the word redacted?

21 A.     No.

22 Q.     Well, redacted means in documents like this when we block

23 something out.      I blocked out your name.    But do you remember

24 signing this form on April 28, 2017?

25 A.     Yeah.
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                                                                     22

 1 Q.    Okay.    And the third sentence right above where your

 2 signature would be says, quote, If elected, I promise to abide

 3 by the rules and regulations set forth by the advisor and the

 4 principal of the Mahanoy Area High School, end of quote.          Did I

 5 read that correctly?

 6 A.    Yeah.

 7 Q.    And the next sentence says, I promise to cooperate and

 8 fellow the instructions of the cheerleading coach, period, end

 9 of quote.     Did I read that correctly?

10 A.    Yeah.

11 Q.    And you would agree that there's similar language right

12 before your mother's signature, right?

13 A.    Yeah.

14 Q.    This wasn't the first year that you signed documents

15 acknowledging what the rules are, isn't that correct?

16 A.    Yeah.

17 Q.    Please take a look at Exhibit D-5, which is behind the

18 fifth tab.    Do you remember you and your mother signing that

19 for the 2016/2017 school year?

20 A.    I don't remember.

21 Q.    Do you remember signing it at the bottom where we have it

22 redacted?

23 A.    No.

24 Q.    Do you dispute that you and your mother signed this?

25 A.    I don't know what that means.
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                                                                        23

 1 Q.    Do you disagree that you signed it?

 2 A.    I don't disagree, but I don't remember it.

 3 Q.    Okay.    Fair enough.   And you would agree that about

 4 one-fifth of the way down it says Handbook, and do you

 5 recognize your mother's --

 6               THE COURT:   Why are we dealing with this?     She said

 7 she doesn't remember signing it.        She doesn't remember the

 8 document.     So why are we dealing the document?

 9               MR. LEVIN:   Okay.   I'll move on, your Honor.

10               THE COURT:   Is this an agreed to exhibit?

11               MR. LEVIN:   It hasn't been put in the stipulation.

12               THE COURT:   That's not what I asked.    Is this an

13 agreed to exhibit?

14               MS. TACK-HOOPER:     Your Honor, we have no objection to

15 the --

16               THE COURT:   All right, then fine.    Proceed.      Sorry.

17               MR. LEVIN:   Thank you.

18 BY MR. LEVIN:

19 Q.    Do you recognize your mother's signature next to the

20 section that says Handbook?

21 A.    Yeah.

22 Q.    Do you recog- -- and it's the same signature for all four

23 sections, is that correct?

24 A.    Yeah.

25 Q.    And do you recognize your mother's signature towards the
Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 54 of 389


                                                                     24

1 bottom, right above the redacted area?

2 A.      Yeah.

3 Q.      And the form refers to a handbook, is that correct?

4 A.      I'm not sure.

5 Q.      Well, about one fifth of the way down do you see where it

6 says Handbook?

7 A.      Yeah.

8 Q.      Okay.   And all the students in the high school receive the

9 student handbook, right?

10 A.     Yes.

11 Q.     And you got the student handbook, right?

12 A.     Yes.

13 Q.     And the student handbook is pretty much the same from year

14 to year, right?

15 A.     Yeah.

16 Q.     Please take a look at Exhibit D-4, it's behind the fourth

17 tab.   Do you recognize that as a page from the student

18 handbook?

19 A.     Yeah.

20 Q.     And that contains rules about personal conduct, right?

21 A.     Yeah.

22 Q.     And in paragraph eight there's a star next to that, do you

23 see that?

24 A.     Yeah.

25 Q.     And do you see where it says, Participation on an athletic
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                                                                     25

 1 team or cheerleading squad in Mahanoy Area School District is a

 2 privilege, end of quote, did you see that?

 3 A.    Yes.

 4 Q.    Do you also see where it says that, quote, Participants

 5 must earn the right to represent Mahanoy schools by conducting

 6 themselves in such a way that the image of the Mahanoy School

 7 District would not be tarnished in any manner, end of quote.

 8 Did I read that correctly?

 9 A.    Yes.

10 Q.    And the next sentence says, quote, Any participant whose

11 conduct is judged to reflect a discredit upon himself/herself,

12 the team or the Mahanoy schools, whether or not such activities

13 takes place during or outside school hours during the school

14 sport season would be subject to disciplinary action as

15 determined by the coach, end of quote.        Did I read that

16 correctly?

17 A.    Yeah.

18 Q.    Now, as a cheerleader the school district provides school

19 district uniforms, isn't that correct?

20 A.    Yeah.

21 Q.    And those uniforms have school district markings on them,

22 right?

23 A.    Yes.

24 Q.    And the members of the cheerleading squad are required to

25 wear the uniforms to the games and parades that the
Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 56 of 389


                                                                     26

 1 cheerleading squad is performing in, right?

 2 A.    Yes.

 3 Q.    Now, before you signed Exhibits D-5 or D-7, did you tell

 4 the coaches, any teacher or principal that you didn't

 5 understand the rules?

 6 A.    No.

 7 Q.    Before you snapped a picture of your middle finger and

 8 wrote fuck cheer, did you tell anybody that you didn't

 9 understand the rules?

10 A.    No.

11 Q.    Before you snapped the picture of your middle finger and

12 wrote fuck cheer did you ask any of the coaches, any teachers

13 or the principal whether you could post such profanity?

14 A.    No.

15 Q.    Please take a look at Exhibit D-9.       Tell me when you have

16 it?

17 A.    I have it.

18 Q.    Is that a picture of what the uniforms look like from the

19 front?

20 A.    No.

21 Q.    Excuse me?

22 A.    No.

23 Q.    These aren't the uniforms?

24 A.    No.    These are the seventh and eighth grade ones.

25 Q.    Okay, I stand corrected then.       Now, getting on varsity
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                                                                     27

 1 cheerleading is a competitive process, right?

 2 A.    Yeah.

 3 Q.    There are tryouts where special judges are brought in to

 4 evaluate students' performances, right?

 5 A.    Yes.

 6 Q.    You tried out on Thursday, May 25, right?

 7 A.    Yeah.

 8 Q.    You were told you didn't make varsity, but you made junior

 9 varsity, right?

10 A.    I was already on junior varsity.

11 Q.    Okay.   You were told that you didn't make varsity, right?

12 A.    Yeah.

13 Q.    You were angry about not making varsity, right?

14 A.    Yeah.

15 Q.    You insisted on seeing the score sheets from the judges,

16 right?

17 A.    I don't remember that.

18 Q.    You were angry that a freshman made varsity but you did

19 not, right?

20 A.    Yeah.

21 Q.    You sent a text to Coach Luchetta questioning why a

22 freshman made the varsity squad and you did not, right?

23 A.    I don't remember that.

24 Q.    When Coach Luchetta told you students did not have to be

25 on JV first in order to be on varsity, you said that was
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                                                                     28

 1 stupid, right?

 2 A.    I don't know.

 3 Q.    Please take a look at Exhibit D-10.       Do you remember those

 4 texts as being a text between you and Coach Luchetta?

 5 A.    No.

 6 Q.    You don't remember this at all?

 7 A.    No.

 8 Q.    Okay.   In addition to Exhibit D-1, which is the Snap where

 9 you're giving the middle finger and you're using the F word

10 several times, you also send another Snap, isn't that correct,

11 about this subject?

12 A.    I don't remember.

13 Q.    Please take a look at what has been marked as Exhibit D-2.

14 Tell me when you have it in front of you.

15 A.    I have it.

16 Q.    Isn't that another Snap that you sent?

17 A.    I don't remember making it.

18 Q.    Okay.   Is it possible you did and you just don't remember?

19 A.    Yeah.

20 Q.    And these Snaps which signify your anger were sent on the

21 Memorial Day weekend, right?

22 A.    I don't know.

23 Q.    How many people had access to these Snaps?         You said you

24 sent it to your friends.      How many were there?

25 A.    About like two-fifty.
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                                                                     29

 1 Q.    Two hundred and fifty?

 2 A.    Yeah.

 3 Q.    And many of those 250 were students at the Mahanoy Area

 4 School District, right?

 5 A.    Yeah.

 6 Q.    Some of the people who were among the 250 people were on

 7 the cheerleading squad, right?

 8 A.    Yeah.

 9 Q.    And after you were told by Coach Luchetta that you were

10 being removed from the cheerleading squad you went to the

11 principal's office, right?

12 A.    Yes.

13 Q.    And the principal is Mr. Thomas Smith, is that correct?

14 A.    Yes.

15 Q.    You started crying when you got there, right?

16 A.    Yeah.

17 Q.    You admitted to Mr. Smith that you posted the Snap, right?

18 A.    Yes.

19 Q.    And you told him you did it because you were angry, right?

20 A.    Yeah.

21               MR. LEVIN:   I have nothing further, your Honor.    I

22 move for the admission of the exhibits?

23               MS. TACK-HOOPER:   Your Honor, we would object to the

24 admission of D-10, the texts that our client doesn't remember.

25 And D-9, the uniforms that have no relevance in this case.
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1                 MR. LEVIN:   We're going to have another witness on

2 D-10.    And I agree with respect to -- that there's limited

3 relevance.

4                 THE COURT:   Okay, they'll all be admitted but for D-9

5 and D-10.       Redirect?

6                 MS. TACK-HOOPER:   Yes, your Honor.   One moment, your

7 Honor, please.

8                 (Pause.)

9                              REDIRECT EXAMINATION

10 BY MS. TACK-HOOPER:

11 Q.     Okay.    B     , I've handed you what has been marked as

12 P-1.   Do you recognize that?

13 A.     Yes.

14 Q.     Is that the handbook that the lawyer for the district

15 referred to earlier?

16 A.     Yeah.

17 Q.     And can you tell me how many pages are in that handbook?

18 A.     A lot.

19 Q.     Are they numbered?

20 A.     Yeah.

21 Q.     Sure.    What's the highest page number there?

22 A.     85.

23 Q.     Did you read all 85 of those pages?

24 A.     No.

25 Q.     Do you remember everything that you did read in it?
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                                                                     31

1 A.     No.

2 Q.     All right.   Was there anything in there that said that

3 students have no right to speak freely with their friends on

4 the weekends?

5 A.     No.

6 Q.     And those permission slips that the lawyer for the

7 district showed you, did you sign anything saying you agreed to

8 give up your rights to speak freely with your friends on the

9 weekends?

10 A.    No.

11 Q.    Would you have signed something that said that?

12 A.    No.

13 Q.    The district lawyer asked if you were angry when you made

14 that -- that Snap.     Did you take out your anger at your

15 teammates during -- during tryouts?

16 A.    No.

17 Q.    Did you use the kind of language in your Snapchat at

18 tryouts because you were angry?

19 A.    No.

20 Q.    You didn't swear at the coaches?

21 A.    No.

22 Q.    You didn't swear at your teammates?

23 A.    No.

24 Q.    When you made this post several days later were you trying

25 to upset people?
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                                                                     32

 1 A.    No.

 2 Q.    Okay.    And the district lawyer mentioned that when you

 3 spoke with the school officials about being removed from the

 4 team you were crying?

 5 A.    Yeah.

 6 Q.    Did you apologize for having posted this on Snapchat?

 7 A.    Yeah, multiple times.

 8 Q.    And why were you crying B         ?

 9 A.    Because I was upset that I got kicked off.

10 Q.    Why were you upset?

11 A.    Because I really enjoy cheerleading.

12               MS. TACK-HOOPER:   Nothing further, your Honor.

13               MR. LEVIN:   I have nothing further.

14               THE COURT:   All right.   You may step down.

15               MS. TACK-HOOPER:   We would move into admission the

16 Exhibit P-1, please, your Honor.

17               MR. LEVIN:   I have no objection.

18               THE COURT:   Admitted.

19               MS. TACK-HOOPER:   And the -- as well as D-1 and 3,

20 I'm not sure whether they were included in what you just moved

21 in, but the stipulated exhibits.

22               MR. LEVIN:   They were.

23               THE COURT:   They were.

24               MS. TACK-HOOPER:   Great, thanks your Honor.

25 Plaintiff rests, your Honor.
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                                                                     33

 1             MR. LEVIN:   Our first witness would be Coach

 2 Luchetta.

 3             THE DEPUTY CLERK:    Would you raise your right hand.

 4                      COACH NICOLE LUCHETTA-RUMP,

 5 called as a witness on behalf of the Defendant, having been

 6 duly sworn or affirmed according to law, testified as follows:

 7             THE DEPUTY CLERK:    Please state and spell your name

 8 for the record.

 9             THE WITNESS:    Nicole, N-I-C-O-L-E, Luchetta,

10 L-U-C-H-E-T-T-A dash Rump, R-U-M-P.

11                          DIRECT EXAMINATION

12 BY MR. LEVIN:

13 Q.    Would you state your full name for the record, please?

14 A.    Nicole Luchetta-Rump.

15 Q.    By whom are you employed?

16 A.    The Mahanoy Area School District.

17 Q.    In what capacity or capacities?

18 A.    I'm a secondary mathematics teacher and a cheerleading

19 co-advisor.

20 Q.    And what do you teach?

21 A.    I teach high school mathematics.

22 Q.    And how long have you been a public school teacher?

23 A.    This is my eighth year.

24 Q.    How long have you been a cheerleading coach?

25 A.    This is my third year.
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                                                                     34

 1 Q.    Did you have any role in writing the cheerleading rules?

 2 A.    The cheerleading rules were adopted from the previous

 3 coaches, but April and I revised them to meet our needs.

 4 Q.    Did you review the rules with the cheerleaders?

 5 A.    We reviewed them during the cheerleading workshops during

 6 our tryouts.    In addition to that, the cheerleaders were

 7 required to read and sign a form saying that they will abide by

 8 the cheerleading rules before starting cheerleading tryouts.

 9 Q.    Was B       present when you reviewed the rules?

10 A.    Yes.

11 Q.    Are there any pedagogical purposes for the rule?

12 A.    The main purpose of the rules is to not only teach our

13 students that they have to follow rules, and if they don't

14 follow them there's consequences, but in addition to that we

15 want to teach them team-building skills and skills that they

16 will take with them after they graduate.

17 Q.    Did B       try out for varsity cheerleading for the

18 2017/18 school year?

19 A.    Yes.

20 Q.    Did she make varsity?

21 A.    No.

22 Q.    How did she react to not making varsity?

23 A.    After the tryouts, after the results were given B

24 seemed visibly upset.     She did ask me to see her tryout score.

25 I showed them to her then she handed them back.
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                                                                          35

 1 Q.      Did she send you any texts about the subject?

 2 A.      Yes.

 3 Q.      Please take a look.        On your desk there is a packet of

 4 defense exhibits.        Please take a look behind Tab 10 at the

 5 document called D-10.          Do you have it in front of you?

 6 A.      Yes.

 7 Q.      Do you recognize that as several texts between you and

 8 whom?

 9 A.      Hum, this is between myself and B.L.

10 Q.      That's B         ?

11 A.      Yes.

12 Q.      And some of these texts are in gray and one of the texts

13 is in blue.      Do you see that?

14 A.      Yes.

15 Q.      Who sent the texts that are in gray?

16 A.      Hum, B       sent the ones in gray.

17 Q.      And the redacted word, is that the word B             in the

18 first one, Hey, it's --

19 A.      Yes.

20 Q.      Okay.    So, B          said, Hey, it's B     .    Just wondering,

21 do you have to DK a year of JV before you can make varsity?                 My

22 mom was wondering.           Is that what she asked you?

23 A.      Yes.

24 Q.      And how did you respond?

25 A.      I respond with No.
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                                                                     36

 1 Q.    And how did B         respond to your statement?

 2 A.    She replied with, That's stupid, but okay.

 3 Q.    And then she also stated the rest of the texts that are in

 4 gray, is that correct?

 5 A.    Correct.

 6 Q.    And on what date did she send these texts?

 7 A.    This was on Friday, May 26, one day after the tryouts.

 8 Q.    Did you subsequently learn about B             , quote, fuck

 9 cheer, end of quote, Snap and her giving the middle finger to

10 whoever was looking at that Snap?

11 A.    Yes.

12 Q.    How did you learn about it?

13 A.    April Gnall.

14 Q.    And what did April do?

15 A.    April had tried to contact the high school principal, but

16 was unable to.    So she dropped this Snap off at my classroom.

17 Q.    When you say this Snap, please take a look at Exhibit D-1.

18 Is that the Snap you're referring to?

19 A.    Yes.

20 Q.    Okay.   Did you learn about that Snap before April gave a

21 copy of it to you?

22 A.    Yes.    I had students approach me throughout the school day

23 saying that there were things being posted on line.          I did not

24 know the details until April shared them with me.

25 Q.    In addition to telling you that there were things posted
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                                                                     37

 1 on-line, did they say anything else about it?         Did they

 2 describe it in any way?

 3 A.    They just described it as being something that was

 4 inappropriate, that shouldn't be posted on-line.

 5 Q.    Who made the decision to remove B            from the squad?

 6 A.    Both April and I made the decision with the support of Tom

 7 Smith, the high school principal.

 8 Q.    And could you explain to the Judge the factors that you

 9 took into account?

10 A.    The fact that there was profanity in the Snap and it was

11 directed towards cheerleading.

12 Q.    Do you know what viewpoint, if any, B            was trying to

13 express when she gave the middle finger to everybody and said,

14 Fuck cheer?

15 A.    I did not.

16 Q.    Was it the profanity and the profane gesture alone that

17 caused the removal?

18 A.    Yes.

19              MR. LEVIN:   I have nothing further.     Move for the

20 admission D-10.

21              MS. TACK-HOOPER:   No objections, your Honor.

22              THE COURT:   Admitted.   Cross-examine.

23              MS. TACK-HOOPER:   Yes, your Honor.

24                           CROSS EXAMINATION

25 BY MS. TACK-HOOPER:
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 1 Q.    So that text, D-10, that's not part of why B                was

 2 removed from the cheerleading team, right?

 3 A.    The Snapchat?

 4 Q.    I'm sorry, no, D-10, the text -- I believe it is 10,

 5 right?   Yes.    The text message she sent you asking did if you

 6 had to do a year of JV before you could make varsity?

 7 A.    No.

 8 Q.    You stated that some students told you B             had posted

 9 something on-line about cheer, right?

10 A.    Yes.

11 Q.    Okay.     You heard B      -- let me rephrase that.         I'll

12 represent to you that B          testified that Snaps are not

13 posted on-line, they're within an app that you download on your

14 phone.   Are you a Snapchat user?

15 A.    I am not.

16 Q.    Okay.     So you have no personal knowledge about how

17 Snapchat works?

18 A.    Hum, it's under- -- my understanding, it's more like a

19 group type message, where anyone that posts it can see it, but

20 the thing is, also people can take screen shots and share that

21 on-line as well.

22 Q.    So, the way a Snap would end up on line is if somebody

23 took a photo of the Snap and posted it somewhere on-line, is

24 that what you're saying?

25 A.    That's a possibility, yes.
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                                                                     39

 1 Q.    Okay.    But you have no reason to think that when you put

 2 something in your Snapchat story that there is a website

 3 someone can go to to see it?

 4 A.    No, you cannot do that.

 5 Q.    All right.    You mentioned that the profanity and the

 6 obscene gesture were enough to remove B             from the

 7 cheerleading team, right?

 8 A.    Correct.

 9 Q.    If she had said, Cheer is fucking awesome, would that have

10 violated the cheerleading rules in your opinion?

11 A.    Yes.

12 Q.    Okay.    And if she had said something that didn't involve

13 profanity but was still negative about cheerleading, such as, I

14 don't really like cheerleading that much anymore, would that

15 have violated the rules?

16               MR. LEVIN:   Objection, speculative.

17               THE COURT:   Overruled.

18               THE WITNESS:   It would have violated the rules, but

19 the consequences for that would have been different.

20 BY MS. TACK-HOOPER:

21 Q.    What would the consequences have been?

22 A.    If that were the statement, we would have probably just

23 met with B         and discussed the issue.

24 Q.    And where in the rules does it explain what things violate

25 the speech -- violate the rule and what the consequence is
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                                                                     40

 1 going to be?

 2 A.    We don't have specific consequences.        We have that it will

 3 be determined by the coaches.

 4 Q.    Okay.    What if she had posted, Cheerleaders are at high

 5 risk for eating disorders.      Would that have violated the rule

 6 about posting negative information regarding cheerleading

 7 on-line?

 8 A.    No.

 9 Q.    No, that's in your opinion not negative information about

10 cheerleading?

11 A.    That would be most likely a statistic that she's posting

12 that she found somewhere.

13 Q.    What if she had criticized the selection process for

14 cheerleaders?

15 A.    Hum, I would refer her to me to talk to me about it.

16 Q.    Would that violate the rule about posting negative

17 information about cheerleading on-line?

18 A.    I don't feel that that's a negative comment, no.

19 Q.    Okay.    What if she had said, Why don't we cheer for the

20 women's sports teams?     Fuck that.    Would that violate the rule?

21 A.    Yes, because there's profanity.

22 Q.    Okay.    What if she had just said, Why don't we cheer for

23 the women's sports teams?      That's crazy?

24 A.    Then that would not violate it because there's no

25 profanity.
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                                                                     41

 1 Q.    Okay.   You talked about some of the value that

 2 extracurriculars have.      So, they're a privilege, right?

 3 A.    Correct.

 4 Q.    And schools don't have to offer extracurriculars?

 5 A.    Correct.

 6 Q.    But schools offer them because it helps advance the

 7 school's mission of educating kids, right?

 8 A.    Yes.

 9 Q.    Okay.   Students get a lot out of extracurriculars, is that

10 right?

11 A.    Yes.

12 Q.    They make kids well-rounded, right?

13 A.    Correct.

14 Q.    Sports promote healthy students, right?

15 A.    Yes.

16 Q.    They teach leadership, right?

17 A.    Correct.

18 Q.    And good sportsmanship, correct?

19 A.    Yes.

20 Q.    And because of all this, colleges usually favor applicants

21 who have participated in extracurriculars, right?

22 A.    Yes.

23 Q.    And If you get kicked off of an extracurricular that's

24 going to impact your future, right?

25 A.    I'm not sure I agree with that.
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                                                                      42

 1 Q.    Potentially it could?       That wouldn't be surprising to you,

 2 would it?

 3 A.    I'm not aware of any colleges that are aware of when you

 4 get kicked off the sports team.

 5 Q.    Okay.    It would negatively impact a students well-being

 6 though most likely, right?

 7 A.    Temporarily.

 8 Q.    Okay.    And if you -- if a student decided not to

 9 participate in an extracurricular because they wanted the right

10 to say whatever they wanted on the weekends with their friends,

11 they wouldn't get the benefit -- all those benefits that you

12 mentioned, right?     Like learning leadership and good

13 sportsmanship, right?

14 A.    Yes.

15 Q.    Okay.    If you could look at D-1.     Do you have that up

16 there, the cheerleading rules?

17               MR. LEVIN:   That's not D-1.

18               MS. TACK-HOOPER:    I'm sorry, it's not?

19               THE COURT:   No.

20               MS. TACK-HOOPER:    Oh, my apologies.

21               MR. LEVIN:   D-3.

22               MS. TACK-HOOPER:    D-3, I apologize.

23 BY MS. TACK-HOOPER:

24 Q.    Do you have D-3, the cheerleading rules?

25 A.    I do.
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 1 Q.    Can you look at the section on the second page that says

 2 Sportsmanship and Responsibilities/Fundraising?

 3 A.    Yes.

 4 Q.    And the last sentence of the first bullet point says, Good

 5 sportsmanship will be enforced.       This includes foul -- I'm

 6 sorry, I'm going to read the whole bullet point.          The first

 7 bullet point says, Please have respect for your school,

 8 coaches, teachers, other cheerleaders and teams.          Remember,

 9 you're representing your school when at games, fundraisers and

10 other events.    Good sportsmanship will be enforced.        This

11 includes foul language and inappropriate gestures.          Did I read

12 that right?

13 A.    Yes.

14 Q.    Okay.   It only -- it mentions using foul language and

15 inappropriate gestures in a rule about representing your school

16 at games and events, right?

17 A.    Correct.

18 Q.    It doesn't say anything about not being able to use foul

19 language or inappropriate gestures when you're away from

20 school, does it?

21 A.    It does not specifically state that, no.

22       MS. TACK-HOOPER:    Okay.    Nothing further, your Honor.

23                          REDIRECT EXAMINATION

24 BY MR. LEVIN:

25 Q.    Just a couple of things.      No. 1, is plaintiff permanently
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 1 removed from cheerleading or may she come back?

 2 A.    We would like her to be permanently removed.

 3 Q.    But has she been permanently removed or told that she

 4 could --

 5 A.    She was told that she has to come back.

 6 Q.    Okay.    And that's set to start at the next school year?

 7               THE COURT:   Wait a minute, I'm confused.     We would

 8 like her to be permanently removed, but she was told that she

 9 has to come back.     I don't understand that.

10               MR. LEVIN:   Okay, and I'm going to try to clarify.

11 BY MR. LEVIN:

12 Q.    Does she have the right to re-apply for cheerleading at

13 the start of next school year?

14 A.    Yes.    She could retry out for the next school year.

15 Q.    Is teaching good sportsmanship in your opinion one of the

16 purposes of extracurriculars?

17 A.    Yes.

18 Q.    Is this Snap, giving the finger to everybody who looks at

19 the picture and saying fuck cheer the antithesis of good

20 sportsmanship?

21 A.    No, it is not.

22 Q.    It's the antithesis?

23 A.    It is not good sportsmanship.

24               MR. LEVIN:   Thank you.   Nothing further.

25               MS. TACK-HOOPER:   Nothing, your Honor.
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                                                                     45

 1              THE COURT:   All right.   You may step down.

 2              MR. LEVIN:   We rest.

 3              THE COURT:   Any rebuttal?

 4              MS. TACK-HOOPER:     No rebuttal, your Honor.

 5              THE COURT:   Okay.

 6              MS. TACK-HOOPER:     At this time we would like to move

 7 in the stipulations.      I know the exhibits are already in.     I'm

 8 not sure if the stipulations themselves are.

 9              THE COURT:   Which stipulation?

10              MS. TACK-HOOPER:     We have stipulations of fact that

11 I --

12              THE COURT:   Okay.

13              MS. TACK-HOOPER:     -- that I can pass up, your Honor.

14              THE COURT:   That's fine.

15              MS. TACK-HOOPER:     I might propose a brief break

16 before closing argument, if that's acceptable.

17              THE COURT:   Sure.   Take -- how long do you want?

18              MS. TACK-HOOPER:     Maybe -- would 15 minutes do it?

19              THE COURT:   15 minutes it is.

20              MR. LEVIN:   Could we bring our witnesses back since

21 they're not going to testify today?

22              THE COURT:   There's not going to be anymore

23 testimony.    I have no problem with that.

24              MS. TACK-HOOPER:     Thank you, your Honor.

25           (Whereupon, a recess was taken from 10:24 a.m. to
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 1 10:41 a.m.)

 2              THE COURT:    Okay, are we all set?

 3              MS. TACK-HOOPER:      Yes, your Honor.

 4              THE COURT:    Okay.

 5              MS. TACK-HOOPER:      So, what have we learned today?      We

 6 learned that B          was venting because she was angry, and she

 7 did it on her own time.      She didn't direct her frustration to

 8 anyone in particular, and she didn't do it on the field.          She

 9 didn't lash out at her coaches, she didn't berate her

10 teammates.       She waited until it was the weekend and she was

11 hanging out with her friends.        And we learned from her coach

12 that the sole reason that she was punished was because she used

13 the F word and gave the middle finger.

14              Her coach testified that she would have been punished

15 if she had said cheerleading was fucking awesome, it was just

16 the profanity and the gesture.        And the coach admitted that

17 nothing in the cheerleading rules prohibits the use of

18 profanity or inappropriate gestures off-campus on the weekends.

19              B        wasn't punished because of any disruption

20 caused by the Snap.       She was punished for cursing on her own

21 time.   The district has the burden to justify its punishment of

22 a student for speech, and there is no Third Circuit case that

23 justifies punishing B           for using the F word on the weekend.

24              This is a very easy case under the Third Circuit

25 decisions in JS and Layshock.        Those cases mean that the
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 1 district here could not reasonably forecast substantial

 2 material disruption from this Snap because her speech was

 3 private, it was shared with her friends, it was made with her

 4 own phone.    The photo was taken off campus.       And it was only --

 5 wasn't accessible by Monday morning.        It only made its way into

 6 school because other students went out of their way to

 7 photograph it and bring it in.

 8              Those cases also mean that the Fraser exception to

 9 the Tinker doctrine doesn't apply to off-campus speech.            It's

10 very clear that using the middle finger or the F word on a

11 weekend off campus is not a basis for punishing B                 under

12 Fraser.   And of course the facts in both JS and Layshock

13 involved students using profanity outside of school on the

14 internet, and the Third Circuit said the school could not

15 punish them under those circumstances.        We also --

16              THE COURT:   How do you answer the extracurricular

17 activity argument that's being made by the school district?

18              MS. TACK-HOOPER:   Your Honor, it doesn't matter what

19 the punishment is.     What matters is that she was punished for

20 her speech.    Student speech cases are about how punishment of

21 any kind chills students from exercising their free speech

22 rights.   And even Tinker said students have free speech rights

23 on the playing field, that's in the Tinker opinion.

24              And of course there are in the Third Circuit many

25 student speech cases that involve some state action other than
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 1 expulsion or suspension.      KA versus the Pocono Mountain School

 2 District didn't involve a student being suspended or expelled,

 3 but the Tinker framework was still the correct one to use.

 4 Likewise, Layshock, the student was not just suspended but also

 5 band from all extracurriculars, he wasn't allowed to

 6 participate in graduation, he was placed in an alternative

 7 education program, and the court didn't analyze any of these

 8 consequences differently from one another.

 9            In JS and BH versus the Easton Area School District,

10 those were two more cases where the students were both

11 suspended and also prohibited from attending a school dance,

12 and those punishments were not analyzed any differently in

13 those cases.    The proper framework here are the student speech

14 cases that are very familiar in the Third Circuit, Tinker, JS

15 and Layshock.

16            The coach's testimony made it very clear that the

17 part of the cheerleading rules that prohibit placing negative

18 information regarding cheerleading on-line are broad,

19 subjective and standardless.

20            As the coach admitted, it's hard to tell what

21 violates that rule and what doesn't.        And it's basically up to

22 the coaches to decide when something has crossed a line and

23 violated that rule and when it hasn't.        The First Amendment

24 does not allow schools to punish students pursuant to rules

25 that vague and overbroad.
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 1            In sum, the plaintiff is clearly likely to succeed on

 2 the merits under JS, Layshock and Tinker, and the Court should

 3 grant the preliminary injunction.       Thank you, your Honor.

 4            MR. LEVIN:    Your Honor, this is not a Tinker case;

 5 it's not a Layshock case; it's not a Blue Mountain case; it's

 6 not a Pocono Mountain case, because those cases did not involve

 7 solely extracurricular activities.       If this was a suspension

 8 or --

 9            THE COURT:    Can you -- can you have a parent or

10 student waive their First Amendment right because they're

11 engaging in an extracurricular activity, in a policy such as

12 you have in this case?

13            MR. LEVIN:    I believe that actually you can.         And I

14 look to the Acton case, the Supreme Court's case in Acton,

15 where the students were required in order to participate in

16 extracurricular sports to undergo drug and alcohol testing.

17 They were basically told you're giving up your right to decline

18 to be searched in that manner.       And the Supreme Court said that

19 that was perfectly permissible under those circumstances.

20            In fact, as part of the analysis in Acton, the

21 Supreme Court said we have acknowledged that for many purposes

22 school authorities act in loco parentis, with the power and

23 indeed the duty to inculcate habits and manners of civility.

24 Thus, while children assuredly do not shed their constitutional

25 rights at the schoolhouse gait, the nature of those rights is
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 1 what is appropriate for children in school.         And -- end of

 2 quote.

 3             And in this case the rules include -- the rules taken

 4 together are what are generally referred to as good citizenship

 5 rules.    And with respect to good citizenship rules in

 6 extracurricular activities, the courts have generally upheld

 7 the school district's actions with respect to eliminating or

 8 prohibiting students from engaging in the extracurricular

 9 sports.   This was not an extracurricular matter.         I would agree

10 with the plaintiffs, we cannot expel this student for engaging

11 in the conduct in which she engaged.

12             In addition to that, we don't even have to reach the

13 argument as to whether -- which set of cases the school

14 suspension expulsion cases or the pure extracurricular cases

15 rule.    I don't even think based upon the evidence presented

16 today that this is even a First Amendment case.          Because in a

17 First Amendment you have to engage in expressive conduct, you

18 have to be conveying something.

19             And when the plaintiff was asked a rather simple

20 question, and frankly it was at the suggestion of the Court to

21 rephrase a question to which I objected as to what did she

22 intend, I didn't intend anything.       I was just angry.     It was as

23 if she was stamping her feet.       It was as if she engaged in

24 other conduct that was showing poor sportsmanship.          And part of

25 the --
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 1             THE COURT:   I don't understand the sportsmanship

 2 argument.

 3             MR. LEVIN:   Well, the rules --

 4             THE COURT:   Let me ask you this question.       If this

 5 young lady had made the same statements to five friends or a

 6 hundred friends verbally that afternoon, same result?

 7             MR. LEVIN:   Well, I could only speculate how that

 8 very -- if those friends then told the school district, and the

 9 school district believed that that in fact happened, I believe

10 you would have the same result.

11             THE COURT:   So, you think that private speech among

12 friends out of school that gets reported to the school could

13 result in someone getting thrown out of an extracurricular

14 activity?

15             MR. LEVIN:   Correct.

16             THE COURT:   All right.

17             MR. LEVIN:   We don't have to go that far in this

18 case.

19             THE COURT:   Well, isn't this what happened?

20             MR. LEVIN:   No.   In this case she sent it to 250 of

21 her friends.    I'm not sure if that qualifies as, quote, private

22 speech anymore.    I'm not sure that I could recall a time that

23 I've ever spoken to 250 people at the same time.

24             THE COURT:   Let's assume it's public speech.         I mean,

25 private, public, my point being, it's out of school, it's not
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 1 in the performance of an athletic endeavor or the

 2 extracurricular endeavor itself.       And it's something that

 3 people do.    When they get annoyed they say things -- we've all

 4 done that -- that we're maybe not too proud of 15 minutes

 5 later.

 6              MR. LEVIN:   I agree, your Honor.

 7              THE COURT:   All right.

 8              MR. LEVIN:   However, there are rules.      She signed

 9 documents agreeing to abide by them before she was accepted

10 onto the team.    It is considered to be a privilege, not a

11 right, and she engaged in conduct where she wasn't engaging in

12 expressive conduct; she was just displaying that she was angry.

13              THE COURT:   Why isn't that expressed -- I'm not sure

14 I'm understanding this distinction, that this wasn't expressive

15 conduct.    You mean the middle digit is not expressive conduct?

16              MR. LEVIN:   According to her testimony --

17              THE COURT:   Well, no, no, no, it's according to us.

18 We're here to try to determine what the law is.          I have trouble

19 saying it's not -- I'm not going to toy with you.          I think it's

20 expressive conduct.

21              MR. LEVIN:   Until you say I didn't intend to mean

22 anything.    Because the First Amendment case law is real clear,

23 it's the conveying of ideas.       What idea is she conveying other

24 than she's angry, so she's lashing out, she's giving everybody

25 the finger, 250 people.      There's only about 300 kids in the
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 1 entire school.

 2             THE COURT:   She's conveying the idea that she's

 3 upset.

 4             MR. LEVIN:   She could be conveying a lot of other --

 5             THE COURT:   -- not necessarily the content of the

 6 speech, is it?

 7             MR. LEVIN:   Well, if you're talking about good

 8 citizenship rules, it is the content --

 9             THE COURT:   All right.    I don't want to belabor --

10             MR. LEVIN:   -- of the speech.

11             THE COURT:   I'm sorry.    Go ahead.

12             MR. LEVIN:   Okay.   The rules are clear.      She agreed,

13 as I indicated before, to abide by them.        Her parents signed

14 the document.    D-4 addresses personal conduct.       It's same prior

15 paragraph is in P-1.     P-1 is this year's version of the

16 handbook.   D-4 was the prior year's version.        It establishes a

17 number of key facts.

18             First it states and makes clear the participation is

19 a privilege.    You have to apply for it.      You have to try out

20 for it.   You have to meet the conditions.        And one of the

21 conditions is you agree that you're not going to be engaging in

22 this kind of conduct.

23             Second.   It provides that the students who

24 participate in extracurricular activities are representatives

25 of the school district and they have to earn the right to be
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 1 representative of the school district.        She wants to wear the

 2 school district's uniforms.      The right to have and wear the

 3 uniform is such that the school district should not be

 4 tarnished.

 5              And the rule makes clear that it applies regardless

 6 of whether it's during school, away -- or away from school, as

 7 long as it is during the time of the activity and the parties

 8 have stipulated that this activity is year long.

 9              It reminds school districts children that they're

10 representing the school.      It reminds the children that, quote,

11 good sportsmanship will be enforced.        This includes foul

12 language and inappropriate gestures, end of quote.          No

13 limitation on timelines as to when good sportsmanship will be

14 enforced.    And this conduct, by her own admission, was because

15 of the lack of good sportsmanship.       She didn't like the fact

16 that she didn't get on the varsity.        She was angry and she

17 gives the middle finger to 250 people.        She's acting like a

18 poor sport.

19              Wikipedia, which tends to be the font or fount of all

20 knowledge these days says this about sportsmanship.          Quote,

21 Sportsmanship is an aspiration or ethos that a sport or

22 activity will be enjoyed for its own sake with proper

23 consideration for fairness, ethics, respect and a sense of

24 fellowship with one's competitor.

25              A sore loser refers to one who does not take defeat
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 1 well; whereas, a good sport means being a good winner as well

 2 as being a good loser.      That's what the school district is

 3 trying to teach here, good sportsmanship, and there are

 4 consequences for it.

 5            Two weeks ago I gave a joint presentation at one of

 6 the school districts I represent jointly with the union lawyer,

 7 and we were speaking about social media.        And the union lawyer,

 8 being on the private side, I'm on the public side, recognized

 9 that there are First Amendment rights, was much tougher in her

10 remarks and advice for her membership about the kind of conduct

11 to engage in and not to engage in away from school.

12            And she showed many examples where adults lose their

13 job, lose their career for conduct that is not too different

14 from what this student displayed.       I would suggest to you that

15 districts had an obligation to teach kids about the

16 consequences of their conduct, to teach kids what the real

17 world is like, and to make sure that the kids do not engage in

18 this kind of conduct when they are adults because it's going to

19 have a lot worse effect and consequence than simply losing one

20 year on a cheerleading squad, when she could come back in

21 eleventh or twelfth grade.

22            And another thing the union lawyer said in that

23 presentation is on-line you should make sure that your friends

24 are your friends, because they're the first ones to rat you

25 out.   And that's exactly what happened in this case.
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 1              When you engage in bad behavior, not expressive

 2 conduct where she's trying to give any message, but she's being

 3 a sore loser, like she was stomping her feet and having a hissy

 4 fit, you have consequences, and these consequences are the

 5 removal of a privilege for a discrete period of time.             Thank

 6 you very much.

 7              THE COURT:   All right.    Thank you.

 8              MS. TACK-HOOPER:   A brief rebuttal your Honor.

 9              THE COURT:   Go ahead.

10              MS. TACK-HOOPER:   So, the district has emphasized

11 that B        received a lot of rules and signed some forms.          A

12 couple important points though.        The district has admitted that

13 nothing in those rules expressly prohibits students from using

14 profanity on the weekends off-campus.        When you waive your

15 constitutional rights that waiver has to be knowing and

16 voluntary.

17              These rules are so vague and so broad that it's

18 impossible for anyone to read any of these rules, especially a

19 tenth grader, and understand that they are giving up their

20 right to speak freely to their friends on the weekend, one or

21 250 of them.

22              Furthermore, the district doesn't seem to be relying

23 on all of these rules.      The district didn't say that the

24 problem was that saying Fuck cheer hurt her teammates'

25 feelings, they said the problem was the word fuck.          And that if
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 1 she had said, Cheerleading is fucking awesome, that also would

 2 have been a problem.     So, all of these rules are a distraction.

 3            And if we need to, your Honor, my colleague Mary

 4 Catherine can explain in great detail why -- even if B             had

 5 knowingly given up her right to speak freely on the weekend --

 6 it's unconstitutional for the school district to try to

 7 condition participation in cheerleading on waiving your First

 8 Amendment rights.     So she's here and very knowledgeable about

 9 that, if your Honor is interested in hearing a little bit about

10 unconstitutional conditions doctrine.

11            But moving to the student drug testing cases that

12 counsel for the district cited, I would just remind your Honor

13 that the question in Fourth Amendment cases is whether a search

14 is reasonable.    That has absolutely nothing to do with the

15 First Amendment standards here.       And this idea that the school

16 was acting in loco parentis might play some part in the Fourth

17 Amendment cases -- and again, my colleague Mary Catherine can

18 take you through those if you'd like.        But in the First

19 Amendment context, as Justice Alito said in his concurrence in

20 Morse versus Frederick, when schools censor speech they do it

21 as the government, not as parents.       Those cases simply have no

22 applicability here.

23            Finally, your Honor, I would just point out that the

24 school's apparent litigation position has extremely

25 broad-reaching consequences.       The school wants the power not
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 1 just to punish cheerleaders for disparaging cheer, but to

 2 control what students say, what language they use on their own

 3 time off-campus.     And it's evident not just in the district's

 4 testimony about why they punished her, but also in the breath

 5 of the rules they have promulgated to try to control students,

 6 particularly athletes and cheerleaders.

 7            If the school has the power to kick B             off the

 8 cheerleading team for that Snapchat, then they have the power

 9 to control what all students say on their own time, which is a

10 very scary prospect.     Luckily we have the First Amendment.      And

11 in the Third Circuit the student speech doctrine is crystal

12 clear and it does not permit the school to do what they did

13 here.

14            THE COURT:    All right.    Thank you.

15            MS. TACK-HOOPER:      Thank you, your Honor.

16            THE COURT:    All right.    At the moment we still have

17 the temporary restraining order in effect.         It will remain in

18 effect.   We have how many more days, I don't know, but you'll

19 hear from me before that time expires on this preliminary

20 injunction question.     Okay?   Anything further?

21            MS. TACK-HOOPER:      Nothing further, your Honor.

22            MR. LEVIN:    No, your Honor.

23            THE COURT:    All right.    Thank you all.

24            MS. TACK-HOOPER:      Thank you, your Honor.

25                    (10:59 a.m., court adjourned.)
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 1                         REPORTER'S CERTIFICATE

 2

 3       I, DIANA L. GILBRIDE, Official Court Reporter for the

 4 United States District Court for the Middle District of

 5 Pennsylvania, appointed pursuant to the provisions of Title 28,

 6 United States Code, Section 753, do hereby certify that the

 7 foregoing is a true and correct transcript of the

 8 within-mentioned proceedings had in the above-mentioned and

 9 numbered cause on the date or dates hereinbefore set forth; and

10 I do further certify that the foregoing transcript has been

11 prepared by me or under my supervision.

12

13

14                             /s/ Diana L. Gilbride
                               Diana L. Gilbride, RMR, FCRR
15                             Official Court Reporter

16 REPORTED BY:

17      DIANA L. GILBRIDE, RPR
        Official Court Reporter
18      United States District Court
        Middle District of Pennsylvania
19      P.O. Box G
        Scranton, PA 18501-0090
20

21          (The foregoing certificate of this transcript does not
   apply to any reproduction of the same by any means unless under
22 the direct control and/or supervision of the certifying
   reporter.)
23

24

25
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                Exhibit D
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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

B.L., a minor, by and through her father, )
LAWRENCE LEVY, and her mother,            )
BETTY LOU LEVY,                           ) Civ. No. 3:17-cv-1734-ARC
                                          )
                          Plaintiff,      )
                                          )
       v.                                 )
                                          )
MAHANOY AREA SCHOOL                       )
DISTRICT;                                 )
                                          )
                          Defendant.      )
_________________________________ )

                NOTICE OF TAKING DEPOSITION OF
                MAHANOY AREA SCHOOL DISTRICT
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 30(b)(6)

TO:

       Michael I. Levin, Esq.
       David W. Brown, Esq.
       LEVIN LEGAL GROUP, P.C.
       1800 Byberry Road, Suite 1301
       Huntingdon Valley, PA 19006

       PLEASE TAKE NOTICE that the undersigned, on behalf of Plaintiff, will take the

deposition upon oral examination of the Mahanoy Area School District on Wednesday,

June 6, 2018, at 10 a.m., at the offices of the Mahanoy Area School District, 1 Golden Bear

Drive, Mahanoy City, PA 17948, pursuant to the provisions of Rule 30(b)(6) of the Federal

Rules of Civil Procedure before an officer authorized by law to administer oaths. Testimony

shall be recorded by stenographic means.



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       Pursuant to Federal Rule of Civil Procedure 30(b)(6), you are directed to designate one or

more knowledgeable officers, directors, managing agents or other persons to testify on your

behalf as to each subject matter listed on Schedule A hereto. For each person so designated, set

forth in your designation the matters on which that person will testify.

       The deposition shall continue from day to day until completed. You are invited to attend

and participate.




                                      /s/ Molly Tack-Hooper
                                      Molly Tack-Hooper (PA 307828)
                                      Mary Catherine Roper (PA 71107)
                                      AMERICAN CIVIL LIBERTIES UNION OF
                                      PENNSYLVANIA
                                      P.O. Box 60173
                                      Philadelphia, PA 19102
                                      Tel: (215) 592-1513 ext. 113
                                      Fax: (215) 592-1343
                                      mtack-hooper@aclupa.org

                                      Counsel for Plaintiff




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                                          DEFINITIONS

         Unless specifically stated otherwise, the following words have the meanings set forth

below:


         1.     “Agent” includes anyone acting on behalf of or in the interest of, whether directly

or indirectly, openly or covertly, or with or without compensation.

         2.     “B.L.” shall refer to the Plaintiff, Brandi Levy.

         3.     “B.L.’s Punishment” shall refer to the removal of B.L. from the cheerleading

squad in June 2017, as described in the Verified Complaint.

         4.     “Board” shall refer to the Mahanoy Area School District School Board and its

members.

         5.     “Cheerleading Rules” shall refer to the 2016–17 Mahanoy Area High School

Cheerleading Rules and any prior or subsequent versions thereof.

         6.     “Discipline” shall refer to all disciplinary consequences listed in the Discipline

Code section of the Mahanoy Area High School Student Handbook, including withdrawal of

privileges and temporary or permanent exclusion from athletics or extracurricular activities, as

well as any other action taken by the school or district to punish or discipline a student.

         7.     “District” shall refer to the Mahanoy Area School District.

         8.     “Negative Information Provision” shall refer to the provision of the Cheerleading

Rules that reads, “There will be no toleration of any negative information regarding

cheerleading, cheerleaders, or coaches placed on the internet,” as well as any prior or subsequent

versions thereof.

         9.     “Officials” of the District or School shall refer to the administration of the District

or the Mahanoy Area High School, and to their administrators and administrative staff, teachers,


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support staff, and other school employees or volunteers who work with students, including the

District superintendent, high school principal, athletic director, and cheerleading and athletic

coaches.

       10.     “Plaintiff” or “Plaintiffs” shall refer to B.L., her father Lawrence Levy, and her

mother Betty Lou Levy, either individually or collectively, and shall be construed in the broadest

manner suggested by the context in which the words are used.

       11.     “Respect Provision” shall refer to the provision of the Cheerleading Rules that

reads, “Please have respect for your school, coaches, teachers, other cheerleaders and teams.

Remember, you are representing your school when at games, fundraisers, and other events.

Good sportsmanship will be enforced, this includes foul language and inappropriate gestures,” as

well as any prior or subsequent versions thereof.

       12.     “School” shall refer to the Mahanoy Area High School.

       13.     “Snap” shall refer to B.L.’s Snapchat post described in the Verified Complaint,

which contains the text “Fuck school fuck softball fuck cheer fuck everything.”

       14.     “You,” “Your,” and “Defendant” shall refer to the Mahanoy Area School District

and any and all agents, officials, and representatives of the District.

       15.     The following interpretive rules shall apply:

               (a)     The words “any” and “all” shall be construed as “any and all,” and in the

broadest sense to bring within the scope of the deposition topics all responses that might

otherwise be construed to be outside of its scope.

               (b)     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the deposition topics all responses that

might otherwise be construed to be outside of its scope.




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               (c)     The words “between” and “among” shall be construed as “between or

among,” and in the broadest sense to bring within the scope of the deposition topics all responses

that might otherwise be construed to be outside of its scope. By way of illustration, a topic

referring to all Communications between A, B, and C shall include all Communications between

A and B, B and C, A and C, or among A, B, and C.

               (d)     All words used in the singular shall be deemed to include the plural, and

vice versa.

               (e)     The terms “person” and “entity” shall be construed broadly to include any

and all entities and organizations, including corporations, sole proprietorships, partnership, joint

owners, associations, companies, governmental bodies or agencies, and joint ventures, as well as

natural persons.

               (f)     The terms “about,” “alluding to,” “analyzing,” “arising from,”

“commenting on,” “concerning,” “connected with,” “constituting,” “describing,” “discussing,”

“evidencing,” “mentioning,” “pertaining to,” “referring to,” “reflecting,” “regarding,” “related

to,” “relating co,” “responding to,” “showing,” and “supporting” shall be used interchangeably

and construed in the broadest sense to bring within the scope of the deposition topics all

responses that might otherwise be construed to be outside of its scope.

               (g)     The terms “communicate” and “communication” shall refer to any written

or verbal statement from one person or entity to another, whether conveyed orally, in writing,

electronically, or by other means and whether received or not, including any such statements

between officers, directors, employees or agents of the same entity.




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                                         INSTRUCTIONS

        1.      Unless otherwise specified, all topics are to be regarded as concerning past and

present incidents, activities, and practices.

        2.      In responding to this Deposition Notice, you are required to obtain and furnish all

information available to you and any of your representatives, employees, agents, servants, or

attorneys and to obtain and furnish all information that is in your control or in the possession or

under the control of any of your representatives, employees, agents, servants, or attorneys.


                                           SCHEDULE A
                                          30(B)(6) TOPICS

        1.      The Cheerleading Rules, including:

                (a)     The drafting and adoption of the Cheerleading Rules. Witness should be

able to testify to details including who authorized and drafted the Cheerleading Rules, when they

were authorized and drafted, and the nature and extent of any review by District officials and/or

the school board, and whether they were approved by District officials and/or the school board.

                (b)     The meaning of the Respect Provision and the Negative Information

Provision of the Cheerleading Rules, as well as any other provisions of the Cheerleading Rules

that the District contends B.L. violated. Witness should be able to explain how District officials

interpret these provisions of the Cheerleading Rules and what kinds of speech the District

contends is punishable under these provisions of the Cheerleading Rules.

                (c)     The justification for the Respect Provision and the Negative Information

Provision of the Cheerleading Rules, as well as any other provisions of the Cheerleading Rules

that the District contends B.L. violated.       Witness should be able to discuss any policy

considerations or facts known to school officials that justify these provisions of the Cheerleading



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Rules, including the date on which any particular consideration or fact became known to the

District and how the District became aware of the consideration or fact.

               (d)     Past application of the Cheerleading Rules to punish students for their in-

school or out-of-school speech. Witness should be able to testify to details including the content

of the speech that violated the Cheerleading Rules, the specific provision of the Cheerleading

Rules violated, the date of the incident, the age and grade of the student involved, the Discipline

imposed, and the names of school officials involved in imposing Discipline.

       2.            How the Respect Provision and the Negative Information Provision of the

Cheerleading Rules relate to the “Personal Conduct” rules for athletes and cheerleaders laid out

on page 80 of the 2017–18 Mahanoy Area High School Student Handbook for the school,

including:


               (a)     whether students participating in other high school athletics through the

District are subject to restrictions on their out-of-school speech similar to the restrictions on

speech imposed on cheerleaders, and if not, why not;

               (b)     whether Hunter Bloss, a football player featured in the Youtube video at

issue in Loy v. Mahanoy Area School District, was subjected to discipline as a result of his out-

of-school speech, and if not, why not;

       3.            Any disruption to classroom instruction or school activities caused by

B.L.’s Snap or any other out-of-school speech by B.L., including her posts on social media.

Witness should be able to testify to details including the date of the disruption, nature of the

disruption, duration of the disruption, the class or activity disrupted, age and grade of the

students involved in the disruption, any action taken in response to the disruption, including any




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discipline imposed, and the staff people who observed the disruption or were involved in

imposing discipline.

        4.             Any past incidents of disruption to classroom instruction or school activities

caused by a student’s out-of-school speech that caused the District to anticipate that B.L.’s Snap

would cause disruption. Witness should be able to testify to details including the date of the

disruption, nature of the disruption, duration of the disruption, the class or activity disrupted, age

and grade of the students involved in the disruption, any action taken in response to the

disruption, including any discipline imposed, and the staff people who observed the disruption or

were involved in imposing discipline.

        5.             The justification for B.L.’s Punishment, including:

               (a)      Which provisions, if any, of the Cheerleading Rules or M ahanoy Area

High School Student Handbook were a basis for B.L.’s Punishment;

               (b)      Whether there were any reasons for B.L.’s Punishment other than B.L.’s

Snap;

               (c)      Whether the District now contends that B.L.’s Punishment was justified by

additional facts or applicable School or District rules that were not, at the time, motivating

factors in the decision;

               (d)      Conversations or communications with Plaintiffs about the justification for

B.L.’s Punishment; and

               (e)      Conversations or communications among District officials about the

justification for B.L.’s Punishment.

        6.             School coaches’ authority to Discipline students for speech, including

pursuant to the Cheerleading Rules, including:




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               (a)     Whether School coaches receive any training or guidance on the limits or

extent of their authority to Discipline students for speech;

               (b)     Whether School coaches are supervised in any manner with respect to the

imposition of Discipline for a student’s speech, including whether School coaches must notify

any School or District Officials either before or after they impose Discipline on students for

speech; whether School coaches must document the decision to impose Discipline on students

for speech; and whether School coaches may be subject to negative sanctions for exceeding their

authority to Discipline students for speech.

       7.            School and District officials’ role in authorizing or ratifying B.L.’s

Punishment. Witness should be able to testify to any communications between District officials,

school officials, or school board members about B.L.’s Punishment, including the date of the

communication, the nature and substance of the communication, the names of people involved in

the communication, and any votes taken or decisions made.




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                              CERTIFICATE OF SERVICE

       I hereby certify that I am this day serving the foregoing discovery request upon the
persons and in the manner indicated below:


      By email:

      Michael I. Levin, Esq.
      LEVIN LEGAL GROUP, P.C.
      mlevin@levinlegalgroup.com

      David W. Brown, Esq.
      LEVIN LEGAL GROUP, P.C.
      dbrown@levinlegalgroup.com



Dated: May 14, 2018                             /s/ Molly Tack-Hooper
                                                Molly Tack-Hooper (PA307828)
                                                AM ERICAN CIVIL LIBERTIES
                                                UNION OF PENNSYLVANIA
                                                P.O. Box 60173
                                                Philadelphia, PA 19102
                                                Tel.: (215) 592-1513 ext. 113
                                                Fax: (215) 592-1343
                                                mtack-hooper@aclupa.org
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                                                                               Molly Tack-Hooper <mtack-hooper@aclupa.org>



Re: MASD 30b6
1 message

David Brown <dbrown@levinlegalgroup.com>                                                      Tue, Oct 9, 2018 at 1:13 PM
To: Molly Tack-Hooper <mtack-hooper@aclupa.org>
Cc: Michael Levin <mlevin@levinlegalgroup.com>, "Helfer III, Arleigh P." <ahelfer@schnader.com>

  Molly,

  As I stated, the district will be designating the two cheerleading coaches - Ms. Gmail and Ms. Luchetta-Rump - and
  Superintendent Joie Green. The specific topics to which they will testify are as follows:

  Topic 1 - Luchetta and Gnall
  Topic 2 - Green
  Topic 3 - Luchetta
  Topic 4 - Green
  Topic 5 - Luchetta (w/ Green on 5d/5e)
  Topic 6 - Green
  Topic 7 - Green

  I will send you a paper copy of the designation by email later today. Feel free to call me with any questions.

  Dave

  Sent from my iPhone

  On Oct 8, 2018, at 10:04 PM, Molly Tack-Hooper <mtack-hooper@aclupa.org> wrote:


           Mimecast Secure Message – Highly Sensitive Content
           Maintain the message's security by replying via the Mimecast Secure Messaging web app, or selecting the 'Send
           Secure' option in a Mimecast Application.

           Just following up on my question about order of the witnesses, and to see whether you'd decided who is
           covering which topics. I'd be happy to just have that info in an email.

           Thanks much. Looking forward to seeing you (both?) on Wednesday morning.

           Best,
           Molly

           Molly Tack-Hooper | Staff Attorney
           Preferred gender pronouns: she, her
           ACLU of Pennsylvania
           P.O. Box 60173, Philadelphia, PA 19102
           215.592.1513 x113 | mtack-hooper@aclupa.org

           aclupa.org




           Are you a card-carrying member? Click here to support the ACLU.



           On Sun, Oct 7, 2018 at 12:42 PM Molly Tack-Hooper <mtack-hooper@aclupa.org> wrote:
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·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
·2

·3

·4·   ·B.L., A MINOR, BY AND THROUGH :
· ·   ·HER FATHER, LAWRENCE LEVY,· · ·: CIVIL NO. 3:17-CV-1734-ARC
·5·   ·AND HER MOTHER, BETTY LOU· · · :
· ·   ·LEVY,· · · · · · · · · · · · · :
·6·   · · · · · · · ·PLAINTIFFS· · · ·:
· ·   · · · · · · · · · · · · · · · · :
·7·   · · · · · · · · · · · · · · · · :
· ·   · · · · ·V· · · · · · · · · · · :
·8·   · · · · · · · · · · · · · · · · :
· ·   ·MAHANOY AREA SCHOOL DISTRICT, :
·9·   · · · · · · · · · · · · · · · · :
· ·   · · · · · · · · DEFENDANT· · · ·:
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14
· · · · · · · · · · DEPOSITION OF:· APRIL GNALL
15

16· · · · · · · · · TAKEN BY:· · · ·PLAINTIFFS

17

18· · · · · · · · · BEFORE:· · · · ·MARIA N. O'DONNELL, RPR

19· · · · · · · · · · · · · · · · · NOTARY PUBLIC

20

21· · · · · · · · · DATE:· · · · · ·OCTOBER 10, 2018, 11:00 A.M.

22

23· · · · · · · · · PLACE:· · · · · MAHANOY AREA SCHOOL DISTRICT

24· · · · · · · · · · · · · · · · · ONE GOLDEN BEAR DRIVE

25· · · · · · · · · · · · · · · · · MAHANOY CITY, PENNSYLVANIA
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·1

·2

·3

·4· · · · ·APPEARANCES:

·5

·6· · · · · · ·AMERICAN CIVIL LIBERTIES UNION OF PENNSYLVANIA

·7· · · · · · ·BY: MOLLY TACK-HOOPER, ESQUIRE

·8· · · · · · · · ·P.O. BOX 60173

·9· · · · · · · · ·PHILADELPHIA, PA 19102

10· · · · · · · · ·215-592-1513

11· · · · · · · · ·MTACK-HOOPER@ACLUPA.ORG

12· · · · · · · · ·FOR - PLAINTIFFS

13

14· · · · · · ·LEVIN LEGAL GROUP

15· · · · · · ·BY: DAVID W. BURNS, ESQUIRE

16· · · · · · · · ·1800 BYBERRY ROAD

17· · · · · · · · ·HUNTINGDON VALLEY, PA 19006

18· · · · · · · · ·215-938-6378

19· · · · · · · · ·DBROWN@LEVINLEGALGROUP.COM

20· · · · · · · · ·FOR - DEFENDANT

21

22· · · · · · ·ALSO PRESENT:

23· · · · · · · · ·LAWRENCE LEVY

24· · · · · · · · ·BETTY LOIU LEVY

25· · · · · · · · ·DR. JOIE GREEN
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·1· · · · · · · · · · · · · WITNESSES

·2· · · NAME· · · · · · · · · EXAMINATION

·3· ·APRIL GNALL

·4· ·BY: MS. TACK-HOOPER· · · · · ·3

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·1· · · · · · · · · · · · · ·STIPULATION

·2· · · · · · · · · It is hereby stipulated by and between counsel

·3· ·for the respective parties that sealing, certification and

·4· ·filing are hereby waived; and that all objections except as to

·5· ·the form of the question are reserved to the time of trial.

·6

·7· · · · · · · · · ·APRIL GNALL, called as a witness, being duly

·8· ·sworn, testified as follows:

·9· · · · · · · · · · · · ·EXAMINATION

10· ·BY MS. TACK-HOOPER:

11· · · ·Q· · ·Could you please state your name for the record?

12· · · ·A· · ·April Gnall.

13· · · ·Q· · ·Do you go by Mrs. Gnall?

14· · · ·A· · ·Yes.

15· · · ·Q· · ·Ms.?

16· · · ·A· · ·Mrs.

17· · · ·Q· · ·Have you ever testified in a deposition before?

18· · · ·A· · ·No, I did not.

19· · · ·Q· · ·I will just ask you to let me know if you don't

20· ·understand a question, and I will rephrase it.· And if you do

21· ·answer a question, I will assume that you have understood it.

22· ·Is that fair?

23· · · ·A· · ·Yes.

24· · · · · · ·MS. TACK-HOOPER:· Could we go off the record?

25· · · · · · ·(Discussion held off the record.)
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 186 of 389


·1· ·BY MS. TACK-HOOPER:

·2· · · ·Q· · ·Back on the record.

·3· · · · · · ·So you have been designated to testify for the

·4· ·district with Ms. Luchetta-Rump on the first topic in P2,

·5· ·which is about the cheerleading rules on page A6.

·6· · · · · · ·Do you want to take a moment and read topic one, or

·7· ·have you read it recently?

·8· · · ·A· · ·Okay.· Okay.

·9· · · ·Q· · ·You read it?

10· · · ·A· · ·Yes.

11· · · ·Q· · ·And are you the person most knowledgeable along with

12· ·Miss Luchetta-Rump about the cheerleading rules?

13· · · ·A· · ·Yes.

14· · · · · · ·MS. TACK-HOOPER:· Okay.

15· · · · · · ·MR. BROWN: Speak up a little louder for the court

16· ·reporter.

17· · · · · · ·THE WITNESS:· Yes.· I am sorry.

18· ·BY MS. TACK-HOOPER:

19· · · ·Q· · ·Okay.· Is there any reason why you cannot give

20· ·truthful testimony today?

21· · · ·A· · ·No.

22· · · ·Q· · ·So you were here during Ms. Luchettas-Rump's

23· ·testimony.· Did you agree with her testimony?

24· · · ·A· · ·Yes.

25· · · ·Q· · ·Was there anything that she said that you disagreed
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 187 of 389


·1· ·with?

·2· · · ·A· · ·No.

·3· · · ·Q· · ·Is there anything that she said that you felt was

·4· ·incomplete?

·5· · · ·A· · ·No.

·6· · · ·Q· · ·Okay.· What is your title?

·7· · · ·A· · ·Currently now just third grade teacher.

·8· · · ·Q· · ·Okay.· And last year, you were cheerleading advisor

·9· ·of some sort, is that correct?

10· · · ·A· · ·Yes.

11· · · ·Q· · ·What was your title?

12· · · ·A· · ·Co-advisor with Nicole.

13· · · ·Q· · ·Okay.· And at that time, were you paid extra for

14· ·your work as cheerleading co-advisor?

15· · · ·A· · ·Yes.

16· · · ·Q· · ·Okay.· How long -- how many years have you spent as

17· ·a cheerleading coach of some kind?

18· · · ·A· · ·This time around, three years.· And approximately

19· ·back in '93, '94, I want to say three or four years.

20· · · ·Q· · ·Okay.

21· · · ·A· · ·It was a long time ago.

22· · · ·Q· · ·And how long have you been an educator?

23· · · ·A· · ·Since 1990.

24· · · ·Q· · ·Okay.· Ms. Luchetta-Rump said that she thought that

25· ·you were -- would be more knowledgeable than she would about
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·1· ·how you learned about the existence of the Snap.· So I want to

·2· ·ask you some questions about that.

·3· · · · · · ·Let's look at P-5, which is the district's responses

·4· ·to interrogatories.· If you could look at the answer -- if you

·5· ·could look at the answer to number one.

·6· · · · · · ·MR. BROWN: It's a couple pages in.

·7· ·BY MS. TACK-HOOPER:

·8· · · ·Q· · ·Yes.· Did you have a chance to read the response to

·9· ·one?

10· · · ·A· · ·Yes.· Yes.

11· · · ·Q· · ·Is that accurate?

12· · · ·A· · ·Yes.

13· · · ·Q· · ·Okay.· B. says that she created the Snap on

14· ·Saturday, May 27, 2017 at the Cocoa Hut.· Do you have any

15· ·reason to doubt any of those details?

16· · · ·A· · ·No.

17· · · ·Q· · ·Okay.· Was the cheerleading season over at that

18· ·point?

19· · · ·A· · ·I don't really think our season ever is over because

20· ·we literally go from tryouts.· We roll into practices for the

21· ·summer.· We go into football season.· We go into basketball

22· ·season which goes into wrestling season.· We get that slight

23· ·little break before we start holding practices for tryouts

24· ·again.· So personally I feel like our season is on going.

25· · · ·Q· · ·Okay.· So practices start right after tryouts?
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 189 of 389


·1· · · ·A· · ·Pretty much for the summer.

·2· · · ·Q· · ·Okay.

·3· · · ·A· · ·And we have the parade.· The Memorial Day Parade was

·4· ·right after tryouts.· So the girls have to go to the parade as

·5· ·well.· That is part of our requirement.

·6· · · ·Q· · ·Are students told whether they made varsity the same

·7· ·day as tryouts?

·8· · · ·A· · ·Yes.

·9· · · ·Q· · ·Okay.· I want to talk a little bit about Snapchat.

10· ·So I am not a Snapchat user, I confess.· But my understanding

11· ·is that unlike other social media platforms where there is a

12· ·web site that you can go to, Snapchat is just an app.· And the

13· ·essential feature of Snapchat is that the posts are self

14· ·deleting.· Is that consistent with what you understand about

15· ·Snapchat?

16· · · ·A· · ·To be honest with you, I don't know enough about

17· ·Snapchat --

18· · · ·Q· · ·Okay.

19· · · ·A· · ·-- to be perfectly honest.

20· · · ·Q· · ·Okay.· So B. testified that this -- the particular

21· ·Snap at issue in this case had been posted to her story, which

22· ·meant that the people she was friends with on Snapchat could

23· ·look at it within 24 hours after she posted it, and after that

24· ·it disappeared.· So my question is, do you know how it came to

25· ·be preserved longer than that 24-hour period?
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·1· · · ·A· · ·I am assuming that you can screen shot from

·2· ·Snapchat.· I am --

·3· · · ·Q· · ·But you don't know how the screen shot or photo was

·4· ·were taken, anything like that?

·5· · · ·A· · ·I know DF who was a varsity member shared the

·6· ·information with S.

·7· · · ·Q· · ·Okay.· Do you know who brought it to school?· I mean

·8· ·B. didn't take a photo and bring it to school.· So safe to

·9· ·assume one of the other cheerleaders brought the photo or

10· ·screen shot to school to show you?

11· · · ·A· · ·I am in the elementary.· I am in my own world over

12· ·there.· What happens over here, Nicole, because she's in high

13· ·school, generally hears more than I do with being in third

14· ·grade.

15· · · ·Q· · ·Okay.

16· · · ·A· · ·I don't know how it came to school.· I just know how

17· ·I received the information.

18· · · ·Q· · ·And that was -- how did you receive the information?

19· · · ·A· · ·I received a phone call from S. stating that D. told

20· ·her that the Snap was on Snapchat, it was inappropriate.· And

21· ·after the phone hung up, they were sent to me.

22· · · ·Q· · ·Okay.· So what was your understanding at that time

23· ·of who had seen the Snapchat?

24· · · ·A· · ·I sort of felt like everyone obviously that was in

25· ·the friends list.· And as you can see, my daughter was not on
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·1· ·the friends list and still had the opportunity to see it.· So

·2· ·it could have been double the amount of people, I don't know.

·3· · · ·Q· · ·Okay.· I am handing you Exhibit D2.· Do you know

·4· ·what this is?

·5· · · ·A· · ·It was the second Snap that I received.

·6· · · ·Q· · ·Okay.· And where did you receive it?

·7· · · ·A· · ·At home that night.

·8· · · ·Q· · ·From your daughter?

·9· · · ·A· · ·Yes.

10· · · ·Q· · ·Okay.· Do you have any information about how the

11· ·screen shot or photo was taken?

12· · · ·A· · ·As far as I know, it was shared with S. and S.

13· ·forwarded it to me.

14· · · ·Q· · ·I am honestly not sure that I have any other

15· ·questions for you.

16· · · · · · ·Is there anything -- were there any topics this

17· ·morning that I asked Miss Luchetta-Rump about that you feel

18· ·that you were more knowledgeable to speak on that we haven't

19· ·just covered?

20· · · ·A· · ·No.· As co-advisors, that's what we were.· We

21· ·co-advised.· And we --

22· · · ·Q· · ·Okay.

23· · · ·A· · ·-- literally discussed everything.· So....

24· · · ·Q· · ·Okay.· And you -- I asked her some hypothetical

25· ·questions to try to understand what the cheerleading rules
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·1· ·mean.· You agreed with her responses to those hypotheticals?

·2· · · ·A· · ·Yes.

·3· · · · · · ·MS. TACK-HOOPER:· Okay.· I have nothing else.

·4· · · · · · ·MR. BROWN: I do not have anything.

·5· · · · · · ·(Whereupon, the deposition was concluded at 11:11

·6· ·a.m.)

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     Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 193 of 389


·1· ·COUNTY OF DAUPHIN· · · · · :

·2· · · · · · · · · · · · · · · : SS

·3· ·COMMONWEALTH OF PENNSYLVANIA :

·4· · · · · · ·I, Maria N. O'Donnell, a Notary Public, authorized

·5· ·to administer oaths within and for the Commonwealth of

·6· ·Pennsylvania, do hereby certify that the foregoing is the

·7· ·testimony of APRIL GNALL.

·8· · · · · · ·I further certify that before the taking of said

·9· ·deposition, the witness was duly sworn; that the questions and

10· ·answers were taken down stenographically by the said

11· ·Reporter-Notary Public, and afterwards reduced to typewriting

12· ·under the direction of the said Reporter.

13· · · · · · ·I further certify the said deposition was taken at

14· ·the time and place specified in the caption sheet hereof.

15· · · · · · ·I further certify that I am not a relative or

16· ·employee or attorney or counsel to any of the parties, or a

17· ·relative or employee of such attorney or counsel, or

18· ·financially interested directly or indirectly in this action.

19· · · · · · ·I further certify the said deposition constitutes a

20· ·true record of the testimony given by the said witness.

21· · · · · · ·In WITNESS WHEREOF, I have hereunto set my hand this

22· ·18TH day of OCTOBER, 2018.

23· · · · · · · · · · · · · · · · ·_______________________________
· · · · · · · · · · · · · · · · · · · · Maria N. O'Donnell, RPR
24· · · · · · · · · · · · · · · · · · · Notary Public

25
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·1· · ·I have read the foregoing transcript of

·2· ·my deposition given on October 10, 2018, and

·3· ·it is true, correct and complete, to the best

·4· ·of my knowledge, recollection and belief,

·5· ·except for the corrections noted hereon

·6· ·and/or list of corrections, if any, attached

·7· ·on a separate sheet herewith.

·8

·9

10

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12· · · · · · · · · · ·________________________

13· · · · · · · · · · ·APRIL GNALL

14

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16

17· · · · · · Subscribed and sworn to

18· · · · · · before me this _____ day

19· · · · · · of ________________, 2018.

20

21

22· · · · · · ___________________________

23· · · · · · Notary Public

24

25
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·1· · · · · · · · ·E R R A T A· S H E E T

·2· · · I, APRIL GNALL, do hereby certify that I

·3· · have read the foregoing transcript of my testimony, and

·4· · further certify that it is a true and accurate record

·5· · of my testimony (with the exception of the corrections

·6· · listed below).

·7· · PAGE· LINE· · · · · · · · CORRECTION

·8· · ____· ____· · ______________________________________

·9· · ____· ____· · ______________________________________

10· · ____· ____· · ______________________________________

11· · ____· ____· · ______________________________________

12· · ____· ____· · ______________________________________

13· · ____· ____· · ______________________________________

14· · ____· ____· · ______________________________________

15· · ____· ____· · ______________________________________

16· · ____· ____· · ______________________________________

17· · ____· ____· · ______________________________________

18· · ____· ____· · ______________________________________

19· · ____· ____· · ______________________________________

20· · ____· ____· · ______________________________________

21· · ____· ____· · ______________________________________

22· · ____· ____· · ______________________________________

23· · ____· ____· · ______________________________________

24
· · · __________· · · · · · · ·___________________________
25· · Date· · · · · · · · · · ·APRIL GNALL
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                Exhibit H
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·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
·2

·3

·4·   ·B.L., A MINOR, BY AND THROUGH :
· ·   ·HER FATHER, LAWRENCE LEVY,· · ·: CIVIL NO. 3:17-CV-1734-ARC
·5·   ·AND HER MOTHER, BETTY LOU· · · :
· ·   ·LEVY,· · · · · · · · · · · · · :
·6·   · · · · · · · ·PLAINTIFFS· · · ·:
· ·   · · · · · · · · · · · · · · · · :
·7·   · · · · · · · · · · · · · · · · :
· ·   · · · · ·V· · · · · · · · · · · :
·8·   · · · · · · · · · · · · · · · · :
· ·   ·MAHANOY AREA SCHOOL DISTRICT, :
·9·   · · · · · · · · · · · · · · · · :
· ·   · · · · · · · · DEFENDANT· · · ·:
10

11

12

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14
· · · · · · · · · · DEPOSITION OF:· DR. JOIE GREEN
15

16· · · · · · · · · TAKEN BY:· · · ·PLAINTIFFS

17

18· · · · · · · · · BEFORE:· · · · ·MARIA N. O'DONNELL, RPR

19· · · · · · · · · · · · · · · · · NOTARY PUBLIC

20

21· · · · · · · · · DATE:· · · · · ·OCTOBER 10, 2018, 11:12 A.M.

22

23· · · · · · · · · PLACE:· · · · · MAHANOY AREA SCHOOL DISTRICT

24· · · · · · · · · · · · · · · · · ONE GOLDEN BEAR DRIVE

25· · · · · · · · · · · · · · · · · MAHANOY CITY, PENNSYLVANIA
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·1

·2

·3

·4

·5· · · · ·APPEARANCES:

·6

·7· · · · · · ·AMERICAN CIVIL LIBERTIES UNION OF PENNSYLVANIA

·8· · · · · · ·BY: MOLLY TACK-HOOPER, ESQUIRE

·9· · · · · · · · ·P.O. BOX 60173

10· · · · · · · · ·PHILADELPHIA, PA 19102

11· · · · · · · · ·215-592-1513

12· · · · · · · · ·MTACK-HOOPER@ACLUPA.ORG

13· · · · · · · · ·FOR - PLAINTIFFS

14

15· · · · · · ·LEVIN LEGAL GROUP

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19· · · · · · · · ·215-938-6378

20· · · · · · · · ·DBROWN@LEVINLEGALGROUP.COM

21· · · · · · · · ·FOR - DEFENDANT

22

23· · · · · · ·ALSO PRESENT:

24· · · · · · · · ·LAWRENCE LEVY

25· · · · · · · · ·BETTY LOIU LEVY
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·1· · · · · · · · · · · · · · WITNESSES

·2· · · NAME· · · · · · · · · EXAMINATION

·3· ·DR. JOIE GREEN

·4· ·BY MS. TACK-HOOPER· · · · · ·4, 30

·5· ·BY: MR. BROWN· · · · · · · · 29

·6

·7· · · · · · · · · · · · · · EXHIBITS

·8· ·DEPOSITION EXHIBIT NO.· · · · · · · · PRODUCED AND MARKED

·9· ·10. Request for Admission· · · · · · · · · · · 7

10· ·11. Document (Facebook messages)· · · · · · · 11

11· ·12-14. Policy manual documents· · · · · · · · 18

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·1· · · · · · · · · · · · · ·STIPULATION

·2· · · · · · · · · It is hereby stipulated by and between counsel

·3· ·for the respective parties that sealing, certification and

·4· ·filing are hereby waived; and that all objections except as to

·5· ·the form of the question are reserved to the time of trial.

·6

·7· · · · · · · · · ·JOIE GREEN, called as a witness, being duly

·8· ·sworn, testified as follows:

·9· · · · · · · · · · · · ·EXAMINATION

10· ·BY MS. TACK-HOOPER:

11· · · ·Q· · ·Okay.· Have you ever given a deposition before?

12· · · ·A· · ·Yes.

13· · · ·Q· · ·How many times?

14· · · ·A· · ·A lot.· I don't know.

15· · · ·Q· · ·Were those all in your capacity as superintendent of

16· ·the school district?

17· · · ·A· · ·Yes.· Yes.

18· · · ·Q· · ·Okay.· Do you understand that you have been

19· ·designated to testify for the district today on several

20· ·topics?

21· · · ·A· · ·Yes.

22· · · ·Q· · ·And do you have Exhibit P-2 there?

23· · · ·A· · ·Yes.

24· · · ·Q· · ·The deposition notice?

25· · · · · · ·You have been designated on topics two, four, six
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 204 of 389


·1· ·and seven.

·2· · · ·A· · ·Okay.

·3· · · ·Q· · ·Are you the person most knowledgeable to testify

·4· ·about those topics?

·5· · · · · · ·Feel free to read them.

·6· · · ·A· · ·Yes.

·7· · · ·Q· · ·Is there any reason why you cannot give truthful

·8· ·testimony today?

·9· · · ·A· · ·No.

10· · · ·Q· · ·What did you do to prepare for this deposition?

11· · · ·A· · ·I reviewed this -- I reviewed this, what is it?

12· · · ·Q· · ·Deposition notice?

13· · · ·A· · ·Yes.· Thank you.· Thank you.· I reviewed the

14· ·deposition notice yesterday.

15· · · ·Q· · ·Okay.· Did you speak with anyone about your

16· ·testimony today other than your attorney?

17· · · ·A· · ·No.

18· · · ·Q· · ·Okay.· What is your title?

19· · · ·A· · ·I am the superintendent at the school district.

20· · · ·Q· · ·And what are your job duties?

21· · · ·A· · ·Are you sure you want to get out of here by lunch

22· ·time?

23· · · ·Q· · ·Is there a two-sentence version of describing what

24· ·you do?

25· · · ·A· · ·I am just basically responsible for all of the
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 205 of 389


·1· ·students, staff and tax payer -- well, tax payers of the

·2· ·community.· So just probably the main person that is

·3· ·responsible for everything.

·4· · · ·Q· · ·Okay.· How many years have you been superintendent

·5· ·of the district?

·6· · · ·A· · ·Superintendent here since 2010.· So eight years.

·7· · · ·Q· · ·And what position did you hold previous to that?

·8· · · ·A· · ·I was a middle school principal here from 2004 to

·9· ·2010.· And then before that, I was a teacher for about fifteen

10· ·years.

11· · · ·Q· · ·Okay.· Could you please look at Exhibit P-3, the

12· ·district's interrogatory responses.· They should be somewhere

13· ·in the stack.

14· · · ·A· · ·I put them in order for myself.

15· · · ·Q· · ·Okay.

16· · · ·A· · ·Okay.

17· · · · · · ·MR. BROWN: I think it is P-5.

18· ·BY MS. TACK-HOOPER:

19· · · ·Q· · ·I am sorry, it is P-5.· My mistake.

20· · · ·A· · ·Okay.

21· · · ·Q· · ·You signed a verification at the back of this

22· ·document, is that correct?

23· · · ·A· · ·Yes.

24· · · ·Q· · ·Did you review those responses before they were

25· ·submitted?
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 206 of 389


·1· · · ·A· · ·Yes.

·2· · · ·Q· · ·And they're accurate?

·3· · · ·A· · ·Yes.

·4· · · · · · ·MS. TACK-HOOPER:· Okay.· Let's mark this P-10.

·5· · · · · · ·(Defendant's responses to plaintiffs' request for

·6· ·admission produced and marked Deposition Exhibit No. P10.)

·7· ·BY MS. TACK-HOOPER:

·8· · · ·Q· · ·You have in front of you Exhibit P10, the district's

·9· ·responses to plaintiffs' first request for admissions.

10· · · · · · ·At the back of this document, you have signed a

11· ·verification.· Did you review this document before it was

12· ·submitted?

13· · · ·A· · ·Yes.

14· · · ·Q· · ·And are the responses in here accurate?

15· · · ·A· · ·Yes.

16· · · ·Q· · ·Okay.· Were Ms. Luchetta-Rump and Ms. Gnall

17· ·authorized by the school to remove B. from the cheerleading

18· ·team as punishment for her Snap?

19· · · ·A· · ·I wouldn't say authorized by the school district.

20· ·Normally what happens is the coaches of various co-curricular

21· ·activities have their own rules that they follow, and it's up

22· ·to them to determine what is appropriate for their team and

23· ·what isn't appropriate for their team.· So I wouldn't say that

24· ·the district authorized them to do that.· There was no board

25· ·approval saying that -- a board ratification saying, you know,
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 207 of 389


·1· ·you have to, you know, remove B., none of that.· So it's

·2· ·basically up to the coaches themselves to determine what the

·3· ·appropriate punishments agree with what.· That word punishment

·4· ·is for the child that doesn't follow their rules.

·5· · · ·Q· · ·So you were here for Miss Luchetta-Rump's testimony

·6· ·earlier today, right?

·7· · · ·A· · ·Yes.

·8· · · ·Q· · ·We talked about several parts of the handbook that

·9· ·refer to coaches adopting their own rules for their teams.

10· ·Correct?

11· · · ·A· · ·Yes.

12· · · ·Q· · ·Okay.· So coaches are allowed to make their own

13· ·rules for their teams?

14· · · ·A· · ·Correct.

15· · · ·Q· · ·Are there any limits on what kind of rules coaches

16· ·can make for their teams?

17· · · ·A· · ·Well, they have to follow the PIAA rules, obviously

18· ·that is required.· They have to follow the ineligibility list

19· ·rules as far as grading.· But other than that, they can -- you

20· ·know, they have guidelines.· The guideline would be the

21· ·student handbook, the PIAA.· Then they go from there to make

22· ·their rules.

23· · · ·Q· · ·Have you reviewed the cheerleading rules for the

24· ·district?

25· · · ·A· · ·Not before this incident.· I have never reviewed any
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 208 of 389


·1· ·rules for any sports before this incident.

·2· · · ·Q· · ·Okay.· What is your understanding of who reviewed

·3· ·rule -- who reviewed the cheerleading rules?

·4· · · ·A· · ·When?

·5· · · ·Q· · ·Before they were put into effect.

·6· · · ·A· · ·It's my understanding that the cheerleading coaches

·7· ·put their own rules into effect themselves.

·8· · · ·Q· · ·Okay.

·9· · · ·A· · ·It's not reviewed by the principal unless they have

10· ·a question about something or something has changed from year

11· ·to year and they have a question they want to run by the

12· ·principal, but it is never reviewed with me.

13· · · ·Q· · ·Okay.· Let's look at the cheerleading rules.· They

14· ·are Exhibit D3.

15· · · · · · ·Have you had an opportunity to read these rules at

16· ·some point?

17· · · ·A· · ·Yes.

18· · · ·Q· · ·Is there anything in these rules that goes beyond

19· ·what coaches are allowed to do?

20· · · ·A· · ·No.

21· · · ·Q· · ·You heard the coaches testify about what various

22· ·provisions of these rules mean.· Did their explanation of how

23· ·they apply these rules exceed what they're allowed to do in

24· ·your opinion?

25· · · ·A· · ·No.
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 209 of 389


·1· · · ·Q· · ·Would you say that the coaches had the power to

·2· ·remove B. from the cheerleading team without approval from

·3· ·anyone else?

·4· · · ·A· · ·Yes.

·5· · · ·Q· · ·After B. was punished, her parents had several

·6· ·conversations with district officials asking for

·7· ·reconsideration.· Are you aware of this?

·8· · · ·A· · ·Yes.

·9· · · ·Q· · ·The high school principal at the time, Mr. Smith,

10· ·stood by their decision.· Correct?

11· · · ·A· · ·Yes.

12· · · ·Q· · ·You stood by their decision, correct?

13· · · ·A· · ·Yes.

14· · · ·Q· · ·Athletic Director Cray stood their by their

15· ·decision?

16· · · ·A· · ·Yes.

17· · · ·Q· · ·On June 29th, 2017, Mr. Levy went to the board

18· ·meeting to discuss this incident.· Were you aware of that?

19· · · ·A· · ·Yes.

20· · · ·Q· · ·Did the board discuss Brandi's punishment at that

21· ·meeting?

22· · · ·A· · ·With Mr. Levy, yes.· Her punishment, did you ask?

23· · · ·Q· · ·Yes.

24· · · ·A· · ·No.· After the meeting was over, he -- they had

25· ·stated that they were going to take it into consideration.
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 210 of 389


·1· · · ·Q· · ·Okay.· If you look at the interrogatory responses,

·2· ·which are P-5, response No. 3 says that the board took no

·3· ·action on the matter?

·4· · · ·A· · ·Right.· The board did not take any action.· They did

·5· ·not.

·6· · · · · · ·MR. BROWN: Did you say that was No. 3?

·7· · · · · · ·THE WITNESS:· She said No. 3.

·8· ·BY MS. TACK-HOOPER:

·9· · · ·Q· · ·Did I get the number wrong?· I will find it.· Yes,

10· ·it's at the end of the second paragraph in response to No. 3.

11· ·The school board took no action on the matter?

12· · · ·A· · ·Right.

13· · · ·Q· · ·What does that mean?

14· · · ·A· · ·They did not have a public meeting about it, a

15· ·public vote about it.· They didn't ratify anything.· They

16· ·didn't -- they just didn't have any -- normally like at a

17· ·school board meeting, we do motions and approvals, they didn't

18· ·do that for this situation.

19· · · · · · ·MS. TACK-HOOPER:· Okay.· P-11.

20· · · · · · ·(Document, Facebook messages, produced and marked

21· ·Deposition Exhibit Number P11.)

22· ·BY MS. TACK-HOOPER:

23· · · ·Q· · ·You have what's been marked as P11.· Is this a

24· ·Facebook message between you and Mr. Levy?

25· · · ·A· · ·Yes.· Messenger message, yes.
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 211 of 389


·1· · · ·Q· · ·Okay.

·2· · · ·A· · ·I don't know if it was messaged through Facebook.

·3· ·It might have been a text message.· I am not sure.

·4· · · ·Q· · ·Okay.· It was some communication with Mr. Levy?

·5· · · ·A· · ·Correct.

·6· · · ·Q· · ·On August 11, correct?

·7· · · ·A· · ·Yes.

·8· · · ·Q· · ·And you state in there that the school board decided

·9· ·to stand by the coaches.· Correct?

10· · · ·A· · ·Yes.

11· · · ·Q· · ·Was there -- did the board consider the issue of B's

12· ·punishment a second time after the June 29th meeting?

13· · · ·A· · ·I don't know -- I was trying to remember what

14· ·happened.· I don't know if they had discussed supporting the

15· ·coaches that meeting, or if it was the meeting after that, the

16· ·July meeting, because I don't understand why it took until

17· ·August llth to message Larry to tell him that.

18· · · ·Q· · ·Okay.

19· · · ·A· · ·I am not sure what happened there.· I don't know if

20· ·there was a discussion about it.· I am not sure.· But they had

21· ·told me to notify him and let him know that they were going to

22· ·support the coaches.

23· · · ·Q· · ·Okay.

24· · · ·A· · ·So that's what I did.

25· · · ·Q· · ·Okay.· Was there any kind of formal vote?
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 212 of 389


·1· · · ·A· · ·No.

·2· · · ·Q· · ·Okay.· Is there any reason in your view why the

·3· ·coaches decision to remove B. from the cheerleading squad as

·4· ·punishment for her Snap should not be attributed to the

·5· ·district?

·6· · · ·A· · ·What?· I --

·7· · · · · · ·MR. BROWN: Object to the form.

·8· · · · · · ·THE WITNESS:· I don't understand what you mean.

·9· ·BY MS. TACK-HOOPER:

10· · · ·Q· · ·Sure.· When the coaches decided to punish B., that

11· ·is something that coaches are allowed to do, correct?

12· · · ·A· · ·Yes.

13· · · ·Q· · ·They were acting as coaches in the way that all of

14· ·your coaches act, correct?

15· · · ·A· · ·Yes.

16· · · ·Q· · ·Okay.· The rules in the handbook say that they get

17· ·to set rules regarding students' out of school conduct and can

18· ·punish students for violating those rules, correct?

19· · · ·A· · ·Yes.

20· · · ·Q· · ·The coaches did everything the way that you would

21· ·expect them to handle the situation?

22· · · ·A· · ·Yes.

23· · · ·Q· · ·Okay.· They weren't going rogue in this situation?

24· · · ·A· · ·No.

25· · · ·Q· · ·Okay.· All right.· And the district ultimately
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 213 of 389


·1· ·decided that the punishment was appropriate, correct?

·2· · · · · · ·MR. BROWN: Objection to the form as far as what you

·3· ·mean by district.

·4· ·BY MS. TACK-HOOPER:

·5· · · ·Q· · ·Okay.· The school board ultimately decided that the

·6· ·punishment was appropriate, correct?

·7· · · ·A· · ·The school board decided that they were going to

·8· ·support the coaches' decisions.

·9· · · ·Q· · ·Okay.

10· · · ·A· · ·They said that they can't -- that they shouldn't get

11· ·involved in extracurricular activities.· That they need -- the

12· ·coaches need to be able to hold their people accountable for

13· ·what they do and don't do.

14· · · ·Q· · ·Sure.

15· · · ·A· · ·So it shouldn't be a board -- it shouldn't -- it

16· ·shouldn't be at the board level.

17· · · ·Q· · ·Right.· So coaches should be allowed to make these

18· ·decisions without having to go through the school board or

19· ·other administrators, correct?

20· · · ·A· · ·Coaches should be able to monitor their, I shouldn't

21· ·say student, but that's what they are, monitor them the way

22· ·they see fit for their activity.

23· · · ·Q· · ·Okay.· Are there any -- is there any training that

24· ·coaches receive about the limits of their authority to punish

25· ·students?
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 214 of 389


·1· · · ·A· · ·The training that are required for all coaches are

·2· ·through PIAA.· And our -- all of our coaches are required to

·3· ·do those trainings.· As far as if there is one for discipline,

·4· ·I am not sure.

·5· · · ·Q· · ·Okay.· Did -- do school coaches have to notify

·6· ·anyone else at the school or the district either before or

·7· ·after they punish students?

·8· · · ·A· · ·They don't have to put -- we're such a small school,

·9· ·that the majority of them do.

10· · · ·Q· · ·Okay.

11· · · ·A· · ·They'll notify the principal or the athletic

12· ·director.

13· · · ·Q· · ·Okay.· Are you aware of any coaches ever having been

14· ·reprimanded or disciplined for disciplining students

15· ·improperly?

16· · · ·A· · ·Not that I am aware of, no.

17· · · ·Q· · ·Okay.· I'd like to -- we talked this morning about

18· ·the cheerleading rules that the coaches made and also the

19· ·student handbook.· How do the cheerleading rules relate to the

20· ·rules in the handbook?

21· · · ·A· · ·So the handbook has part of the -- all of the PIAA

22· ·requirements in it.· And so they have to kind of -- one is the

23· ·back hand of the other one.· Do you understand what I am

24· ·saying?· So they use both of those to determine what would be

25· ·the best appropriate rules for their teams.· So I know like --
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 215 of 389


·1· ·that the PIAA part of the handbook has to go across the board

·2· ·for everybody.· You know, it's the rule for PIAA.· They can't

·3· ·play in a football game if they're averages aren't at a

·4· ·certain point, if they're failing a subject like Nicole had

·5· ·said.

·6· · · ·Q· · ·Right.

·7· · · ·A· · ·So it goes hand in hand.· So they have that as a

·8· ·guide to determine what their rules would be.

·9· · · ·Q· · ·Okay.· Were there any parts of the handbook that we

10· ·did not discuss this morning that you think someone should

11· ·read in order to understand coaches power to punish their

12· ·players?

13· · · · · · ·Feel free to go through the exhibits.

14· · · ·A· · ·Just that the important part is the -- is page 78

15· ·through 80, 81 is all of the PIAA information.· That's taken

16· ·right from there.· So where it says interscholastic athletic

17· ·procedures on the bottom of page 78 all of the way through

18· ·page 81 before the words student counsel, that's everything

19· ·that explains the suspension from a team, their attendance,

20· ·their personal conduct, so on.· But other than that, no.

21· · · ·Q· · ·Okay.· Just for the record, that was Exhibit P6?

22· · · ·A· · ·P6, yes.

23· · · ·Q· · ·Okay.· We also looked at another policy, policy 218,

24· ·which was marked as P-7.· Do you -- can you find that one?

25· · · ·A· · ·Yes.
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 216 of 389


·1· · · ·Q· · ·What is this policy?

·2· · · ·A· · ·This is a policy for student discipline.

·3· · · ·Q· · ·What is the policy?· It says at the top book policy

·4· ·manual.· What is the policy manual?

·5· · · ·A· · ·There is a policy manual that is required for all

·6· ·school districts.· And each of them -- we do ours through the

·7· ·Pennsylvania School Boards Association.· And this is the

·8· ·section 200 of the policy.· It is policy 218, which is called

·9· ·student discipline.

10· · · ·Q· · ·This is the PSEA's standard policy on student

11· ·discipline?

12· · · ·A· · ·No.· PSBA, Pennsylvania School Board Association.

13· · · ·Q· · ·I am sorry, PSBA.· Sorry.

14· · · ·A· · ·They recommend a policy to the districts.· And then

15· ·we I guess you could say tweak it to how our district is.· And

16· ·then our board votes on the policies two times in one month,

17· ·two consecutive months, then it becomes a policy.

18· · · · · · ·We send it back to PSBA, then they approve it.· And

19· ·we post it on our web site.

20· · · ·Q· · ·Okay.· And is this a policy that you train

21· ·cheerleading coaches on?

22· · · ·A· · ·I don't train.· No, I don't train cheerleading

23· ·coaches on policy, no.

24· · · ·Q· · ·Do you expect your coaches to be familiar with all

25· ·of the districts's policies?
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·1· · · ·A· · ·That's a tough question because it's two fold.             I

·2· ·expect the coaches to follow what is in the handbook as far as

·3· ·what they need to do and what they shouldn't be doing.

·4· · · · · · ·The policy itself, there is procedures that are made

·5· ·for each policy.· So the policy is the big thing, the big

·6· ·picture.· Then there is procedures that we can create based on

·7· ·the policy.· And those procedures would be the coaches' rules,

·8· ·PIAA procedures, all of those things.· So do they follow the

·9· ·policy, they have to realistically -- I shouldn't say they

10· ·have to, they need to look at the policy and determine what

11· ·their rules are and procedures are from that point.

12· · · · · · ·So once the procedures are established, I would

13· ·expect them to follow the procedures based on the policy.             I

14· ·hope that makes sense.

15· · · ·Q· · ·I think so.· But I am going to show you some more

16· ·policies.

17· · · ·A· · ·Okay.

18· · · · · · ·MS. TACK-HOOPER:· Twelve, thirteen and fourteen.

19· · · · · · ·(Policy manual documents produced and marked

20· ·Deposition Exhibit Numbers 12, 13, and 14.)

21· ·BY MS. TACK-HOOPER:

22· · · ·Q· · ·I have just handed you three more policies, Exhibits

23· ·P12, P13 and P14.· They are policies 122, 123 and 220.

24· · · · · · ·Do these policies also constrain the types of rules

25· ·that coaches are allowed to set?
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·1· · · ·A· · ·Constrain?

·2· · · ·Q· · ·Yes.· So are these policies that coaches would need

·3· ·to read before writing say their cheerleading rules so that

·4· ·they --

·5· · · ·A· · ·Not necessarily.· What I mean yes and no.· So if --

·6· ·if the procedures -- if the policy is updated, then yes.· But

·7· ·this -- these policies are from 2007, 2012, 2012, and 2007.

·8· ·So the rules and procedures are probably already in effect for

·9· ·these things.· So, for example, cheerleading, like we saw, had

10· ·rules from back in the stone age, and then they moved up.· So

11· ·as the policies were changed, they basically went off of -- as

12· ·the rules were changed, it was based on most likely the

13· ·policies.· So -- or their procedures might have changed

14· ·because of something that happened.· Like, for example, Nicole

15· ·had said that the one rule had changed because there was no --

16· ·there was no Snapchat back then.· You know, so they had to add

17· ·some type of thing.· So things change as they move forward.

18· · · ·Q· · ·Sure.

19· · · ·A· · ·Basically are they supposed to follow the policy?

20· ·Yes.· But also they need to up -- like these policies I can

21· ·tell you currently right now are being updated.· So we're in

22· ·the process right now of updating every single one of our

23· ·policies with PSBA.· So it's kind of a hard question to

24· ·answer.

25· · · ·Q· · ·Let me ask it this way.· Are the cheerleading rules
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 219 of 389


·1· ·consistent with all of these policies in your view?

·2· · · ·A· · ·I don't know.· I didn't really sit down and go

·3· ·through to make sure that they are.

·4· · · ·Q· · ·Okay.· Do you want to take a moment and look at

·5· ·these -- these are four policies that your lawyer has produced

·6· ·in this litigation.· Are they policies that you're familiar

·7· ·with?

·8· · · ·A· · ·Yes.

·9· · · ·Q· · ·Okay.· Do you want to take a few minutes and just

10· ·look at them again?

11· · · ·A· · ·Yes, if you don't mind.

12· · · ·Q· · ·Please take your time.

13· · · ·A· · ·Could you read me your question again?

14· · · ·Q· · ·Sure.· In your view, are the cheerleading rules

15· ·consistent with these district policies?

16· · · ·A· · ·I would say yes.

17· · · ·Q· · ·Okay.· So you agree that coaches have the power to

18· ·remove students from sports or extra-curriculars because of

19· ·their out-of-school speech?

20· · · ·A· · ·Depending on the situation.

21· · · ·Q· · ·What does that mean?

22· · · ·A· · ·Depending on what the issue is.· If -- what is their

23· ·out-of-school speech?· If it's related, directly related to

24· ·the school district, harms the school, harms any kind of

25· ·verbal written or something that is going to hurt the school
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 220 of 389


·1· ·district, then yes; if it's not, then no.

·2· · · ·Q· · ·Okay.· So would coaches have the power to adopt a

·3· ·rule that says that you can't swear outside of school because

·4· ·swearing reflects badly on the district?

·5· · · ·A· · ·That's a tough one too.· I think that if they said

·6· ·-- they were swearing against the organization and that was in

·7· ·their rules, then that would be an issue.· But if they were

·8· ·just swearing, I don't think that's an issue.· It's an

·9· ·individual case basis.

10· · · ·Q· · ·Okay.

11· · · ·A· · ·You know, just like the SG thing was different than

12· ·B's.· You know, one did something wrong on social media.· We

13· ·addressed it.· That punishment was different.· B. did

14· ·something wrong on social media, that punishment was

15· ·different.· So like it depends on the situation itself.

16· · · ·Q· · ·Okay.

17· · · ·A· · ·And based on what they have in their rules.

18· · · ·Q· · ·Okay.· But there is nothing about B's punishment

19· ·that you think went too far and went beyond what coaches

20· ·should be allowed to do, is that right?

21· · · ·A· · ·Do you mean -- well, if -- no.· I think that is

22· ·right.

23· · · ·Q· · ·Okay.· We talked a lot about -- this morning about

24· ·the nature of Snapchat and the fact that it is different from

25· ·other social media platforms.· In many ways it shares many
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 221 of 389


·1· ·qualities with say like a large group text.· In your view,

·2· ·your coaches have the power to say you can't say disparaging

·3· ·things about the school or about our sport to a large group of

·4· ·people, even if it is not public on line?

·5· · · · · · ·MR. BROWN: I object to the form.· But if you

·6· ·understand the question, you can answer.

·7· · · · · · ·THE WITNESS:· If it's public on line, and it is a

·8· ·derogatory remark towards their team and that is a rule of

·9· ·theirs, then yes, they have the option to discipline them.

10· ·BY MS. TACK-HOOPER:

11· · · ·Q· · ·Okay.· I am talking about a situation that's not

12· ·public on line.· It's a closed group of some sort, either a

13· ·closed social media group or like a large group chat.

14· · · ·A· · ·If they find out about it, they have the right to

15· ·discipline the child.· If they find out that it is in fact a

16· ·post, because obviously it wasn't private because everybody

17· ·else found out about it.

18· · · ·Q· · ·Okay.· So in your view, coaches have the power to

19· ·punish speech that comes into the school in some way even if

20· ·it wasn't like open to everyone in the public, is that your

21· ·view?

22· · · ·A· · ·No.· I am saying if -- if the speech effects the --

23· ·that specific team or group, then yes.· An if it's their rule,

24· ·then yes.

25· · · ·Q· · ·Right.
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·1· · · ·A· · ·They have the right to punish those children.

·2· · · ·Q· · ·Okay.· So someone could say something outside of

·3· ·school to one other person that could effect a team.· You

·4· ·agree with that, right?

·5· · · ·A· · ·Uh-huh.

·6· · · ·Q· · ·And that one other person they sent it to could tell

·7· ·fifty other people, right?

·8· · · ·A· · ·Uh-huh.

·9· · · ·Q· · ·I am trying to figure out if that is something that

10· ·you think that the school could punish, or if there is some

11· ·kind of line drawn that the district does --

12· · · ·A· · ·I look at it, my own personal view is if you are

13· ·talking -- if I am talking to you by myself and I am saying to

14· ·you cheerleading sucks, it's different than posting it on a

15· ·public forum for everyone to see to get all of the

16· ·cheerleaders worked up and upset.· It happened both times.· So

17· ·like you need to discipline that person because it effected

18· ·the team itself.· If it didn't effect the team, or if it was

19· ·just a conversation between you and I and no one else knew

20· ·about it and I was mad at you one day and went up to the coach

21· ·and said, hey, did you know that so and so said this to me,

22· ·there is really nothing that you can do about that.· To me

23· ·there is a difference between freedom and speech and throwing

24· ·a public -- out into a public forum of bashing of your group

25· ·when you know that that is a rule that you're not able to do.
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·1· · · ·Q· · ·Understood.· I am trying to understand though if you

·2· ·think your coaches would be allowed to adopt a rule that says

·3· ·if you say to one person outside of school something negative

·4· ·about our sport and I hear about it, I am going to punish you.

·5· ·Would that be allowed?

·6· · · ·A· · ·I don't know how to answer that.

·7· · · ·Q· · ·Okay.· Okay.· Has the student handbook changed in

·8· ·the past few years in any way that is relevant to this case?

·9· · · ·A· · ·I don't believe so.

10· · · ·Q· · ·Okay.· Okay.· One of your attorneys said at the

11· ·preliminary injunction hearing that it's pretty much the same

12· ·from year to year.· Is that an accurate statement in your

13· ·view?

14· · · ·A· · ·Yes.· If a policy updates or procedures update, then

15· ·they're put in there.· But the majority of it is the same.

16· · · ·Q· · ·Okay.· What is the most specific written statement

17· ·that the district has that says that cheerleaders can be

18· ·punished for saying fuck cheer off campus?

19· · · ·A· · ·What is the most specific statement?

20· · · ·Q· · ·Yes.· So we have looked at a lot of policies, parts

21· ·of the handbook that talked generally about personal conduct

22· ·outside of school, I am just wondering --

23· · · ·A· · ·There is no one specific answer to that.· There is

24· ·the -- there is a lot of things that would say a cheerleading

25· ·coach could punish for speech that's outside based on the
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 224 of 389


·1· ·rules in the handbook, based on the rules that they establish,

·2· ·based on the procedures that they establish from the policies,

·3· ·all of that gives them that authority to do that.

·4· · · ·Q· · ·Okay.· Do other sports teams have rules like the

·5· ·cheerleading rules that restrict athletes' speech when they're

·6· ·not at school or doing school activities?

·7· · · ·A· · ·I wouldn't know that, because they don't get their

·8· ·rules approved by me.· I do know that some of the sports

·9· ·though have those types of things.· But as far as all of them,

10· ·I don't know.

11· · · ·Q· · ·Okay.· Let's look at P-2, the 30 (b)(6) deposition

12· ·notice with the topics.· So the second topic, it's on page A7,

13· ·is one that you were designated on.

14· · · ·A· · ·Okay.

15· · · ·Q· · ·Subsection A says whether students participating in

16· ·other high school athletics through the district are subject

17· ·to restrictions on their out-of-school speech similar to the

18· ·restrictions on speech imposed on cheerleaders, and if not,

19· ·why not.· Is that a topic you are able to speak about?

20· · · ·A· · ·I can tell you that they -- whether students

21· ·participate -- I can tell you that if the coach has that rule,

22· ·they will put -- implement that rule.

23· · · · · · ·There has not been an issue like this until now.· So

24· ·I don't know of any that have an issue with disciplining the

25· ·students for speech.
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·1· · · ·Q· · ·Is there anyone in the district who would be more

·2· ·familiar with these rules?· Like I think that you mentioned

·3· ·that coaches sometimes will show their rules to the athletic

·4· ·director or the principal.

·5· · · ·A· · ·I can -- maybe the principal that was here prior to

·6· ·this, Mr. Smith, but I don't think he's going to be able to

·7· ·help you.· Because the only time they would go to them for the

·8· ·rules would be if there was a situation where they needed to

·9· ·throw somebody off a team.

10· · · ·Q· · ·Okay.· All right.· And the topic B under two on that

11· ·same document --

12· · · ·A· · ·Yes.

13· · · ·Q· · ·Whether HB, a football player, featured in the Utube

14· ·video at issue is Loy versus Mahanoy Area School District was

15· ·subjected to discipline as a result of his out-of-school

16· ·speech, and if not, why not.· Is that something that you're

17· ·able to talk about?

18· · · ·A· · ·Yes.

19· · · ·Q· · ·Okay.

20· · · ·A· · ·So HB was not a football player when the Utube video

21· ·for Loy and the Mahanoy Area School District was going on.· He

22· ·wasn't on the team.· So he wasn't subjected to discipline.

23· · · ·Q· · ·Is that because it wasn't football season, or he

24· ·hadn't made the team?

25· · · ·A· · ·It says was he featured in Utube video and was
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 226 of 389


·1· ·subjected to discipline, he wasn't.

·2· · · ·Q· · ·No.· I am sorry.· You said he wasn't a football

·3· ·player.· I am asking you if that's because -- so the video, as

·4· ·I understand it from the other lawsuit, was dated February 7,

·5· ·2017.· Is that part of the football season?

·6· · · · · · ·MR. BROWN: Wait.· If you can, I think what you are

·7· ·asking, I am just trying to mediate here.

·8· · · · · · ·MS. TACK-HOOPER:· Please, yes.

·9· · · · · · ·MR. BROWN: You are asking whether it was -- he was a

10· ·football player, but it was out of season, or was he already

11· ·off of the football team, is that --

12· · · · · · ·MS. TACK-HOOPER:· Yes, that's right.

13· · · · · · ·THE WITNESS:· No.· He played football his freshman

14· ·year for approximately a couple -- maybe a couple weeks and

15· ·quit.

16· ·BY MS. TACK-HOOPER:

17· · · ·Q· · ·I see.· Okay.

18· · · ·A· · ·He never went back out again.· And he's a senior

19· ·this year.· So he wasn't even on the football team at all

20· ·during this lawsuit.

21· · · ·Q· · ·Okay.· Okay.

22· · · ·A· · ·So it's like it's --

23· · · · · · ·MR. BROWN: I think we're saying --

24· · · · · · ·MS. TACK-HOOPER: Sure.

25· · · · · · ·MR. BROWN: -- it wasn't because it was out of
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 227 of 389


·1· ·season, he was not on the team any more?

·2· · · · · · ·THE WITNESS:· No.· He was not on the team.· He was

·3· ·on the team for a few weeks and quit.

·4· · · · · · ·MS. TACK-HOOPER:· Got it.

·5· · · · · · ·THE WITNESS:· Then never went back on the team

·6· ·again.

·7· · · · · · ·MR. BROWN: The video occurred after.

·8· · · · · · ·THE WITNESS:· Right.· The video occurred --

·9· ·BY MS. TACK-HOOPER:

10· · · ·Q· · ·Are you aware of any -- so I know that you said that

11· ·you're not familiar with every teams rules.· Do you have any

12· ·reason to believe that any other team has rules that would

13· ·allow the team to kick a student off for their out-of-school

14· ·speech?

15· · · ·A· · ·Do I have any knowledge of that, no.

16· · · ·Q· · ·Yes.· Okay.

17· · · · · · ·Okay.· Would there be any reason for cheerleaders to

18· ·be subject to more restrictions on their out-of-school speech

19· ·than students in other sports?

20· · · ·A· · ·No.

21· · · ·Q· · ·Okay.· Okay.· You were also designated to speak for

22· ·the district on topic four, which is about past incidents of

23· ·disruption caused by out-of-school speech.· Is that a topic

24· ·that you are able to speak about?

25· · · ·A· · ·Yes.
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 228 of 389


·1· · · ·Q· · ·Okay.· Were there any past incidents of disruption

·2· ·that would lead someone to believe that B's Snap might disrupt

·3· ·classroom instruction or other school activities?

·4· · · ·A· · ·You lost me.· Can you say that again?

·5· · · ·Q· · ·Sure.· Sure.

·6· · · ·A· · ·I am trying to follow what you are saying.

·7· · · ·Q· · ·What other incidents are you aware of involving

·8· ·disruption caused by a student's out-of-school speech?

·9· · · ·A· · ·None.

10· · · ·Q· · ·None in the district?

11· · · ·A· · ·No.

12· · · · · · ·MS. TACK-HOOPER:· Okay.· That is all I have.

13· · · · · · ·Do you have anything?

14· ·BY MR. BROWN:

15· · · ·Q· · ·I just have one question.

16· · · · · · ·We have been discussing the authority to remove B.

17· ·from the cheerleading team.· Do you believe there is a

18· ·difference in removing a student from an extracurricular

19· ·activity, whether it's the sport of cheerleading versus

20· ·removing a student from their classes by suspension or

21· ·expulsion?

22· · · ·A· · ·Yes.· Absolutely.· We don't -- that's a part of the

23· ·reason why the -- we separate the extracurricular from the

24· ·academic.· So we didn't punish B., say you are suspended from

25· ·school for, you know, ten days for posting this on Facebook.
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·1· ·It would be completely up to the coach to determine what they

·2· ·wanted to do based on what was stated.· So yes, there is a

·3· ·difference between suspending for extracurricular activities

·4· ·and suspended for academic activities.

·5· · · · · · ·MR. BROWN:· ·Okay.· That's all I have.

·6· ·BY MS. TACK-HOOPER:

·7· · · ·Q· · ·One follow-up.

·8· · · ·A· · ·Okay.

·9· · · ·Q· · ·In the lawsuit, one of the allegations in the

10· ·complaint was that you had told someone that you couldn't

11· ·punish the student involved in making the Utube video because

12· ·of some case law that says that you can't punish -- you can't

13· ·expel or suspend students for their out-of-school speech.· Was

14· ·that accurate?

15· · · ·A· · ·No, it wasn't.

16· · · ·Q· · ·Okay.· So you did not make those comments to anyone?

17· · · ·A· · ·No.· It was out of context.

18· · · ·Q· · ·What was the context?

19· · · ·A· · ·The context was -- I think this is a confidential

20· ·case, I am not supposed to speak about.

21· · · · · · ·MR. BROWN: You said that you didn't make the

22· ·comment?

23· · · · · · ·THE WITNESS:· This case was closed.· And I was told

24· ·I am not allowed to speak about it.

25· ·BY MS. TACK-HOOPER:
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 230 of 389


·1· · · ·Q· · ·Sure.· I am going to -- let's put that outside of

·2· ·that context.· Let me just ask you about -- since your lawyer

·3· ·asked you about the difference between what you can punish

·4· ·students for when you are expelling or suspending them versus

·5· ·what you can punish them for extracurriculars.· All I want to

·6· ·know is, is it your view that you cannot punish students --

·7· ·you cannot suspend or expel students for out-of-school speech?

·8· · · ·A· · ·No.

·9· · · ·Q· · ·Is that your -- that's not your understanding?

10· · · ·A· · ·No.

11· · · ·Q· · ·Okay.· In what circumstances do you think that you

12· ·can suspend or expel a student for speech?

13· · · ·A· · ·I wouldn't say suspend or expel a student.· I would

14· ·say from their extracurricular activity, they could be

15· ·suspended or expelled, but not from the school.

16· · · ·Q· · ·Okay.

17· · · ·A· · ·I hope I am not making you confused.

18· · · ·Q· · ·No.· I was just trying to understand what your view

19· ·was of the difference between those two things.

20· · · · · · ·So you're a -- just to make sure I understand it.

21· ·Your view is that the district can remove students from sports

22· ·or extracurriculars for speech or conduct that the school

23· ·would not be able to suspend or expel them from school for, is

24· ·that right?

25· · · ·A· · ·Right.· Right.· Well, it would -- I don't know how
    Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 231 of 389


·1· ·to answer that.· It would depend on the situation.· We would

·2· ·obviously look at if the person stated something that was

·3· ·derogatory toward their athletic group.

·4· · · ·Q· · ·Right.

·5· · · ·A· · ·The athletic gets involved in that.· If a person

·6· ·posts, which happens all of the time, people post things on

·7· ·Facebook that are, you know, wrong toward a teacher or

·8· ·something like that --

·9· · · ·Q· · ·Okay.

10· · · ·A· · ·-- we would follow what the law is, the procedure

11· ·is, contact the solicitor and find out what do we need to do

12· ·in this type of situation.

13· · · ·Q· · ·Okay.

14· · · ·A· · ·We have not had that situation other than the Loy

15· ·case which was blown out of proportion and dropped.· So I

16· ·can't --

17· · · · · · ·MR. BROWN: Yes.

18· · · · · · ·MS. TACK-HOOPER:· Fine.· Yes.

19· · · · · · ·MR. BROWN: We don't need to discuss the Loy case any

20· ·more.

21· · · · · · ·THE WITNESS:· That's what I am saying, this is a

22· ·unique situation for our district.

23· · · · · · ·MS. TACK-HOOPER:· Okay.· I have no other questions.

24· · · · · · ·MR. BROWN: I do not either.· Thank you very much.

25· · · · · · ·(Whereupon, the deposition was concluded at
     Case 3:17-cv-01734-ARC Document 39-1 Filed 12/20/18 Page 232 of 389


·1· ·12:00 p.m.)

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·1· ·COUNTY OF DAUPHIN· · · · · :

·2· · · · · · · · · · · · · · · : SS

·3· ·COMMONWEALTH OF PENNSYLVANIA :

·4· · · · · · ·I, Maria N. O'Donnell, a Notary Public, authorized

·5· ·to administer oaths within and for the Commonwealth of

·6· ·Pennsylvania, do hereby certify that the foregoing is the

·7· ·testimony of DR. JOIE GREEN.

·8· · · · · · ·I further certify that before the taking of said

·9· ·deposition, the witness was duly sworn; that the questions and

10· ·answers were taken down stenographically by the said

11· ·Reporter-Notary Public, and afterwards reduced to typewriting

12· ·under the direction of the said Reporter.

13· · · · · · ·I further certify the said deposition was taken at

14· ·the time and place specified in the caption sheet hereof.

15· · · · · · ·I further certify that I am not a relative or

16· ·employee or attorney or counsel to any of the parties, or a

17· ·relative or employee of such attorney or counsel, or

18· ·financially interested directly or indirectly in this action.

19· · · · · · ·I further certify the said deposition constitutes a

20· ·true record of the testimony given by the said witness.

21· · · · · · ·In WITNESS WHEREOF, I have hereunto set my hand this

22· ·18TH day of OCTOBER, 2018.

23· · · · · · · · · · · · · · · · ·_______________________________
· · · · · · · · · · · · · · · · · · · · Maria N. O'Donnell, RPR
24· · · · · · · · · · · · · · · · · · · Notary Public

25
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·1· · ·I have read the foregoing transcript of

·2· ·my deposition given on October 10, 2018, and

·3· ·it is true, correct and complete, to the best

·4· ·of my knowledge, recollection and belief,

·5· ·except for the corrections noted hereon

·6· ·and/or list of corrections, if any, attached

·7· ·on a separate sheet herewith.

·8

·9

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12· · · · · · · · · · ·________________________

13· · · · · · · · · · ·DR. JOIE GREEN

14

15

16

17· · · · · · Subscribed and sworn to

18· · · · · · before me this _____ day

19· · · · · · of ________________, 2018.

20

21

22· · · · · · ___________________________

23· · · · · · Notary Public

24

25
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·1· · · · · · · · ·E R R A T A· S H E E T

·2· · · I, DR. JOIE GREEN, do hereby certify that I

·3· · have read the foregoing transcript of my testimony, and

·4· · further certify that it is a true and accurate record

·5· · of my testimony (with the exception of the corrections

·6· · listed below).

·7· · PAGE· LINE· · · · · · · · CORRECTION

·8· · ____· ____· · ______________________________________

·9· · ____· ____· · ______________________________________

10· · ____· ____· · ______________________________________

11· · ____· ____· · ______________________________________

12· · ____· ____· · ______________________________________

13· · ____· ____· · ______________________________________

14· · ____· ____· · ______________________________________

15· · ____· ____· · ______________________________________

16· · ____· ____· · ______________________________________

17· · ____· ____· · ______________________________________

18· · ____· ____· · ______________________________________

19· · ____· ____· · ______________________________________

20· · ____· ____· · ______________________________________

21· · ____· ____· · ______________________________________

22· · ____· ____· · ______________________________________

23· · ____· ____· · ______________________________________

24
· · · __________· · · · · · · ·___________________________
25· · Date· · · · · · · · · · ·DR. JOIE GREEN
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                  Exhibit I
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         IN   THE     UNITED          STATES            DISTRICT    COURT

                     FOR    THE       MIDDLE            DISTRICT

                            OF       PENNSYLVANIA

                            *    *    *   *    *    *    *    *

       B.L.,     a    minor,         by    *

       her    father,                      *

       LAWRENCE        LEVY,               *       Case       No.

       and    her     mother,              *       3:17-CV-1734

       BETTY     LOU    LEVY,              *

              Plaintiffs                   *

              vs.                          *

       MAHANOY        AREA                 *

       SCHOOL        DISTRICT,             *

              Defendant                    *

                            *    *    *   *    *    *    *    *



                                DEPOSITION               OF

                                          B.L.

                            October            24,      2018




       Any    reproduction                of    this         transcript   is

         prohibited             without            authorization       by

                      the    certifying                 agency.




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                                                                                 2
1                                 DEPOSITION

2                                       OF

3       B.L.,     taken      on    behalf        of    the       Defendant

4       herein,      pursuant          to    the      Rules          of    Civil

5       Procedure,        taken        before         me,    the

6       undersigned,          Samantha           Bruer,          a    Court

7       Reporter       and    Notary         Public         in       and    for

8       the   Commonwealth             of    Pennsylvania,                  at

9       Mahanoy      Area     School         District,               One

10      Golden     Bear      Drive,         Mahanoy         City,

11      Pennsylvania,             on   Wednesday,            October

12      24,   2018     beginning            at   9:16       a.m.

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                                                                         3
1                     A   P   P   E    A   R   A   N   C   E   S

2

3       ARLEIGH      P.    HELFER,          III,       ESQUIRE

4       Schnader,         Harrison,            Segal       &   Lewis,   LLP

5       1600    Market        Street

6       Suite     3600

7       Philadelphia,             PA       19103

8              COUNSEL        FOR      PLAINTIFFS

9

10      MICHAEL      I.    LEVIN,          ESQUIRE

11      Levin     Legal       Group,        P.C.

12      1800    Byberry        Road

13      Suite     1301

14      Huntingdon         Valley,          PA     19006

15             COUNSEL        FOR      DEFENDANT

16

17      ALSO    PRESENT:

18      DR.    JOI   L.    GREEN,          SUPERINTENDENT
19

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21

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                                                                       4
1                               I   N   D   E   X

2

3       WITNESS:       B.L.

4       EXAMINATION

5            By   Attorney       Levin                     7   -   95

6       DISCUSSION        AMONG     PARTIES              95    -   96

7       CERTIFICATE                                                97

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                                                                       5
1                            EXHIBIT       PAGE

2

3                                                        PAGE

4       NUMBER       DESCRIPTION                    IDENTIFIED

5       Defendant's         Exhibits:

6       1            Snapchat       Picture                15

7       3            Cheerleading         Rules            50

8       4            Student      Handbook        Page     47

9       11           Complaint                             83

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                                                                       6
1                           OBJECTION        PAGE

2

3       ATTORNEY                                              PAGE

4       Helfer                   48,   49,    54,   55,    57,    58,

5                                58,   59,    59,   62,    62,    64,

6                                64,   65,    67,   70,    73,    79,

7                                85,   86,    87,   90,    90,    90,

8                                             91,   92,    92,    93

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                                                                                  7
1                     S    T    I    P    U    L    A   T    I   O    N

2        -------------------------------------

3       (It    is   hereby          stipulated                and      agreed     by

4       and    between         counsel             for       the      respective

5       parties      that       reading,                signing,

6       sealing,         certification                   and       filing       are

7       not    waived.)

8        -------------------------------------

9                     P    R    O    C    E    E    D   I    N   G    S

10       -------------------------------------

11                                        B.L.,

12      CALLED      AS    A    WITNESS             IN    THE       FOLLOWING

13      PROCEEDING,            AND       HAVING          FIRST         BEEN     DULY

14      SWORN,      TESTIFIED             AND       SAID         AS    FOLLOWS:

15                                            ---

16                                  EXAMINATION

17                                            ---

18      BY    ATTORNEY         LEVIN:
19      Q.          You're          going          to   learn         a   lot

20      from    this      case.           This          is    called       a

21      deposition.

22                  Have       you       ever       given        a

23      deposition            before?

24      A.          No.

25      Q.          Okay.




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                                                                                         8
1                   One    of    the       things             that       you're

2       going       to    learn       is    you          have       to       give

3       verbal       responses.                 So       if    you       nod    your

4       head    yes       or    no,       I'm    going             to    remind

5       you    to    say       yes    or    no,          which          may    be

6       appropriate.

7                   Is    that       okay       with          you?

8       A.          Yes.

9       Q.          Another          thing       you'll             learn       is

10      that    utterances                like       uh-huh             and    uh-uh,

11      don't       go    well       in    the       transcript.                    So

12      if    you    make       such       utterances                   like    we

13      all    do,       I'll    remind          you          to    say       yes    or

14      no.

15                  Is    that       okay?

16      A.          Yeah.

17      Q.          And    thirdly,             only          one       person

18      should       be    talking          at       a    time          so    the
19      court       reporter          can       take          down

20      everything             they       say.           So    please          be

21      patient.           Wait       for       me       to    finish          my

22      question          before          you    give          your          next

23      ---    your       answer.           And          I'll       be       patient

24      and    wait       for    you       to    finish             your       answer

25      before       I    ask    my       next       question.




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                                                                             9
1                   If    your    lawyer       says       anything,

2       just       stop    talking       so    the   court

3       reporter          can    take    it    down.

4                   Okay?

5       A.          Okay.

6       Q.          All    right.

7                   Could       you    state       your    full       name

8       for    the      record,        please?

9       A.          B.L.       (states       name).

10      Q.          And    keep       your    voice       up       because

11      at    my    age    I    need    loud    voices.

12                  Okay?

13      A.          Okay.

14      Q.          And    where       do    you    reside?

15      What's       your       address?

16      A.                                                     .

17      Q.          Where?

18      A.          Mahanoy       City.
19      Q.          And    who    do    you    live       there       with?

20      A.          My    parents.

21      Q.          Anybody       else?

22      A.          My    brother       and    sister.

23      Q.          And    your       brother's       name          is?

24      A.          A.J.

25      Q.          I    didn't       hear    that.




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                                                                          10
1       A.        A.J.

2       Q.        And    how     does       he       spell       that?

3       A.        Like     his       full       name?

4       Q.        Yeah.

5       A.        His    full        name       is    (spells       name).

6       Q.        And    your        sister's             name    is?

7       A.        Courtney           Levy.

8       Q.        And    how     old       is    A.J.?

9       A.        Thirteen           (13).

10      Q.        And    how     old       is    Courtney?

11      A.        Twenty-two           (22),          I    think.

12      Q.        And    does        A.J.       go    to    school?

13      A.        Yes.

14      Q.        Where?

15      A.        Mahanoy.

16      Q.        And    is     he    in    elementary?

17      A.        Middle        school.

18      Q.        Middle        school.
19      A.        Or    like     the       high       school.

20                He's     in    eighth          grade.

21      Q.        And    Courtney           I    assume,

22      graduated?

23      A.        Yes.

24      Q.        I    represent           the       Mahanoy       Area

25      School     District          in    this       case.        That




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                                                                                  11
1       means       the    school          district's                my    client.

2                   If    you       don't       hear       any       questions

3       I    ask,    let       me    know       and    I'll          be    happy

4       to    repeat       it.        If    you       don't          understand

5       a    question,          let    me       know       that       and       I'll

6       be    happy       to    rephrase             it.        If    you

7       answer       a    question,             I'll       assume          that

8       you    both       heard       it    and       that       you

9       understood             it.

10                  Okay?

11      A.          Okay.

12      Q.          The    ---       we're       not       here       to    make

13      you    feel       uncomfortable                in       any       way    so

14      if    you    just       want       to    take       a    break          for

15      any    reason          at    all,       let    us       know       that.

16      And    we'll       be       happy       to    take       a    break.

17                  And    I    understand             from          your

18      Counsel,          that       you    have       to       leave       today
19      at    10:30.

20                  Is    that       correct?

21      A.          Yes.

22      Q.          And    why       do    you       have       to    leave?

23      A.          I    have       cross       country          districts.

24      And    we    have       to    eat       lunch       at       10:30.

25      Q.          Okay.




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                                                                            12
1                 Now,      you       testified         at    the

2       preliminary          adjunction              hearing      about          a

3       year    ago,    a    little            bit   more    than      a

4       year    ago.

5                 Do    you      remember            that?

6       A.        Yes.

7       Q.        And    if      I    recall         correctly,        you

8       testified       that         you       had   two

9       extracurricular                activities,

10      cheerleading             and    softball.

11                Do    you      still          play   softball?

12      A.        No.

13      Q.        When      did       you       stop   softball?

14      A.        About       maybe,            two,   three      years

15      ago.

16      Q.        So    you      didn't          try   out    for     the

17      softball       team       in,      I    think      the   ---       for

18      the    Spring       of    2017?
19      A.        I    don't         remember.

20      Q.        Well,       this         school      year      is   the

21      2018-2019       school          year.

22                Right?

23      A.        We're       in      now.

24      Q.        Excuse         me.

25      A.        So    then         no,    I    didn't.




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                                                                       13
1       Q.        What       grade       are    you    in    this

2       year?

3       A.        Eleventh          (11th).

4       Q.        So    in    the    2017-18          school    year,

5       you    were     in    tenth.

6                 Right?

7       A.        Yes.

8       Q.        Okay.

9                 When       does    softball          play?        When

10      is    their     season?

11      A.        It'll       like,       start       around

12      June-ish.            Like    the      practices       will    be

13      in    June.

14      Q.        And    when       are       the    games?

15      A.        They       would       be    in    like    July,

16      August.

17      Q.        So    the    high       school       softball

18      team    plays        during      the    summer       when
19      school     is    not    in    session.

20                Is    that       correct?

21      A.        I    wasn't       on    the       high    school

22      softball        team.

23      Q.        Were       you    on    the       junior    middle

24      school     softball          team?

25      A.        No.




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                                                                           14
1                   I    was    on    the    one    downtown.

2       Q.          So    the       softball       team    to      which

3       you    referred         in    your    testimony,             that

4       is    not    a    school      district          softball

5       team.

6                   Is    that       correct?

7       A.          Yes.

8       Q.          And    when       you    say    in    town,      was

9       it    sponsored         by    Mahanoy          City    or    by    an

10      organization            in    Mahanoy          City?

11                  Do    you       know?

12      A.          I'm    not       sure.

13      Q.          When       is    the    last    time      that    you

14      played       softball         for    that       team?

15      A.          I    don't       remember.

16      Q.          Was    it       when    you    were    in      ninth

17      grade?           When   you    were       in    eighth       grade?

18      Can    you       help   us    understand          when       you
19      last    played?

20      A.          I    ---    I    really       don't    remember.

21      Q.          The    Snap       ---    in    front      of    you    is

22      a    three       ring   binder.           It    has    what       we

23      call    exhibits.             Each    exhibit          is

24      separated          by   a    tab.     And       Exhibit       D-1,

25      that's       the    Snap      that    brings          us    all




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                                                                       15
1       together          this    morning;      right?

2                   Is    that    correct?

3                                       ---

4                                (Whereupon,             Defendant

5                                Exhibit       1,    Snapchat

6                                Picture,       was       marked     for

7                                identification.)

8                                       ---

9                                THE    WITNESS:

10                               Yes.

11      BY    ATTORNEY       LEVIN:

12      Q.          Okay.

13                  And    that's       you    in    the    glasses.

14      You're       ---    you    ---   not    in       the   glasses.

15      I    can't    ---.

16      A.          I'm    not    in    the    glasses.

17      Q.          Not    in    glasses.

18                  And    in    that    Snap       it   says    among
19      other       things,       quote,      fuck       softball,

20      end    of    quote.

21                  Do    you    see    that?

22      A.          Yes.

23      Q.          Okay.

24                  Now    this    Snap       you    took      and   sent

25      in    May    of    2017.




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                                                                   16
1                 Right?

2       A.        Yes.

3       Q.        So    you    were   in    ninth    grade.

4                 Right?

5       A.        I    think,    yeah.

6       Q.        Okay.

7                 And    did    you   try    out    for

8       softball       when    you    were    in    ninth    grade

9       before     this      Snap    was   taken?

10      A.        I    don't    know.

11                I    don't    remember.

12      Q.        Why    did    you   say,    quote,      fuck

13      softball,       end    of    quote,    in    this    Snap?

14                Do    you    remember?

15      A.        No,    I    don't   remember.

16      Q.        Okay.

17                Do    you    have   any    physical       or

18      mental     impairment         that    would     prevent
19      you    from    hearing       any   questions        that

20      I'm    asking?

21      A.        No.

22      Q.        Do    you    have   any    physical       or

23      mental     impairment         that    would     prevent

24      you    from    understanding          any    questions         I

25      ask?




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                                                                      17
1       A.        No.

2       Q.        Do    you    have       any    physical      or

3       mental       impression         that     would       prevent

4       you    from    giving       truthful          answers?

5       A.        No.

6       Q.        Are    you       taking       any    medication

7       that    would       prevent       you    from    hearing       or

8       understanding          any      questions?

9       A.        No.

10      Q.        Are    you       taking       any    medications

11      that    would       prevent       you    from    giving

12      truthful       answers?

13      A.        No.

14      Q.        What's       your       date    of    birth?

15      A.                     .

16      Q.        Did    you       look    at    any    documents

17      in    order    to    prepare       for    your

18      deposition          today?
19      A.        No.

20      Q.        Other       than      your     lawyer,      did    you

21      talk    to    anyone       to   prepare        for    this
22      deposition          today?

23      A.        No.

24      Q.        Have      you     ever    been       suspended      or

25      expelled       from    school?




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                                                                          18
1       A.          No.

2       Q.          Have       you    ever      been       disciplined

3       in    school,          like     detention          or    something

4       less    than       suspension           or    expulsion?

5       A.          Yes.

6       Q.          And    how       many      times?

7       A.          Two,       I   think.

8       Q.          And    what       kind      of    discipline         was

9       imposed?

10      A.          It    was      detentions.

11      Q.          And    what       grade         were    you   in   when

12      you    had       the    detentions?

13      A.          The    first         one    was    in    ninth

14      grade       I    think,       and     then    the       second   one

15      was    in       tenth.

16      Q.          And    what       were      you    given

17      detention          for     in    ninth       grade?

18      A.          For    being         on    my    phone.
19      Q.          During         school?

20      A.          Yeah.

21      Q.          Okay.

22                  And    who       imposed         the    detention?

23      A.          Mrs.       Pollack.

24      Q.          How    do      you    spell       her    name?

25      A.          P-O-L-L-A-C-K.




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                                                                                     19
1       Q.             And    is       she    a    teacher?

2       A.             Yes.

3       Q.             And    what       kind       of    detention             did

4       she       impose?

5       A.             What       do    you       mean?

6       Q.             What       did    you       have       to    do    for

7       detention?

8       A.             Oh,    we       just       like    ---       like       we

9       brought            our    own       work,       that       like,       we

10      had       to    do.

11      Q.             And    did       you       have    to       come    in       at

12      a    different            time?

13      A.             After       school.

14      Q.             Okay.

15                     So    it    was       an    after       school

16      detention.

17                     Approximately                how       long       did    you

18      have       to      serve       in    detention             for    that?
19      A.             I    was    there          for    ---       from    2:30

20      to    4:30-ish.

21      Q.             And    in       tenth       grade,          what    were

22      you       given       detention            for?

23      A.             Plagiarism.

24      Q.             And    what       class          did    you       engage

25      in    a    plagiarism?




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                                                                             20
1       A.          Mrs.      Pollack.

2       Q.          Same      teacher?

3       A.          Yes.

4       Q.          And      what    does       she    teach?

5       A.          I    don't      know    what       the   name       of

6       her    class         was.     I    think      it    was    social

7       studies.

8       Q.          Okay.

9                   And      what    type       of    detention?

10      Was    it    the      same    thing       after      school

11      detention?

12      A.          Yes.

13      Q.          Same      couple       of    hours?

14      A.          Yes.

15      Q.          And      what    did    you       have   to    do    in

16      the    detention            that    you      served       for

17      tenth       grade?

18      A.          We    just      brought          our   own    work
19      and    did      it    there.

20      Q.          And      the    cross       country      team,

21      when    did      you    start       being      in    cross

22      country?

23      A.          At    the      beginning          of   the    school

24      year.

25      Q.          This      school       year?




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                                                                           21
1       A.        Yes.

2       Q.        So    in    11th          grade?

3       A.        Yes.

4       Q.        Is    that       a    varsity         or   junior

5       varsity      that     you're          on?

6       A.        Varsity.

7       Q.        And    is    ---          some    school

8       districts       separate             them       by   the    boys

9       cross     country      and          girls       cross      country.

10                Does       the       school       district        do

11      that?

12      A.        Yes.

13      Q.        And    so    you          are    on   girls      cross

14      country      varsity.

15                Is    that       correct?

16      A.        Yes.

17      Q.        And    what          do    you    run?      Is    there

18      a    specific     race         like       in    track      and
19      field?

20      A.        Meets       and       invitationals.

21      Q.        And    this          cross       country      team     is

22      sponsored       by    the       school          district?

23      A.        Yes.

24      Q.        And    where          are       you   going      at

25      approximately          10:30          this       morning?




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                                                                            22
1       Where's      it   being       held?

2       A.        Bethlehem.

3       Q.        And     is    that    a    regional            event      or

4       are   you    just      competing          against          one

5       other     school       district?

6       A.        It's     regional.

7       Q.        Do    they     have       things          like

8       starters       and     substitutes             on    cross

9       country      or   does    everybody                run   every

10      race?       How's      that    work?

11      A.        Everybody           runs       every       race     until

12      you   get    to   like    leagues.

13      Q.        Okay.

14                And     what    races          do    you

15      anticipate        are    going       to       be    held      today?

16      A.        It's     going       to    be       like    boys     and

17      girls     varsity       races.

18      Q.        Was     ---    is    it    a    course?
19      A.        Yes.

20      Q.        And     how    long       is    the       course?

21      A.        Three        miles.

22      Q.        And     so    it's    just          one    race,

23      three-mile        race?

24      A.        Yes.

25      Q.        And     how    many       girls       are      on   the




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                                                                       23
1       varsity       team?

2       A.        There's        seven    of    us,    I    think.

3       Q.        And    how     many    boys    are       on   the

4       boys    varsity        team?     Do    you    know?

5       A.        I    don't     know.

6       Q.        Do    you    ever     have    any    combined

7       meets     with    the    boys,    other       than       what

8       you    described        today?

9       A.        Boys     run    at    like    ---    like,      five

10      minutes       before     the    girls    do.        So    we

11      don't     run    together.

12      Q.        So    the    same     course.        Boys      leave

13      early     and    the    girls    ---

14      A.        Yes.

15      Q.        ---    leave     five    minutes          later?

16      A.        Yes.

17      Q.        Okay.

18                Do    you    travel     on    the    same      bus
19      together?

20      A.        Yes.

21      Q.        Are    there     any    other

22      extracurricular           activities          that       you

23      take    part     in    other    than    cheerleading

24      and    cross     country       this    year?

25      A.        No.




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                                                                                24
1       Q.         Are      there          any    other

2       extracurricular                activities             that       you

3       took      part      in    last      year       when    you       were

4       in   tenth       grade,        other       than

5       cheerleading?

6       A.         I    don't         think       so.

7       Q.         You      testified             that       you    were       in

8       Honor      Society.

9                  Are      you       in    Honor       Society          still?

10      A.         Not      National             Honor       Society.

11                 I    was      in    National             Junior       Honor

12      Society        in    middle         school.

13      Q.         And      when       did       you    get    accepted

14      to   National            Junior      Honor          Society?

15      A.         I    think         it    was    seventh          grade.

16      Q.         And      do    you       know       what    you       had    to

17      do   to    get      on    National         Junior          Honor

18      Society?
19      A.         I    think         you    had       to    have    a

20      certain,         like      average,            a    certain       grade

21      point      average.

22      Q.         Is    that         all?

23      A.         Yes.

24      Q.         Okay.

25                 And      do    you       know       what    that       grade




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                                                                             25
1       point     average       was       in    seventh      grade

2       that    you     had    to    have?

3       A.        I    don't    remember.

4       Q.        Do    you    remember          whether          they

5       looked     at    your       sixth       grade      ---    your

6       sixth     grade       grades       and    marks      to

7       determine        whether          you    qualified         in

8       seventh       grade     or    did       they    look      at

9       seventh       grade     marks?

10      A.        I    think    it       was    maybe       your       sixth

11      grade     ---    I'm    not       sure.

12      Q.        And    what       did    you    have       to    do,       if

13      anything,        to    be    in    National         Junior

14      Honor     Society?

15      A.        I'm    pretty          sure    you       had    to    do

16      community        service          hours.

17      Q.        And    did    you       do    community

18      service       hours?
19      A.        Yes.

20      Q.        And    what       did    you    do       with

21      community        service          in?

22      A.        I    worked       BINGO       for    a    firehouse.

23      Q.        I    didn't       hear       that.

24                BINGO       for    a    firehouse          did       you

25      say?




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                                                                           26
1       A.          Yeah.

2       Q.          Okay.

3                   And       which       firehouse?

4       A.          The       West    End.

5       Q.          And       how    many    hours       did    you    have

6       to    do    community            service?

7       A.          I    think       it    was    six.

8       Q.          And       did    you    do    those       six    hours

9       when       you    were      in    seventh       grade?

10      A.          Yes.

11      Q.          Did       you    do    anything       in    eighth

12      grade       for       National      Junior       Honor

13      Society?

14      A.          I    think       you    had    to    do    the

15      community             service      hours    again.

16      Q.          Were       you    in    National          Junior

17      Honor       Society         in    eighth    grade?

18      A.          Yes.
19      Q.          And       was    that    based,       to    your

20      knowledge,             on   your    grades       from       seventh

21      grade?

22      A.          I    would       assume.

23      Q.          And       in    eighth       grade,       did    you

24      have       to    do    anything      more       in    order    to

25      get    into       National         Junior       Honor       Society




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                                                                            27
1       other       than      have       certain        grades?

2       A.          No.

3                   I    think      once       you      made   it,    you

4       had    to    do    community           service         again.

5       Q.          Okay.

6                   And    how      about          ninth     grade?

7       Same    thing?

8       A.          Ninth         and    tenth       grade     we    didn't

9       have,       like      a    society.

10      Q.          All    right.             So    ---?

11      A.          Eleventh            (11th)       and     12th    grade

12      was    National            Honor      Society.

13      Q.          So    seventh         and       eighth     grade      you

14      were    in      National          Junior        Honor    Society.

15      Ninth       and    tenth         grade      there      was   no

16      Junior       Honor         Society         or   National      Honor

17      Society.

18                  Is    that      correct?
19      A.          Yes.

20      Q.          And    11th         and    12th      grade,      there

21      is    National            Honor    Society?

22      A.          Yes.

23      Q.          Are    you      in    National           Honor

24      Society         now       that    you're        in   11th    grade?

25      A.          No.




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                                                                         28
1       Q.          Why    not?

2       A.          I    don't    know.        They       don't    tell

3       us    why.

4       Q.          Okay.

5                   Do    you    know       what    the    conditions

6       are    in    order      to    get    into    National

7       Honor       Society?

8       A.          No.

9       Q.          How    are    your       grades       this    year?

10      A.          They're       good.

11      Q.          And    what      are     your    major

12      subjects?

13                  You're       looking       at    me    like    I

14      don't       know    what      I'm    talking       about.        So

15      let    me    explain.

16                  When    I    was    a    kid    long    ago,       they

17      had    major       subjects         and    minor    subjects.

18      Gym    and      health       were    considered          minor,
19      for    example.          History,          English,

20      Science,         were    considered          majors.           And

21      the    major       subjects,         you    went    to    every

22      day    of    the    week.

23                  So    the    way    you're       looking       at

24      me,    it    sounds      like       they    don't    do

25      majors       and    minors      anymore?




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                                                                        29
1       A.        No.

2                 We    have    the       same      classes      out,

3       like    all    week.

4       Q.        Okay.

5       A.        All    year       around.

6       Q.        And    what       are    your      classes      this

7       year?        What    are    your       subjects?

8       A.        History,          accounting,           chemistry,

9       Spanish       III,    Honors       English,          algebra

10      III    and    the    YES    program.

11      Q.        The    what,       program?

12      A.        The    YES    program.

13      Q.        And    what's       the      YES    program?

14      A.        I'm    not    sure.

15                We    had    to    take      it    this    year.

16      Q.        Did    it    start       yet?

17      A.        Yes.

18                It    started       at    the      beginning       of
19      the    year.

20      Q.        Well,       why    aren't         you   sure    what

21      the    YES    program       is    if    it    started?

22      A.        I    think    we    just,         like,    look    at

23      careers       and    stuff.        And       then,    like    it

24      gets    us    ready    for       our    senior       year    of

25      high    school.




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                                                                               30
1       Q.          Okay.

2                   It's       still       early       in    the    school

3       year.           Have    you       gotten      a    report    card

4       yet?

5       A.          No.

6       Q.          Probably             early    in       November       or

7       so?        The       first       report    period?

8       A.          The       marking       period          ends    on

9       Tuesday.

10      Q.          Okay.

11                  And       then       what    is    it,    a    week    or

12      two    later          you'll       get    your      report

13      cards?

14      A.          I    think       we    get    it       that    week.

15      Q.          Okay.

16                  What       do    you    think          you're    going

17      to    get       in    history?

18      A.          Like       high       90's.
19      Q.          Is       that    an    A?     Or       don't    they       do

20      A,    B,    C    or    D?

21      A.          They       don't       do    A,    B,    C.

22      Q.          Accounting,             what       do    you    think

23      you're          going       to    get?

24      A.          High       90's.

25      Q.          Chemistry,             what       do    you    think




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                                                                       31
1       you're       going     to   get?

2       A.        Low    90's.

3       Q.        Spanish,          what    do    you    think

4       you're       going     to   get?

5       A.        High     90's.

6       Q.        Honors       English,          what    do   you

7       think     you're       going      to    get?

8       A.        High     80's.

9       Q.        Algebra,          what    do    you    think

10      you're       going     to   get?

11      A.        High     80's.

12      Q.        And    do    they       even    give    you      a

13      grade     for    YES    program?

14      A.        Yeah.

15      Q.        And    what       do    you    think    you'll

16      get    there?

17      A.        High     90's.

18      Q.        Okay.
19                Last     year      when       you   were    in

20      tenth     grade,       what      subjects       did   you

21      take    in    tenth     grade?

22      A.        I   don't        ---.     It    was    math,

23      English,        history,         intro    to    accounting.

24      Q.        I   didn't        hear    that?

25      A.        Intro       to    accounting.




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                                                                         32
1       Q.          Okay.

2       A.          Biology,       computer         apps     and    gym

3       ---    and      Spanish.        I   think        that's    what

4       I    had.

5       Q.          And    what    was      your    grade,        your

6       final       grade    in    Spanish,         do    you

7       remember?

8       A.          I   don't     remember.           It    was    like

9       high    90's.        I    don't     know     the

10      exact       ---.

11      Q.          Math,    what       was    your      final

12      grade?

13      A.          Low    90's    maybe.

14      Q.          English,       what       was   your     final

15      grade?

16      A.          I   don't     know.

17      Q.          History,       what       was   your     final

18      grade?
19      A.          Maybe    low    90's.

20      Q.          Intro    to    accounting,             what    was

21      your    final       grade?

22      A.          High    90's.

23      Q.          Biology,       what       was   your     final

24      grade?

25      A.          Low    90's,    I    guess.




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                                                                          33
1       Q.          Computer          apps,    what      was    your

2       final       grade?

3       A.          High      90's.

4       Q.          And    gym,       what    was    your      final

5       grade?

6       A.          100.

7       Q.          Can    we    agree       that    the      school

8       district's          termination            of   you    from       the

9       cheerleading             squad,      did    not    interfere

10      with       your    academic         performance?

11      A.          I   would        assume    not.

12      Q.          Now    the       ---    this    picture,        which

13      has    been       marked      as    D-1,    why    did      you

14      send       that    via    Snap?

15      A.          I   was     mad.

16      Q.          What      were     you    mad    about?

17      A.          A   lot     of    stuff.

18      Q.          And    what       are    those      things      that
19      you    were       mad    about?

20      A.          I   don't        remember.

21                  I   don't        remember       about      softball

22      or    at    school.

23      Q.          You    don't       remember         any    of   the

24      details?

25      A.          No.




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                                                                              34
1       Q.        Whose         idea       was       it    to    take    that

2       picture       on    Snap         and    send       it    out?

3       A.        Mine,         I    guess.

4       Q.        Okay.

5                 And      who's          the    other          girl    in

6       glasses,       what         is    her    name?

7       A.        D.

8       Q.        I    didn't            hear    that.

9       A.        D.

10      Q.        And      how       long       have       you    and    D.

11      been    friends?

12      A.        Since         we       were    born.

13      Q.        And      does          she    go    to    school       here?

14      A.        Yes.

15      Q.        And      is       she    in    the       same    grade?

16      A.        Yes.

17      Q.        Is    she         in    any    extracurricular

18      activities          this         year?
19      A.        Cheer.

20      Q.        Was      she       ---       was    D.    in    cheer

21      last    year,       the      2017-18          school       year?

22      A.        No.

23      Q.        And      does          cheer       have       both

24      varsity       and    junior            varsity?

25      A.        Yes.




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                                                                              35
1       Q.          Is    D.    on   the    varsity          team       or

2       the    junior       varsity?

3       A.          Varsity.

4       Q.          And    does      the    cheerleading                squad

5       still       require       people         to    try    out?

6       A.          Yes.

7       Q.          So    D.    tried      out    in    the       spring

8       of    ---    when      you    and    D.       were    in    tenth

9       grade?

10      A.          It    was    like      May    of    last       school

11      year    school         year.        So    yes.

12      Q.          So    the    tryouts         are    generally             in

13      May    of    the    preceding            year.        So    if    you

14      want    to    be    in    cheerleading               in    11th

15      grade,       you    try      out    in    May    of       10th

16      grade.

17                  Right?

18      A.          Yes.
19      Q.          Okay.

20                  And    when      ---    who       were    the

21      judges       when      you    tried       out    in       May    of

22      2018?

23      A.          We    didn't      know       their       names.

24      Q.          How    many      judges       were       there?

25      A.          Around       like      six    or    seven.




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                                                                                 36
1       Q.          And    you       don't       know       who      any    of

2       those       six    or    seven       people            were?

3       A.          No.

4                   We    don't       get       told      their        names.

5       Q.          Are    the       coaches         judges          for    the

6       tryouts?

7       A.          No.

8       Q.          Are    the       coaches         in     the      ---?

9       Well,       where       are    the      tryouts          conducted?

10      A.          Their       held       in    the      gym,       but    we

11      all    go    in    the       locker      room          until,       like

12      our    specific          number         is    called.

13      Q.          All    right.

14                  Were    the       coaches          in      the     locker

15      room    during          the    tryouts?

16      A.          No.     They       were       in      the     gym.

17      Q.          So    the    coaches          are       in    the      gym

18      during       the    tryouts,            but       as    far    as    you
19      know,       they    aren't         ---       do    not

20      participate             in    judging.

21                  Is    that       correct?

22      A.          Yes.

23      Q.          Did    you       believe         that        you    were

24      treated       fairly          in   the       tryouts          during

25      May    of    2018?




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                                                                         37
1       A.        Yes.

2       Q.        Have       you    applied          to    any

3       colleges        yet    or   is    it    too       early    for

4       you?

5       A.        Too       early.

6       Q.        So    you       have    neither          been

7       accepted        nor    rejected         by    any      colleges.

8                 Is    that       correct?

9       A.        Yes.

10      Q.        Were       your       grades       last      year

11      similar        to   what    they       were       when    you

12      were    in     tenth      grade?

13      A.        Wait.           What?

14      Q.        Excuse          me.     I    misspoke.

15                Are       your    grades          last    year

16      similar        to   what    they       were       in   ninth

17      grade?

18      A.        I    think.
19      Q.        Have       you    had       any    jobs      since

20      being     in    high      school?

21      A.        I    had    a    babysitting             job.

22      Q.        When?

23      A.        Over       the    summer.

24      Q.        Of    what       year?

25      A.        2018.




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                                                                                 38
1       Q.          Any    other          job    since         being       in

2       high       school     other        than       the       babysitting

3       job    you      had   in     the    summer             of    2018?

4       A.          No.

5       Q.          Tell      me     about       cheerleading               in

6       the    sense      does       ---    as       to    whether         it

7       has    a    regular        season        or       is    it    an   all

8       year       around     activity?

9       A.          Well,       it    ---       we    would         cheer       for

10      football,         basketball             and       wrestling,

11      but    after      wrestling             was       over,       it   was

12      like,       done,     until        the       next       year.

13      Q.          And    approximately                  when       is    the

14      football         season?

15      A.          The    beginning             of    the      year.

16      Q.          Until       when?

17      A.          The    end       of    October.

18      Q.          Does      it     go    into       November            and
19      like,       Thanksgiving?

20      A.          Not    Thanksgiving.

21                  I   think        it    would       go      into

22      November         if   we     make       it    to       playoffs         or

23      anything.

24      Q.          All    right.

25                  And    do      you     know       whether         your




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                                                                                39
1       team    made    it    into       the         playoffs          or   will

2       make    it    into    the       playoffs               this    year?

3       A.        I'm    not      sure.

4       Q.        Basketball,               when          is    that

5       season?

6       A.        December.

7       Q.        Until?

8       A.        Like      it    starts             in    December

9       until     like,      the    beginning                  of    February.

10      Q.        And    does      it       go       into       March    if

11      the    team    makes       it    into         the       playoffs?

12                Do    you      know?

13      A.        I    don't      think          so.

14      Q.        And    wrestling,                  when       is   that

15      season?

16      A.        I    think      it    starts             in    January.

17      Q.        And    how      long       does          it    go?

18      A.        Some      ---    like          a    month.           Like,
19      it    would    end    the       end      of       February,         I

20      would     assume.

21      Q.        Wrestling            is    an       indoor         sport.

22                Right?

23      A.        Yes.

24      Q.        And    where         are       the       wrestling

25      meets?        Are    they       in    ---         when       they're




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                                                                           40
1       home    meets,      are       they    here       in    the    high

2       school?

3       A.          Yeah.        They're       in       the    high

4       school      gym.

5       Q.          Do    the    cheerleaders             take      part

6       in    any   community          parades?

7       A.          Yes.

8       Q.          And    what       parades       does       cheer

9       take    part      in?

10      A.          Homecoming             parade       and    I   think

11      the    other      one    would       be    the    Memorial

12      Day.

13      Q.          And    who    sponsors          the       Memorial

14      Day    Parade?

15                  Do    you    know?

16      A.          I    don't    know.

17      Q.          Is    that    a    city    event,          Mahanoy

18      City?
19      A.          I    think.        I    don't       know.

20      Q.          All    right.

21                  Any    other       parades          other      than

22      homecoming         and    Memorial          Day?

23      A.          Not    anymore          that    I    remember.

24      Q.          Halloween?

25      A.          No.




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                                                                             41
1       Q.        Do    you          have    Halloween             Parades

2       up    here?

3       A.        There             is,    but    we    don't,       like

4       cheer     in    it.

5       Q.        Okay.

6                 In    addition             to    the       two    parades,

7       are    there        any       other       community         events

8       that    the     cheerleading                squad       goes      to?

9       A.        I    don't          think       so.

10      Q.        When          is    practice          during       the

11      football        season,             for    the       cheerleading

12      squad?

13      A.        Well,             she    schedules          them    like

14      whenever        she          has    free    time,       Mrs.

15      Luchetta        does.              But    normally,         it    would

16      be    held     on       a    Tuesday       or    a    Thursday.

17      Q.        So    do          you    normally          have    two

18      practices           a       week    during       football
19      season?

20      A.        When          we    can.        It's       hard    to

21      during       school           because       of       volleyball.

22      Like    it     gets          in    the    way.

23      Q.        What          ball?

24                I    didn't             hear    you.

25      A.        Volleyball.




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                                                                              42
1       Q.          Okay.

2       A.          And       it    gets    in    the    way.       So

3       she'll          just       like,    reschedule         them.

4       Q.          So       the    general       rule    is    two

5       times       a    week,       unless       there's      a

6       conflict             somewhere.           And   then       it    will

7       get    rescheduled             for    some      other       time.

8                   Is       that    accurate?

9       A.          Normally,             yes.

10      Q.          How       about       basketball          season?

11      Same    thing?

12      A.          I    think.

13      Q.          How       about       wrestling       season,

14      which       overlaps          from    what      you've          told

15      me,    with          basketball;          right?

16      A.          We       would    learn       stuff       for

17      wrestling             at    like    practices         during

18      basketball             season.
19      Q.          Okay.

20      A.          Like       we    do    the    same    cheers.

21      Q.          And       well    how    about       practices?

22      Do    ---       do    they    try    to    have    two      a    week?

23      A.          I    would       assume       they    would         try

24      to.

25      Q.          And       once    wrestling          is    over,      are




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                                                                                   43
1       there       any       further      practices                the    rest

2       of    the    year?

3       A.          No.        I    don't       think         so.

4       Q.          What       is       done    to    prepare         for      the

5       Memorial          Day      Parade       if       anything?

6                   Is    anything             done      to    prepare         for

7       the    Memorial            Day    Parade?

8       A.          No.        'Cause          during         the    parade,

9       normally          we    just      do    a    ---       like       we   go

10      with    the       band      and    either          we'll          do   a

11      dance       or    we'll         just    do       like,       certain

12      moves.

13      Q.          When       you       say    certain         moves,

14      what    do       you    mean?

15      A.          We'll          do    like    a    pattern.

16      They'll          go    like,      each       and       every       other

17      person       would         like    go       up    or    something,

18      and    then       the      other       one       would       go    down.
19      And    that's          basically            what       we    would         do.

20      Q.          Okay.

21                  So    you       don't       need      much       more

22      practice          for      that?

23      A.          No.

24      Q.          Okay.

25                  How       about       during         the    summers?




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                                                                               44
1       Are    there       any    activities               that       the

2       cheerleading             squad       takes         part       in?

3       A.        Cheer         camp,       but       that's         it.

4       Q.        And      what       is    cheer          camp?

5       A.        Varsity         would          go    to    a    certain

6       school       and    just       learn         cheers.

7       Q.        And      which       school          do    you      go    to?

8       A.        I   think       this          year       was    the      first

9       year    that       we    didn't.             We    went       to

10      Shenandoah's             School.

11      Q.        And      is    that       a    required

12      activity,          that       you    go      to    the       cheer

13      camp?

14      A.        It's      not.           Like       if    you      have

15      something          other       ---      like       something

16      else    to    do,       you    can      do    that       I    guess.

17      Q.        And      when       is    the       cross       country

18      season?        When       does       it      start       and       end?
19      A.        Practices            start          in    the      summer,

20      I    think.

21      Q.        And      when       does       the       season       end?

22      A.        I'm      not    sure.

23                Around         like,          maybe       like      the

24      beginning          of    June       ---      or    November.

25      Q.        Okay.




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                                                                               45
1                   So    you're          still       in    the    midst       of

2       the    season          and       it's    not    come      to    an    end

3       yet?

4       A.          Yes.

5       Q.          Okay.

6                   And    you       think       it    ends       some       time

7       next    month?

8       A.          Maybe.           I    don't       know.

9       Q.          Does       cheerleading                ever    engage

10      in    any    activities             on    a    Saturday,

11      unless       Memorial             ---    well,      Memorial          Day

12      would       be    on    Monday?

13      A.          I    don't       think       so.

14      Q.          Homecoming,             Friday          night

15      usually?

16      A.          Yeah.

17      Q.          Does       cheerleading                engage       in    any

18      activities             on    a    Sunday?
19      A.          No.

20      Q.          Where       was       the    picture          in

21      Exhibit          D-1    taken?

22      A.          The    Cocoa          Hut.

23      Q.          And    where's          that       located?

24      A.          In    Mahanoy          City.

25      Q.          And    how       do    you    actually             get    the




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                                                                               46
1       picture       onto    Snap?

2                 Can    you      tell          me    the       process?

3       A.        You    would         just          like,       take    it

4       like    ---    there's         like          a    button       and    you

5       just    take    the       photo.

6       Q.        So    do   you       have          to    go    into    the

7       Snap    application?

8       A.        Yes.

9       Q.        And    when      you          go    into       the    Snap

10      application,          the      camera             function       of

11      the    cell    phone       works.

12                Is    that      correct?

13      A.        Yes.

14      Q.        And    there's            a    button          on    the

15      screen     that      you    just         push?

16      A.        Yes.

17      Q.        Okay.

18                And    how      do    you          get    the       words
19      that    appear       on    that         picture          into    the

20      Snap?

21      A.        You    type      it.

22      Q.        Okay.

23                So    there's         a       place       in    the    app

24      for    words    to    be    added            to    the    picture.

25                Is    that      correct?




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                                                                          47
1       A.        Yes.

2       Q.        Okay.

3                 Who       typed         the    words?       You    or

4       your    friend?

5       A.        I    think         I    did.

6       Q.        Please         take       a    look    at   Exhibit

7       D-4.

8                                          ---

9                                (Whereupon,             Defendant

10                               Exhibit          4,    Student

11                               Handbook          Page,      was

12                               marked          for

13                               identification.)

14                                         ---

15      BY   ATTORNEY        LEVIN:

16      Q.        It's       behind         tab    four.

17                Am    I    correct            that    the   school

18      district       distributes               student      handbooks
19      every     year?

20      A.        Yes.

21      Q.        And       am   I       correct       that   the

22      student       handbooks            contain       rules      of

23      conduct?

24      A.        I    guess.

25      Q.        Do    you      get       that    handbook         every




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                                                                          48
1       year,     since      you've    been       in    high

2       school?

3       A.        Yes.

4       Q.        And    do    you    remember          seeing       this

5       page    from    the    handbook          last    year?

6                              ATTORNEY          HELFER:

7                              Object       to    form.

8                              Could       you    be    more

9                 specific          about    what       time    during

10                the    year?

11                             ATTORNEY          LEVIN:

12                             I'll    be    happy       to    ask    her

13                that.

14                             THE    WITNESS

15                             I    don't    remember.

16      BY    ATTORNEY       LEVIN:

17      Q.        You    don't       remember          one    way    or

18      the    other?
19      A.        I    don't       know.

20      Q.        They     usually         distribute          the

21      handbooks       at    the    beginning          of    the

22      school     year.

23                Is    that       correct?

24      A.        Yes.

25      Q.        And    as    far    as    you    remember,          you




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                                                                       49
1       would       have      gotten     a    handbook      at   the

2       beginning          of    ninth       grade.

3                   Right?

4       A.          Yes.

5       Q.          And    as    far    as    you    remember,      you

6       would       have      gotten     a    handbook      at   the

7       beginning          of    tenth       grade.

8                   Right?

9       A.          Yes.

10      Q.          And    as    far    as    you    remember,      you

11      got    another          handbook       this   year.

12                  Right?

13      A.          Yes.

14      Q.          And    the    handbooks,          with    respect

15      to    the    rules       for   behavior,       basically

16      contain         the     same   rules       every    year.

17                  Right?

18      A.          I    guess.
19      Q.          You    don't       remember       there      being

20      any    differences;            do     you?

21      A.          No.

22                               ATTORNEY          HELFER:

23                               Object       to    form.

24      BY    ATTORNEY          LEVIN:

25      Q.          Do    you    ever    remember       reading




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                                                                            50
1       this    paragraph            that       is   numbered        eight,

2       personal         conduct,          before       looking       at    it

3       just    now?

4       A.          No.

5       Q.          Please          take    a    look    at    Exhibit

6       D-3,    which      is       behind       tab    three.

7                                          ---

8                                   (Whereupon,          Defendant

9                                   Exhibit       3,    Cheerleading

10                                  Rules,       was    marked       for

11                                  identification.)

12                                         ---

13      BY    ATTORNEY         LEVIN:

14      Q.          Those          are   cheerleading           rules.

15                  Do    you       remember         getting        them?

16      A.          I    don't       remember.

17      Q.          Are    you       denying         that     you    ever

18      got    those      before?
19      A.          No.        I    don't       remember       them.

20      Q.          Okay.

21                  Is    it       possible       you    got    them       and

22      you    just      don't       remember?

23      A.          Yes.

24      Q.          Did    you       ever       read    them    before?

25      Do    you   know?




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                                                                        51
1       A.        I    don't        remember.

2       Q.        The    rules        contain         attendance

3       rules.        Take      a   look    and    read     it.     And

4       then    tell    me      when    you're        finished

5       reading.        I    have      some     questions         for

6       you.

7                                      ---

8       (WHEREUPON,          WITNESS        COMPLIES.)

9                                      ---

10      BY    ATTORNEY       LEVIN:

11      Q.        Did    you        have    a   chance     to   read

12      them?

13      A.        Yes.

14      Q.        Do    you     understand            them?

15      A.        Yes.

16      Q.        Do    you     think       they're

17      reasonable?

18      A.        Yes.
19      Q.        Take      a   look       at   the    academic

20      policy     rules.           Read    them      to   yourself

21      and    tell    me    when      you're      finished.

22                                     ---

23      (WHEREUPON,          WITNESS        COMPLIES.)

24                                     ---

25                              THE    WITNESS:




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                                                                       52
1                              I'm    done.

2       BY    ATTORNEY      LEVIN:

3       Q.        Did    you    have    a    chance       to    read

4       them?

5       A.        Yes.

6       Q.        Did    you    understand          them?

7       A.        Yes.

8       Q.        Do    you    think    they're          reasonable

9       and    appropriate?

10      A.        Yes.

11      Q.        Do    you    know    if    cheerleading

12      falls     under     the   PIAA      rules?

13      A.        I'm    not    sure.

14      Q.        Do    you    know    what       PIAA    is?

15      A.        No.

16      Q.        Did    you    ever    hear       of

17      Pennsylvania           Interscholastic            Athletic

18      Association?
19      A.        I    think    that's       what,       like    the

20      sports     are    in.

21      Q.        Okay.

22      A.        Like     football         and    basketball.

23      Q.        But    you've       never       heard    that

24      they    have     any    jurisdiction            over

25      cheerleading?




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                                                                        53
1       A.        No.

2       Q.        Okay.

3                 Take      a    look    at    the   ---.        Read

4       the    rules    under       uniforms.            Tell    me

5       when    you're       finished         then.       And    then

6       go    onto    the    second      page       of   the

7       exhibit.

8                                       ---

9       (WHEREUPON,          WITNESS         COMPLIES.)

10                                      ---

11      BY    ATTORNEY       LEVIN:

12      Q.        Did    you      read       the   rules

13      pertaining          to   uniforms?

14      A.        Yes.

15      Q.        Did    you      understand         them?

16      A.        Yes.

17      Q.        Do    you      think       they're      reasonable

18      and    appropriate?
19      A.        Yes.

20      Q.        Please         take    a    look   at    the    rules

21      under     sportsmanship              and

22      responsibility,             slash,         fundraising.

23      And    tell    me    when    you've         finished

24      reading.

25                                      ---




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                                                                       54
1       (WHEREUPON,         WITNESS        COMPLIES.)

2                                     ---

3       BY   ATTORNEY       LEVIN:

4       Q.        Did    you    finish       reading?

5       A.        Yes.

6       Q.        Do    you    understand          what    the

7       rules     say?

8       A.        Yes.

9       Q.        Do    you    think       those       rules    are

10      reasonable        and    appropriate?

11                             ATTORNEY          HELFER:

12                             I'm    going       to    object    to

13                form,       but    you    can    answer.

14      BY   ATTORNEY       LEVIN:

15      Q.        Do    you    think       those       rules    are

16      reasonable        and    appropriate?

17      A.        I    guess.        Yes.

18      Q.        And    the    last       set    of    rules    are
19      under     the    heading      of    technology.

20      Please     read     those     and    I'll       ask    you

21      some    questions        when      you    finish

22      reading.

23                                    ---

24      (WHEREUPON,         WITNESS        COMPLIES.)

25                                    ---




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                                                                       55
1       BY   ATTORNEY       LEVIN:

2       Q.        Did    you       have   a    chance     to    read

3       those     rules?

4       A.        Yes.

5       Q.        Did    you       understand        them?

6       A.        Somewhat.

7       Q.        Excuse       me?

8       A.        Somewhat.

9       Q.        Okay.

10                Do    you    think      those      rules      are

11      reasonable        and      appropriate?

12                             ATTORNEY         HELFER:

13                             I'll       object     to   form

14                again,       but    you      can   answer.

15                             THE    WITNESS:

16                             I    guess.

17      BY   ATTORNEY       LEVIN:

18      Q.        On    the    second         page   of   that    ---.
19                                    ---

20      (WHEREUPON,         THERE     WAS      A   BRIEF

21      INTERRUPTION          IN    THE    PROCEEDINGS.)

22                                    ---

23                             ATTORNEY         LEVIN:

24                             Let    the      record     reflect

25                that     the      superintendent             just




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                                                                   56
1                 came       into    the   deposition.

2                              Do    you    know    everybody?

3                              DR.    GREEN:

4                              Yes.        Well,    I   don't

5                 know       ---.

6                              ATTORNEY       HELFER:

7                              Arleigh       Helfer.

8                              DR.    GREEN:

9                              Hi.     Mrs.    Green.

10                             ATTORNEY       LEVIN:

11                             He's    representing         the

12                Plaintiffs,          along       with   the

13                ACLU.        He's    from    a    different

14                firm.

15                             DR.    GREEN:

16                             Okay.

17                             ATTORNEY       LEVIN:

18                             Okay.
19      BY    ATTORNEY       LEVIN:

20      Q.        Under       the    sportsmanship         rules,

21      the    first     bullet       point    says,      please

22      have    respect        for    your    school,      coaches,

23      teachers,        other       cheerleaders         and

24      teams,     end    of    quote.

25                Did    I    read    that    sentence




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                                                                   57
1       correctly?

2       A.        Yes.

3       Q.        Do    you     understand       what    that

4       says?

5       A.        I    guess.

6       Q.        Do    you     think    that's    reasonable

7       and    appropriate?

8       A.        I    guess.

9       Q.        The      next     sentence     says,

10      remember       you      are   respecting       your

11      school       ---   representing         your    school

12      when    at    games,        fundraisers     and    other

13      events.

14                Did      I   read    that   correctly?

15      A.        Yes.

16      Q.        Do    you     understand       that    rule?

17      A.        Yes.

18      Q.        Do    you     think    that    that's
19      accurate?

20                              ATTORNEY       HELFER:

21                              I'll    object    to    form.

22                              You    can    answer.

23                              THE    WITNESS:

24                              I   guess.

25      BY    ATTORNEY         LEVIN:




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                                                                     58
1       Q.        Then       the   next     sentence      says,

2       quote,     good      sportsmanship         will       be

3       enforced.         This     includes      foul     language

4       and    inappropriate          gestures,         end    of

5       quote.

6                 Did    I    read    that    sentence

7       correctly?

8       A.        Yes.

9       Q.        Do    you    understand       what      that

10      says?

11      A.        Yes.

12      Q.        Do    you    think      that's     reasonable

13      and    appropriate?

14                             ATTORNEY       HELFER:

15                             And    I'll    object      to   form.

16                             You    can    answer.

17                             THE    WITNESS:

18                             I   guess.
19      BY    ATTORNEY       LEVIN:

20      Q.        Now,       you   would     agree      that   the

21      word    fuck    is    in   violation       of    that

22      sentence;       right?

23                             ATTORNEY       HELFER:

24                             I'll    object      to    form.

25                             THE    WITNESS:




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                                                                           59
1                              I    guess,      when       you're

2                 representing             your      school.

3       BY    ATTORNEY      LEVIN:

4       Q.        And    you       would      agree       that      giving

5       the    middle     finger         is    an   inappropriate

6       gesture?

7                 Is    that       correct?

8                              ATTORNEY         HELFER:

9                              And    I'll      object         to    form

10                again,       but    you      can       answer.

11                             THE    WITNESS:

12                             Yes.

13      BY    ATTORNEY      LEVIN:

14      Q.        Do    you    think       it's      a    proper      and

15      laudable       goal    for       schools         ---    for

16      public       schools,       to    teach      students          to

17      have    respect       for    others?

18      A.        Yes.
19      Q.        Do    you    agree       that      it's      a    proper

20      and    laudable       goal       for    school         districts

21      to    hold    students       accountable               for    not

22      following       applicable             rules?

23                             ATTORNEY         HELFER:

24                             I'm    going         to    object      to

25                form.        Assumes         the       rules      are




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                                                                       60
1                 valid.

2       BY    ATTORNEY       LEVIN:

3       Q.        Would       you       agree    with    that?

4       A.        I    guess.

5       Q.        Do    you    agree       the    cheerleaders

6       are    representing             their    teams    like       the

7       rule    states?

8       A.        When       you're       at    games    and    all,

9       yes.

10      Q.        Do    you    live       in    the   Mahanoy       Area

11      School     District?

12      A.        Like,       do    I    live    ---?

13      Q.        You    gave       an    address.

14      A.        Yes.

15      Q.        It    is    within       the    boundaries         of

16      the    Mahanoy       Area       School    District?

17      A.        Yes.

18      Q.        All    right.
19                And    can       we    agree    that    the

20      Mahanoy       Area    School       District       is    a

21      small     school      district?

22      A.        Yes.

23      Q.        Would       you       agree    that    in

24      Mahanoy,       it    seems       like    everybody          knows

25      everybody       else?




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                                                                              61
1       A.        Yes.

2       Q.        Is    that       a    yes?

3       A.        Yes.

4       Q.        Try    to    keep          your    voice        up.

5       Okay?

6                 And    can       we    agree       that      in

7       Mahanoy,        it's   one       of    those         places

8       where     many    people         in    the       community

9       know    the     kids   from          the    different           teams

10      and    squads,      including              the    cheerleading

11      squad?

12      A.        I    would       assume.

13      Q.        Go    back       to    Exhibit         D-4      that       you

14      looked     at    before.             It's    behind         tab

15      four.      The    same         rules       that      you    see

16      here    for     personal         conduct,            that's

17      under     the    handbook            this    year.

18                Isn't       that       correct?
19                             ATTORNEY             HELFER:

20                             Do       you    have      a   copy       of

21                the    handbook             from    this        year?        I

22                don't       have       a    copy?

23                             ATTORNEY             LEVIN:

24                             I       have    a    copy     of     a   page.

25      BY    ATTORNEY      LEVIN:




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                                                                            62
1       Q.        But    do    you    remember          or    don't

2       you    know?

3                              ATTORNEY       HELFER:

4                              I'll    object          to    form.

5                              The    documents             speak      for

6                 themselves.              Asked       and

7                 answered.           She's       already

8                 testified          she    doesn't          remember

9                 reading       it.

10      BY    ATTORNEY       LEVIN:

11      Q.        Do    you    know    if    the       handbook

12      this    year    is    the    same    as    last          year,       in

13      ---    with    respect       to    this    paragraph?

14      A.        I    don't    know.

15      Q.        The    first       sentence          on    the

16      paragraph       dealing       with    personal

17      conduct       says,    participation                on    an

18      athletic       team    or    cheerleading                squad       in
19      the    Mahanoy       Area    School       District             is    a

20      privilege.           The    sentence       continues                on

21      but    I'm    going    to    stop    there.

22                Do    you    agree       with    that       or

23      disagree?

24                             ATTORNEY       HELFER:

25                             I'm    going       to    object         to




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                                                                           63
1                 form.

2       BY   ATTORNEY        LEVIN:

3       Q.        Do    you      agree       or    disagree?

4       A.        I    don't      ---.

5                                ATTORNEY          HELFER:

6                                Do    you    understand            what

7                 it    means?

8                                THE    WITNESS:

9                                No.

10      BY   ATTORNEY        LEVIN:

11      Q.        You    don't         know       what    the      word

12      privilege       means?

13      A.        I    don't      understand             it.

14      Q.        Do    you      agree       with    me    that

15      students       don't          have    the    automatic

16      right     to   be    on       the    cheerleading            team?

17      A.        I    guess.

18      Q.        Do    you      agree       with    me    that
19      students       have       to    meet       certain

20      conditions          in    order       to    get   on       the

21      cheerleading             team?

22      A.        Yes.

23      Q.        Do    you      agree       with    me    the      school

24      district       has       no    duty    to    have      a

25      cheerleading             squad?




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                                                                                      64
1                                 ATTORNEY                HELFER:

2                                 I'm       going          to    object          to

3                 the       form.           I    mean,          if    you       know.

4                                 THE       WITNESS:

5                                 I    don't.

6                                 ATTORNEY                HELFER:

7                                 I    mean,          do       you

8                 understand                what          he    means       by

9                 duty?

10                                ATTORNEY                LEVIN:

11                                Counsel,                with       all    due

12                respect,             you're             allowed          to    put

13                on    a    form       objection.                    You're

14                not       allowed             to    coach          your

15                witness             like       that.

16                                ATTORNEY                HELFER:

17                                Okay.

18                                Well,          I'll          object       to    the
19                degree          that          you're          using       terms

20                with       legal          implications.                       She's

21                not       here       to       testify          to    the

22                legal       meaning                of    things.              She

23                may       not       understand                those.           So    I

24                do    expect          the          questions             to    be

25                fair.




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                                                                            65
1                              ATTORNEY             LEVIN:

2                              Well,       I'm       entitled         to

3                 know     what      she       knows       and    what

4                 she    doesn't.

5                              ATTORNEY             HELFER:

6                              Oh,    you       do    ---    you

7                 certainly          are.

8                              ATTORNEY             LEVIN:

9                              And    you       don't       have      to

10                tell     her    when         she    doesn't         know

11                something.

12                             ATTORNEY             HELFER:

13                             Okay.

14                             Well,       with       all    ---.

15      BY   ATTORNEY       LEVIN:

16      Q.        Do    you    have       any       knowledge         ---?

17                             ATTORNEY             HELFER:

18                             She's       ---       she    is    a
19                teenager        and      I    will       object      if

20                you    are     going         to    ask    her

21                questions          in    which       you're         using

22                legal       terms       without          explaining

23                or    defining          those       legal       terms

24                for    her.

25                             ATTORNEY             LEVIN:




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                                                                               66
1                                 Not       a    proper          objection.

2       BY   ATTORNEY        LEVIN:

3       Q.        Do    you       know          if    the    school

4       district       has    a    duty          to    have       a

5       cheerleading          squad?

6       A.        I    don't       know.

7       Q.        Do    you       know          if    the    school

8       district       has    the       right          to    attach

9       whatever       conditions                it    wants          with

10      respect       to    it's    cheerleading                      squad?

11      A.        I    guess.           I       don't       know.

12      Q.        Do    you       agree          with       me    that

13      cheerleading          can       be       dangerous,

14      depending          upon    the          stunts       that       the

15      team    does?

16      A.        Yes.

17      Q.        Is    it    correct                that    cheerleaders

18      have    to    depend       on       other       cheerleaders
19      to   catch     them       for       some       of    the

20      exercises?

21      A.        Yes.

22      Q.        Can      you     explain             that?          Give    us

23      some    examples?

24      A.        Like       if    anyone             was    up    and   they

25      fall    backwards,          they             have    to       like,




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                                                                             67
1       depend       on    the      person       in   the    back       to

2       catch       them.

3       Q.          Are    there          any   other       stunts      that

4       your       cheerleading            squad      does       where

5       teammates          have      to    depend      on    the      others

6       to    do    what      they're          supposed      to    be

7       doing?

8       A.          All    of       them.

9                                   ATTORNEY         HELFER:

10                                  Object      to    form.

11      BY    ATTORNEY         LEVIN:

12      Q.          Excuse          me?

13      A.          All    of       them.       Like    all      of   the

14      stunts,         you    have       to    depend      on    each

15      other.

16      Q.          Do    the       stunts      have    names?

17      A.          Some      of     them.

18      Q.          What      are     some      of    the    names      that
19      you    remember?

20      A.          Like      up     at    an   extension.

21      Q.          I    didn't       hear      that.

22                  Extension?

23      A.          Yes.

24      Q.          And    what's          an   extension?

25      A.          Well,       I    don't      know    how      to




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                                                                                      68
1       explain          it.        You      would          like,      go       up    and

2       in    people's             hands,         I    guess.          I    don't

3       know    how          to    explain            it.

4       Q.          All       right.

5                   Give          me    another           name     of       another

6       stunt?

7       A.          A    lib.

8       Q.          I    didn't             hear      that.

9       A.          A    lib.

10      Q.          L-I-B?

11      A.          L-I       ---       yeah,         I   think.            I

12      guess.           I    don't         know.

13      Q.          Okay.

14                  And       what's          a    lib?

15      A.          You       would          basically            do    the       same

16      thing       as       an    extension,               but   with          only

17      one    foot          instead         of       both.

18      Q.          Are       there          any      other       names          of
19      any    of    the          stunts?

20      A.          I    don't          know.

21                  A    flip          we    could        do.

22      Q.          And       what's          a    flip?

23      A.          You       just          like      flip      ---     I       don't

24      know    how          to    explain            it.

25      Q.          All       right.




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                                                                               69
1                   Any    other       names         of    any    other

2       stunts?

3       A.          I    don't    think         so.

4       Q.          And    then       there      are       some    stunts

5       that    the       team    does      that          don't    have

6       names.

7                   Is    that    correct?

8       A.          I    guess.        That's         ---    what          I

9       said    was       basically         all       we    do.

10      Q.          You    only       do    extensions,            libs

11      and    flips,       as    far      as    stunts          go?

12      A.          And    preps,          which      is    like       a

13      lower       extension.

14      Q.          All    right.

15                  Any    others?

16      A.          Not    ---    no.

17      Q.          All    right.

18                  And    if    any       of   the       kids    don't        do
19      what    they're          supposed            to    do,    somebody

20      could       get    injured.

21                  Is    that    correct?

22      A.          Yes.

23      Q.          Would       you    agree         with    me    that

24      one    of    the    purposes            of    cheerleading             is

25      to    teach       teambuilding?




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                                                                           70
1       A.        Yes.

2       Q.        When      you    were          told    that      you

3       were    being       removed          from      the

4       cheerleading             squad       last      year,       did    you

5       have    to    go    to    the       doctor      as    the

6       result?

7                                ATTORNEY             HELFER:

8                                Object          to    form.

9                                THE    WITNESS:

10                               No.

11      BY    ATTORNEY       LEVIN:

12      Q.        Did      you    need       any      therapy       or

13      other     treatment            as    a   result       of    being

14      removed       from       the    cheerleading               squad?

15      A.        No.

16      Q.        Have      you    incurred             any    expenses

17      for    any    medical          services         as    a    result

18      of    being     removed         from      the    cheerleading
19      squad?

20      A.        No.

21      Q.        How      did    the       other       cheerleaders

22      treat     you      when    you       returned         to    the

23      cheerleading             squad       after      the       judge

24      granted       the    preliminary               injunction?

25      A.        They      were       ---       they    acted      how




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                                                                          71
1       they    would        act    any   other       time.        Like,

2       they    were     friendly         and    fine.

3       Q.        Nobody       mistreated             you.

4                 Is    that       correct?

5       A.        Not    to    me.

6                 Like,       they       said    stuff.

7       Q.        But    not       to    you?

8                 Is    that       correct?           You    have       give

9       a    verbal     response.

10      A.        Yes.

11      Q.        And    you       know       that    because          other

12      people     told       you    that?

13      A.        Yes.

14      Q.        You    never          heard    it    directly.

15                Is    that       correct?

16      A.        Yes.

17      Q.        Anybody          bully       you    after       you

18      returned        to    the    team?
19      A.        No    one    said       anything          to    me

20      about     it.

21      Q.        Excuse       me?        I    didn't       hear       you?

22      A.        No    one    said       anything          to    me

23      about     it.

24      Q.        Any    problems             from    any    of    the

25      coaches       when     you      were    put    back       on    the




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                                                                             72
1       team?

2       A.        No.

3       Q.        Who    told       you       that       you    were

4       being     removed      from       the       cheerleading

5       squad?

6       A.        Mrs.       Luchetta.

7       Q.        And    where       were          you    and    she    when

8       she    told    you    that?

9       A.        She    called          me    to    her       room.

10      Q.        And    is    that       where          you    were?

11      A.        Yes.

12      Q.        Which       room       was       that?        Do    you

13      remember?

14      A.        It    was    her       old       math    room.

15      Q.        When       you    say       her    old       math    room,

16      you    mean    her    former          math       room?

17      A.        I    guess.        I    don't          know.

18      Q.        Did    she       change          classrooms?
19      A.        Yeah.        A    lot       of    ---.

20      Q.        Excuse       me.        Let       me    turn       this

21      off.

22      A.        A    lot    of    teachers             did.

23                A    lot    of    the       teachers          did.

24      Q.        And    is    there          anybody          else    who

25      overheard       what       she    was       telling          you




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                                                                            73
1       when    she    told    you     you    were      being

2       removed?

3                              ATTORNEY          HELFER:

4                              Object       to    form.

5                              THE    WITNESS:

6                              No    one    else      was    in       the

7                 hallway       ---    or    the      classroom,

8                 but    there       were    people         in    the

9                 hallway.

10      BY    ATTORNEY      LEVIN:

11      Q.        Okay.

12                Do    you    know    if    anybody

13      overheard       what     she    was      telling         you?

14      A.        No.

15      Q.        What     exactly         did    she   tell          you?

16      A.        She    just       showed       me   the    picture.

17      And    then    said    that     it    was

18      disrespectful          towards        her     and    that       I
19      was    kicked     off.

20      Q.        All    right.

21                And    how    did    you       respond         if    at

22      all?

23      A.        I    cried.

24      Q.        Anything          else?

25                Did    you    say    anything?




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                                                                            74
1       A.          I    don't       remember.

2       Q.          All    right.

3                   And    did       she    say    anything       else

4       after       she    said       you    were   kicked       off?

5       A.          I    don't       ---.     I    don't    know.

6       Q.          How    long       did    you    ---?     I    assume

7       you    were       standing          there   when    she       told

8       you    this       or    were    you    sitting?

9       A.          Standing.

10      Q.          How    long       did    you    stand    there

11      before       you       left?

12      A.          A    few    minutes.           And    then    I    went

13      to    the    office.

14      Q.          And    who       did    you    talk    to?

15      A.          I    called       my    mom    and    explained

16      it    to    my    mom    on    the    phone.

17      Q.          Did    you       use    the    school    phone          or

18      your       cell    phone?
19      A.          School       phone.

20      Q.          And    was       anybody       with    you    when

21      you    were       calling       your      mom    from    the

22      office?

23      A.          Mrs.       Luchetta       walked       into       the

24      office.

25      Q.          What       ---    during       the    time    that




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                                                                           75
1       you    left       Mrs.      Luchetta's         room     and

2       walking         to    the    office       before       you    got

3       to    the    office,         did    you    and    Mrs.

4       Luchetta          say      anything       to   each     other?

5       A.          I    don't      remember.

6       Q.          When      you     got    into      the    office

7       and    before         you    picked       up   the     phone,

8       did    you      and     Mrs.   Luchetta          say    anything

9       to    each      other?

10      A.          I    don't      think     so.

11      Q.          When      did     Mrs.    Luchetta         leave

12      you?        Was      she    ---?

13      A.          After       she    talked       to   my    mom.

14      Q.          Okay.

15                  So    she      talked     to    your      mom    as

16      well?

17      A.          Yes.

18      Q.          Did      you    call     or    did   Mrs.
19      Luchetta          call      your    mom?

20      A.          I    called       my    mom.

21      Q.          And      how    did     Mrs.    Luchetta         get

22      on    the    phone?

23      A.          My    mom      asked     to    speak      with    her.

24      Q.          And      put    ---     gave    Mrs.      Luchetta

25      the    phone.




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                                                                          76
1                 Is    that      correct?

2       A.        Yes.

3       Q.        What      did     you    hear    Mrs.       Luchetta

4       say    when    she    was    on    the    phone       with

5       your    mom?

6       A.        I    don't      remember.

7       Q.        How    long       was    the    conversation

8       between       Mrs.    Luchetta       and       your    mom       on

9       the    phone?

10      A.        I'm    not      sure.

11      Q.        And    where       in    the    office       was       the

12      call    made     from?

13      A.        It    was    like       somewhere       in    one       of

14      the    like,     separate         rooms.

15      Q.        Is    there       ---?     I'm       sorry.        I

16      didn't     mean      to    interrupt.

17      A.        I    don't      know     which       room

18      specifically.
19      Q.        Was    anybody          else    in    the    room

20      other     than      you    and    Mrs.    Luchetta?

21      A.        There       ---    like    right       outside          of

22      the    door    was    the    ---    like       the    people

23      who    work    in    the    office.

24      Q.        But    in    the    room       itself,       nobody

25      else?      Just      you    and    Mrs.    Luchetta?




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                                                                                   77
1       A.          Yes.

2       Q.          All      right.

3                   And      when       Mrs.       Luchetta             finished

4       talking         to    your       mom,      then       what

5       happened?

6       A.          Then      I    think       I    went          to    the

7       principal's            office.

8                   I   don't       remember.

9       Q.          And      where       did       Mrs.       Luchetta           go?

10      Do    you   know?

11      A.          I   don't       know.

12      Q.          You      parted       ways          at    that       point?

13      A.          I   think.

14      Q.          And      when       you    went          to    the

15      principal's            office,          did      you       talk       to

16      anybody?

17      A.          Mr.      Smith.

18      Q.          And      Mr.    Smith          is    who?
19      A.          The      old    principal.

20      Q.          And      what       did    you       say       to    Mr.

21      Smith?

22      A.          I   think       I    asked          him       if    there

23      was    anything            that    I    could         do       to   be     put

24      back    on.          And    he    said      that          he    can't       go

25      against         the    coach's          decisions.




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                                                                           78
1       Q.        Was    anybody          else         present      when

2       you    were     talking         to     Mr.     Smith     about

3       this?

4       A.        No.

5       Q.        And    what       else       was      said    between

6       you    and     Mr.    Smith       at    that      point?

7       A.        He    told       me   that       I    would      have

8       been    able     to    get      disciplined             because       I

9       said    school        in    there.

10                I    think       that's       it.

11      Q.        All    right.

12                How    long       was      that       conversation

13      between        you    and    Mr.       Smith?

14      A.        I    don't       remember.

15      Q.        Did    you       personally            talk      to   Mr.

16      Smith     at    any    other         time      about     this

17      incident        in    any    way?

18      A.        No.
19      Q.        Did    you       ever      talk       to   Coach

20      Luchetta        about       the      incident,          other

21      than    what     you've         already          described        the

22      morning        that    she      told       you    you    were

23      being     removed          from      the     team?

24      A.        No.

25      Q.        Did    you       ever      talk       to   any    other




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                                                                        79
1       school       district          administrator         about

2       being       removed       from      the   team     other       than

3       the       principal?

4       A.          No.

5                                ATTORNEY         HELFER:

6                                I'll       object    to    form.

7       BY    ATTORNEY          LEVIN:

8       Q.          No?

9       A.          No.

10      Q.          Now    when       you   were     removed      from

11      the       team    for    the      2017-18    school       year,

12      you       knew    that    you      were   allowed        to    try

13      out       again    for    the      2018-19    school          year.

14                  Right?

15      A.          Yes.

16      Q.          In    ninth       grade,      were     you

17      involved          in    cheerleading?

18      A.          Yes.
19      Q.          Was    it    a    school      district       team,

20      or    a    community         team    or   what?

21      A.          The    school's         team.

22      Q.          Okay.

23                  And    was       it   junior     varsity      or

24      varsity?

25      A.          Junior       varsity.




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                                                                                80
1       Q.          And      to    get    onto      junior       varsity,

2       do    you    have     to    try       out    for    that?

3       A.          Yes.

4       Q.          In    eighth         grade,      were       you    on

5       any    cheerleading              team       or   squad?

6       A.          No.

7       Q.          In    seventh         grade,         were    you       in

8       any    cheerleading              team       or   squad?

9       A.          No.

10      Q.          In    sixth      grade,         were    you       in    any

11      cheerleading              team    or      squad?

12      A.          Yes.

13      Q.          And      was    this      a   school        district

14      team,       or   a   community            team     or   something

15      else?

16      A.          That      was    the      school's          team.

17      Q.          Okay.

18                  And      what    school         were    you       in    in
19      sixth       grade?

20      A.          Mahanoy         Middle        School.

21      Q.          And      it    was    a   middle       school

22      cheerleading              team.

23                  Is    that      correct?

24      A.          Yes.

25      Q.          And      what    activities            did    the




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                                                                            81
1       team    cheer     for?

2       A.        Football.

3       Q.        The    high       school        team       or   was

4       there     middle     school          football          team?

5       A.        There     is      a   fifth         and    sixth

6       grade     team.

7                                       ---

8       (WHEREUPON,         THERE       WAS       A    BRIEF

9       INTERRUPTION         IN     THE      PROCEEDINGS.)

10                                      ---

11                             ATTORNEY           LEVIN:

12                             I    thought           I    turned    this

13                off.

14      BY    ATTORNEY      LEVIN:

15      Q.        And    when       was    the        middle      school

16      football       season?          Do    you         remember?

17      A.        I   think        it   was    the         same   ---   I

18      think     it's    the      same      as       the   high    school
19      season.

20      Q.        All    right.

21                And    are       there      any         other

22      cheerleading         activities                in   sixth-grade

23      cheerleading,           other        than         cheering      for

24      the    football      team       during            their    season?

25      A.        I   don't        remember.




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                                                                               82
1       Q.          Did       you    go    to    the    Memorial            Day

2       Parade          when       you   were     in    the       sixth

3       grade       team?

4       A.          I    don't       remember.

5       Q.          In       fifth       grade,    were          you   on     any

6       cheerleading                teams?

7       A.          Yes.

8       Q.          Which          one?

9       A.          The       Mahanoy       Area.           Like,      the

10      same       one.

11      Q.          Same          one.

12                  Is       that    the    first       year       you      were

13      ever       in    cheerleading?

14      A.          Yes.

15      Q.          Why       did    you    stop       cheerleading

16      after       sixth          grade,    until          you    resumed

17      it    again          in    ninth    grade?

18      A.          I    tried       out    my    sixth          grade      year
19      and    I    didn't          make    it.        So    I    just

20      thought          I    wasn't       going       to    make      it,    the

21      seventh          grade       team    ---       or    'cause       I

22      tried       out       in    sixth    grade,          at    the    end

23      of    sixth          grade.

24      Q.          For       seventh       grade?

25      A.          Yes.




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                                                                          83
1       Q.        And    you    didn't          make      it?

2       A.        Yeah.

3       Q.        Okay.

4                 And    did    you      try       out    at    the   end

5       of   seventh      grade       for      eighth         grade?

6       A.        No.

7       Q.        Why    not?

8       A.        Because       I    didn't         think       I   was

9       going     to    make    it.

10      Q.        And    then       at   the       end    of    eighth

11      grade,     you    tried       out      for      the    ninth

12      grade     JV.

13                Is    that    correct?

14      A.        Yes.

15      Q.        Why    did    you      think          that    you

16      might     make    it    at    that      point?

17      A.        'Cause       there         was    a    different

18      coach     and    it    was    like      different
19      judging.

20      Q.        Please       take      a     look      at    Exhibit

21      D-11,     behind       tab    11.

22                                       ---

23                             (Whereupon,               Defendant

24                             Exhibit          11,      Complaint,

25                             was       marked         for




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                                                                                    84
1                                   identification.)

2                                          ---

3       BY    ATTORNEY          LEVIN:

4       Q.          I'll       represent                to    you    that

5       that's       a    copy       of    the      complaint          that

6       was    filed       in       this    case.

7                   Did    you       read          this       before       it    was

8       filed?

9       A.          I    don't       remember.

10      Q.          Do    you       know       if       it    contains          any

11      mistakes          or    errors?

12      A.          I    don't       know.

13      Q.          Please          take       a    look       at    paragraph

14      26    of    the    complaint.

15                  That       says       on       or    about       Saturday,

16      May    28    you       posted       a      Snap.

17                  Do    you       see    that?

18      A.          Yes.
19      Q.          I'm    confused                because          when    I

20      checked          the    calendar,               the    28th    is       a

21      Sunday.

22                  Do    you       remember             if    it    was    a

23      Saturday          or    a    Sunday         that       you    posted

24      the    Snap?

25      A.          I    don't       know.




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                                                                        85
1       Q.        So    you    don't       know   if       you    posted

2       the    Snap    on    the    27th    or    the      28th?

3                 Is    that       correct?

4       A.        Yes.

5       Q.        Now    in    the    Snap      ---    and       if   you

6       want    to    take    a    look    at    D-1    again.          You

7       said,     quote,      fuck    school,          end      of

8       quote.

9                 Right?

10      A.        Yes.

11      Q.        Were       you    referring         to    the

12      Mahanoy       High    School?

13      A.        I    was    just    referring            to    school

14      in    general.

15      Q.        Well,       does    it    refer      to       any

16      school       other    than    the       Mahanoy         School,

17      High    School?

18                             ATTORNEY         HELFER:
19                             Objection.             Asked       and

20                answered.

21                             THE    WITNESS:

22                             Not    ---.

23      BY    ATTORNEY       LEVIN:

24      Q.        Excuse       me?

25      A.        Not    specifically.




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                                                                        86
1       Q.        And    softball,           you    were

2       referring       to    the       school's        softball

3       team    because       you       didn't     get       the

4       position       you    wanted.

5                 Right?

6                             ATTORNEY         HELFER:

7                             Objection            to    form.

8       A.        Not    ---.

9                             ATTORNEY         HELFER:

10                            Was       it   the    school

11                softball         team?

12                            THE       WITNESS:

13                            It    wasn't         our       softball

14                team.       It    wasn't         the       school's

15                softball         team.

16      BY   ATTORNEY        LEVIN:

17      Q.        Okay.

18                Cheer      was    the      school's
19      cheerleading          squad.

20                Right?

21      A.        I   was    just       saying      it       in

22      general.        Like,       I    wasn't     specifically

23      saying     anything         ---.

24      Q.        Were      you    referring            to    any   other

25      cheerleading          other       than     the




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                                                                                   87
1       school     ---?

2                                 ATTORNEY             HELFER:

3                                 Objection.                    She    was

4                  still         answering.

5       BY   ATTORNEY            LEVIN:

6       Q.         I'm      sorry,          I    thought          ---.

7       A.         I    said      it       because          I    was    mad.

8       Q.         You      were          mad    at    ---?

9       A.         Because            I    didn't       get       ---.        I

10      didn't     make          it    onto       varsity.

11      Q.         And      you       didn't          make       it    on    the

12      varsity        by    the       school         district.

13                 Right?

14      A.         Yes.

15      Q.         So    you      were          mad    at       not    getting

16      on   the   school             district's            varsity          team,

17      so   you   said          fuck       cheer.

18                 Right?
19      A.         Yes.

20      Q.         Would         you       agree       that       it    would

21      be   reasonable               for    a    person         reading

22      your    Snap        to    think          that   you       were

23      referring           to    the       school      district's

24      cheerleading              squad          when   you       said       fuck

25      cheer?




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                                                                              88
1       A.          I    guess.

2       Q.          Do    you      think          it   would     be

3       reasonable            for       someone         reading       your

4       Snap,       and      knowing          where      you     went    to

5       school,         that       you       were      referring        to    the

6       high       school         when       you    said    fuck      school?

7       A.          I    guess.

8       Q.          Please         take       a    look    at    paragraph

9       63    of    your      complaint.

10                  In    that         complaint,          in    that

11      paragraph            it    is    alleged,          quote,       among

12      other       benefits,            students          who

13      participate               in    extracurricular

14      activities            are       less       likely      to   abuse

15      alcohol         or    drugs          than      students       who     do

16      not    participate               in    extracurricular

17      activities.

18                  Do    you      know       anything          about    that
19      subject?

20      A.          No.

21      Q.          Paragraph            61,       it's    alleged

22      that,       quote,         being       removed         from     the

23      squad       impairs            your    opportunities             to

24      gain       admission            to    top      colleges.

25                  Do    you      see       that?




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                                                                                 89
1       A.          Yes.

2       Q.          Do    you      have        any       knowledge         as    to

3       the    basis       for       that       statement?

4       A.          No.

5       Q.          Please         take        a    look    at      paragraph

6       62,    where       it's       alleged            sustained

7       participation                in    extracurricular

8       activities            also        has      significant

9       benefits          for      student          well-being.

10                  Do    you      have        any       basis      for    that

11      statement?

12      A.          No.

13      Q.          I    added       page          numbers       on    the

14      lower-right             hand       corner         to    make       it

15      easier       to    identify             pages.          Could       you

16      go    to    page      12?         In    paragraph            E,    it    is

17      alleged         that       you're          seeking          damages       in

18      amount       to    be      determined             by    a    trial.
19                  What      damages              are    you    seeking?

20      Do    you    know?

21      A.          I    don't       know.

22      Q.          Do    you      think           it's    fair       to   keep

23      someone         off     of    extracurricular

24      activities            if     they're         struggling             in

25      school?




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                                                                              90
1                              ATTORNEY            HELFER:

2                              Object         to    the    form.

3                              THE      WITNESS:

4                              If      they're       eligible,            I

5                 guess.

6       BY   ATTORNEY        LEVIN:

7       Q.        Well,      if     they're         struggling            so

8       that    they    don't          meet    the   academic

9       requirements,             do    you    think      it's      fair

10      to   keep     them    off?

11      A.        I   guess.

12                             ATTORNEY            HELFER:

13                             I'm      going       to    object         to

14                form.        You're         asking       for      an

15                opinion         not    fact.

16      BY   ATTORNEY        LEVIN:

17      Q.        And    why      is    it    that       you   think

18      that's      fair     to    keep       them   off       if
19      they're       struggling          in    school?

20                             ATTORNEY            HELFER:

21                             Object         to    form.

22                             THE      WITNESS:

23                             They      have       to    stay      off       if

24                they're         ineligible.              Like,         if

25                they're         failing          two    classes,




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                                                                            91
1                 they     get      benched         for    it.

2                 So    ---.

3       BY    ATTORNEY       LEVIN:

4       Q.        The    uniforms,            who    pays       for    them

5       for    cheerleading?              Do       you   know?

6       A.        I    don't       know.

7       Q.        Do    the    ---    does         the    school

8       district       provide       it       to    you?

9       A.        I    guess.

10      Q.        Do    you    think       that      teaching

11      students       that    there          are    consequences

12      for    crude    and    profane             communications

13      on    social    media       is    a    proper       role      for

14      school     districts?

15                             ATTORNEY            HELFER:

16                             I'm    going         to    object       to

17                the    form.        It's         calling       for    an

18                opinion.
19                             THE    WITNESS:

20                             I    don't      know.

21      BY    ATTORNEY       LEVIN:

22      Q.        Do    you    know      how       your    conduct

23      affected       the    other       members          of   the

24      cheerleader          squad       last       year?

25                             ATTORNEY            HELFER:




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                                                                              92
1                                Object          to    form.

2                                THE       WITNESS:

3                                None       of    them       ever      said

4                   anything          to    me    about          it.

5       BY    ATTORNEY         LEVIN:

6       Q.          So    is    the       answer       you       don't   know

7       what    affect         it    had    on    them?

8       A.          Yeah.        I    don't       know.

9       Q.          Do    you    know       how       it    affected         any

10      of    the    other      cheerleaders                that       you

11      were    allowed         back       on    the       cheerleading

12      squad?

13                               ATTORNEY             HELFER:

14                               I'm       going       to    object      as

15                  asked       and       answered.

16                               THE       WITNESS:

17                               People          were       mad    about      it

18                  I    guess.
19      BY    ATTORNEY         LEVIN:

20      Q.          Okay.

21                  And    how       do    you    know       they      were

22      mad    about      it?

23      A.          'Cause       they       said       stuff       and

24      other       people      heard       it.

25      Q.          Did    they       say    stuff          to    you?       Or




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                                                                        93
1       did    other    people       tell    you       they    said

2       stuff?

3                              ATTORNEY          HELFER:

4                              Object       to    form.

5                              THE    WITNESS:

6                              They    didn't          say    anything

7                 directly       to    me.

8       BY    ATTORNEY       LEVIN:

9       Q.        All    right.

10                So    anything       you       know    about       them

11      being     mad   is    because       somebody          else

12      told    you?

13      A.        Yes.

14      Q.        And    did    the    people          who    told    you

15      what    other     cheerleaders            were       saying     or

16      were    mad,    did    they     tell      you    what      they

17      were    saying?

18      A.        I    got   told     what       one    of    them
19      said.

20      Q.        And    who    is    the    person          who

21      allegedly       said     what    you're         going      to

22      tell    me    about?

23      A.        P.B.

24      Q.        Okay.

25                And    what    did    P.B.       allegedly




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                                                                              94
1       say?

2       A.        All      she    said       was       that       ---

3       because       I    didn't       know       one       of   the

4       cheers,       so    I    stood       out       for    it.       And

5       she    said       that    if    I'm       just       going      to

6       keep    doing       that,       then       I    shouldn't            have

7       came    back       on.

8       Q.        You      mean,       if    you       stay       out    of

9       participating             in    a    cheer       that       you

10      don't     know      about,          you    shouldn't            have

11      come    back       on.

12                Is      that    your       understanding?

13      A.        Yes.

14      Q.        And      who    told       you       that       P.B.    said

15      that?

16      A.        M.,      I    think.

17      Q.        And      is    M.    on    the       team?

18      A.        Yes.
19      Q.        And      when       did    M.    tell          you    that?

20      A.        I    think      it    was       like       a    few

21      minutes       after       she       said       it.

22      Q.        And      do    you    remember             the       date

23      that    this       took    place?

24      A.        No.

25      Q.        Did      you    complain             to    anybody




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                                                                                    95
1       about     what      M.      told    you      P.       said?

2       A.        No.       I       just    went         up    and    told          my

3       mom.

4       Q.        And    was         this    at      a    practice             or

5       was    this    an     event        or   what?

6       A.        A    football            game.

7       Q.        Do    you         remember         which          game       it

8       was?

9       A.        No.

10      Q.        Do    you         remember         who       the    other

11      team    was?

12      A.        I    don't         remember.

13      Q.        Do    you         remember         if       it    was    a

14      home    game     or      an   away      game?

15      A.        Home,         I    think.

16      Q.        And    do         you    know      if       your    mom       did

17      anything       when         you    told      her       that?

18      A.        I    don't         know.
19                                  ATTORNEY         HELFER:

20                                  Just    with         regard       to       the

21                clock,            it's    10:28.             So    she's

22                going         to    have      to       leave       in    a

23                couple            minutes.

24                                  ATTORNEY         LEVIN:

25                                  All    right.




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                                                                                 96
1                                 Let       me       put       on    the    record

2                 that       I'm       not       yet       finished          with

3                 my    questioning.                       B.L.       has    a

4                 game       to       go    to.           So    we    agreed

5                 that       she       would          be       able    to    leave

6                 and       we    will          reschedule             the

7                 continuation                   of       her       deposition

8                 at    a    mutual             convenient             time.

9                                 Is       that       agreeable?

10                                ATTORNEY                HELFER:

11                                Yes.           That's             agreeable.

12                                ATTORNEY                LEVIN:

13                                Okay.

14                                Thank          you       very       much.

15                           *    *    *    *    *    *    *    *

16         DEPOSITION            CONCLUDED                AT    10:29       A.M.

17                           *    *    *    *    *    *    *    *

18
19

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                  Exhibit J
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               IN   THE       UNITED          STATES                 DISTRICT        COURT

                             FOR    THE       MIDDLE                 DISTRICT

                                    OF        PENNSYLVANIA

                                     *    *    *   *        *    *    *    *

            B.L.,        a   minor,                     *
            by     and       through          her       *
             father,          LAWRENCE                  *
            LEVY     and       her                      *
            mother           BETTY       LOU            *
            LEVY,                                       *
                    Plaintiffs                          *         Case         No.

                    vs.                                 *         3:17-CV-1734

            MAHANOY           AREA                      *
            SCHOOL           DISTRICT,                  *
                    Defendant                           *
                                     *    *    *    *       *    *    *    *



                                         DEPOSITION                   OF

                                                   B.L.

                                   November                 21,       2018




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                              the    certifying                      agency.


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 1                                       DEPOSITION

 2                                               OF

 3      B.L.,       taken           on   behalf            of    the       Defendant

 4      herein,         pursuant             to       the       Rules          of    Civil

 5      Procedure,                taken      before             me,    the

 6      undersigned,                 Samantha              Bruer,          a    Court

 7      Reporter            and      Notary           Public          in       and    for

 8      the      Commonwealth                of       Pennsylvania,                   at

 9      the      off ices           of   the      Mahanoy             Area          School

10      District,             1     Golden        Bear          Drive,          Mahanoy

11      City,       Pennsylvania,                     on    Wednesday,

12      Nov em be r         2 1 ,    2 0 1 8 ,    beg i n n in g           at

13      9 : 02    a . m .

14

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                                                                           3

 1                   A    P   P   E    A   R   A   N   C   E    S

 2

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19

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21

22

23

24

25




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                                                                  4

 1                             I    N   D   E   X

 2

 3      WITNESS:      B.L.

 4      EXAMINATION

 5          By   Attorney          Levin                  7       4 2

 6      EXAMINATION

 7          By   Attorney          Helfer                         43

 8      CERTIFICATE                                               44

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                                                                    5

 1                          EXHIBIT      PAGE

 2

 3                                                     PAGE

 4      NUMBER           DESCRIPTION              IDENTIFIED

 5      Defendant's:

 6      Exhibit     14   2018    Student

 7                       Handbook,

 8                       Pages     61-62                 9

 9

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                                                                         6
 1                         OBJECTION         PAGE

 2

 3      ATTORNEY                                               PAGE

 4      Helfer         10 '    10'    11 '   12 '   13 '   13 '    14
 5                     1 5 '   1 6'   17 '   18'    19'    2 0 '   2 0

 6                     21 '    21 '   22 '   22 '   2 6'   2 7 '   2 8

 7                     2 9 '   30 '   30 '   31 '   31 '   32 '    32
 8                     32 '    33 '   33 '   34 '   35 '   35 '    3 6

 9                                    37 '   38 '   39 '   40 '    40

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                                                                                                 7

     1                    S        T    I    P   U   L    A       T    I    0    N

     2

     3      (It    is    hereby              stipulated                    and    agreed         by

     4     and     between             counsel            for          the       respective

     5     parties        that              reading,              signing,

     6     sealing,           certification                           and    filing         are

     7     waived.)

     8

     9                        P    R    0    C   E    E       D   I    N     G   S

    10

    11                                             B . L . ,

    12     CALLED        AS       A    WITNESS            IN          THE    FOLLOWING

~
    13     PROCEEDING,                 AND       HAVING               FIRST       BEEN      DULY

    14     SWORN,        TESTIFIED                 AND        SAID          AS    FOLLOWS:

    15

    16                                      EXAMINATION

    17

    18     BY     ATTORNEY             LEVIN

    19     Q.           Good           morning,           B.           Thank         you    for

    20     coming        again              this     morning.                    Sorry      to

    21      inconvenience                    you          I       gave       you

    22     instructions                     at   the      beginning                  the    last

    23     time     I    took          your        deposition                    several

    24     weeks        ago.           Would         you          like       me      to

    25     repeat        those              instructions                    or    do      you




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                                                                                     8
 1      think    you        remember?

 2      A         I    think          I    remember

 3      Q         Okay.

 4                Good.              In    front       of    you       is    the

 5      same    exhibit              book       that    we    handed          you

 6      last    time.            I    want       to    open       it    up    to

 7      behind        tab    four

 8                Okay?

 9                Do    you          recognize          that       as       one     of

10      the    pages        from          the    student          handbook?

11      A.        Yes

12      Q.        Okay

13                That's             Exhibit          D-4.

14                Right?

15     A.         Yes.

16      Q.        That's             what       it's    been       marked

17      Did    you     read          the    paragraph             dealing

18      with    personal              conduct          when       you       got    the

19      book    or     at    any          time    after       you       got       the

20      handbook?

21      A.        No.

22      Q.        I'm       going          to    show       you    what       I

23      have    marked           as       D-14        which       I'll

24      represent           to       you    is    this       year's

25      version        of    the          handbook.




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                                                                                 9

 1

 2                                 (Whereupon,            Defendant's

 3                                Exhibit       14,       2018

 4                                Student       Handbook,             pages

 5                                61-62,       was       marked       for

 6                                identification.)

 7

 8      BY    ATTORNEY        LEVIN

 9      Q.        And    do       you    see    on       the    top    of

10      the         let       me    repeat          my    description

11                This       is    two    pages          from       this

12      year's     handbook.              It's       not       the    whole

13      handbook,        and       the    two       pages       that       are

14      copies     are       pages       61    and       62    of    the

15      handbook.            Did    you       get    the       handbook

16      again    this        school       year?

17      A         Yes

18      Q         And    do       you    see    that          there    in

19      paragraph        8    is    a    paragraph             dealing

20      with    personal           conduct?

21      A.        Yes.

22      Q.        Okay

23                And    you       understood             when       you    got

24      the    handbook           that    students             were

25      required        to    comply          with       the    rules




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                                                                                10
 1      contained          in    the    handbooks.

 2                  Right?

 3      A.          Yes.

 4      Q.          Okay

 5                  Did    you    ever       object          to    the

 6      rules       contained          in    the       handbook          other

 7      than    filing          this    litigation?

 8                               ATTORNEY          HELFER:

 9                               I'll       object          to    form,    but

10                  you    can    answer.

11                               THE    WITNESS

12                               No.

13      BY    ATTORNEY          LEVIN

14      Q.          Okay.

15                  Did    you    ever       ask       anybody       for

16      any    clarification                as    to    what      the     rules

17     meant?

18                               ATTORNEY          HELFER:

19                               I'm    going          to    object       to

20                  form     again           You       can       answer.

21                               THE    WITNESS:

22                               No.

23      BY    ATTORNEY          LEVIN

24      Q.          Did    you    ever       speak          out    against

25      any    of    the    rules       in       the    handbook,




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                                                                          11
 1     either        last    year    or    this       year?

 2                            ATTORNEY          HELFER:

 3                            I'm    going       to    object       to

 4               form       again         You    can       answer.

 5                            THE    WITNESS:

 6                            No.

 7     BY    ATTORNEY        LEVIN

 8     Q.        Please       take    a    look       at    Exhibit

 9     D-3    that's        behind    tab       three.        Can    we

10     agree     that       these    are    the       cheerleading

11     rules     that       were    given       to    the

12     cheerleaders           last    school          year?

13     A.        Yes

14     Q.        And    were       similar       rules       given       to

15     the    cheerleaders           this       year?

16     A.        I    don't    remember.

17     Q.        Okay.

18               And    did    you    object          to    anybody

19     when    you     got    these       rules       about

20     anything        in    the    rules?

21     A         No

22     Q         Did    you    indicate          to    anybody

23     that    you     didn't       understand             what   the

24     rules     said?

25     A.        No.




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                                                                                  12
 1      Q.         Did    you    file          any    complaints

 2      with     anybody        in    the       school          district

 3      about     the     rules?

 4      A.        No.

 5                              ATTORNEY             HELFER:

 6                              I'm       going       to    object          to

 7                 form,       but    you       can    answer.

 8      BY   ATTORNEY          LEVIN:

 9      Q.         Please       take       a    look       at    Exhibit

10      D- 1 8           or    excuse          me,    D-12,          I'm

11      sorry

12      A.        Okay

13      Q.        Okay

14                 Do    you    recognize             that       as    a

15      permission            form    that       you       and       your

16      parents         signed       at   the        beginning             of

17      this     school        year?

18      A.        Yes.

19      Q.        Okay

20                And     you    remember             that       your

21      parents         initialed         it     where          we    have       the

22      red a ct i on s ?

23      A.        Yes.

24      Q.        Okay

25                 Did    you    question             anybody          about




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                                                                                   13
 1      the       meaning          of    anything          that's         stated

 2      on    this       permission               form?

 3      A.             No.

 4      Q.             Can    we    agree          that    cheerleading

 5      is    a    team       activity?

 6                                  ATTORNEY           HELFER:

 7                                  I'm       going       to    object       as

 8                     asked       and       answered

 9                                  THE       WITNESS

10                                  Yes

11      BY    ATTORNEY             LEVIN

12      Q.             And    can       we    agree       that       your

13      decision             to    participate             on

14      cheerleading                is       totally      voluntary           on

15      your       part?

16      A.             Yes.

17                                  ATTORNEY           HELFER:

18                                  I'll          object       to    form,    you

19                     can    answer.

20      BY    ATTORNEY             LEVIN:

21      Q.             There       are       no    requirements             for

22      you       to   participate                in   any

23      extracurricular                      activities             in   order     to

24      graduate,             are       there?

25                                  ATTORNEY           HELFER




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                                                                                      14
           1                              Object       to    form,       you    can

           2                answer.

           3                              THE    WITNESS
           4                              No.

           5      BY    ATTORNEY         LEVIN

           6      Q.       And      no    one    forced       you    or       made

           7      you    join      cheerleading.

           8                Is     that    correct?

           9      A         Yes.

          10      Q        Where         were    you    when       you    signed

          11      the    permission         form?

          12      A.        I'm     not    sure,       probably          at    my

....-.,   13      house

          14      Q.       And      was    anybody          from    the       school

          15      district         with    you    when       you    signed          the

          16      permission         form?

          17      A        No.

          18      Q        Were      your       parents       with       you    when

          19      you    signed      the    permission             form?

          20      A.        I Id    assume.

          21      Q.        Did     anybody       at    the    school

          22      district         force    you    to       sign    the

          23      permission         form?

          24      A         No.

          25      Q         Can     we    agree    that       the    school




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                                                                                        15
 1      district's               decision             to    fund

 2      cheerleading                 is    totally           voluntary             by

 3      the     school           district?

 4                                   ATTORNEY              HELFER:

 5                                   I'm        going       to    object          to

 6                  form.            I    have        no    idea       how       she

 7                  could          know         that.

 8                                   ATTORNEY              LEVIN

 9                                   Do    you        know       or    ---?


10                                   THE        WITNESS

11                                   I    don't           know,       no.

12      BY     ATTORNEY           LEVIN:

13      Q.          Are      you         aware        of    any

14      requirement               that         requires           the       school

15      district            to     fund        cheerleading                 if   it

16      decides         that         it    doesn't           want       to

17      provide         a    cheerleading                   opportunity?

18      A.          I   don't            know.

19      Q.          Please           take        a    look       at    Exhibit

20       D-3            excuse            me,        we    already          went

21      over     that.            And      these           rules      contain

22      at t end an c e          r u l e s .

23                  Right?               0-3,        are    you       looking           at

24      D    ---?


25      A.          Yes.




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                                                                            16
 1      Q.        Okay.

 2                Is    there       anything       about         the

 3      attendance        rules      that        you    don't

 4      understand?

 5                             ATTORNEY          HELFER:

 6                             If    you    need       to    take      some

 7                time    to       read    them,       go    ahead.

 8                             THE    WITNESS

 9                             I    understand          them.

10      BY   ATTORNEY         LEVIN:

11      Q.        Do    you    think       the    attendance

12      rules    are     reasonable         and        appropriate?

13                             ATTORNEY          HELFER:

14                             I'm     going      to    object         to

15                the    form.        You're       asking         for       a

16               legal        conclusion          from       a

17                from    a    student.

18                             ATTORNEY          LEVIN:

19                             Well,       I'm    not       asking      for

20               anything           involving          legality,

21                I'm    asking       a    normal,          regular

22               interpretation              of    the       words

23                reasonable          and    appropriate.                   Do

24               you     think       the    attendance            rules
25               are     reasonable          and       appropriate?




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                                                                               17
 1                               ATTORNEY           HELFER:

 2                               I'm     going       to    object       to

 3                  the    form       again.         You're       asking

 4                  for    an    opinion        from       a    lay

 5                  witness.

 6                               ATTORNEY           LEVIN:

 7                               Do    you     think       they're

 8                  reasonable          and     appropriate?

 9                               ATTORNEY           HELFER:

10                               Object        to    form.

11                               THE    WITNESS

12                               Yes

13      BY    ATTORNEY          LEVIN:

14      Q.          Okay.

15                  Is    there       anything        you       don't

16      understand          about       the     attendance             rules?

17     A.           No

18      Q.          Do    you    know     if    cheerleading

19      falls       under       the    PIAA     rules?

20     A.           I    don't    know.

21      Q.          Did    you    see     the       academic          rules?

22      Do    you       think    that    they're           reasonable

23      and    appropriate?

24                               ATTORNEY           HELFER:

25                               Object        to    the       form.     I t




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                                                                        18
 1                calls       for    a    legal    opinion

 2                             THE       WITNESS

 3                             Yes

 4      BY   ATTORNEY         LEVIN:

 5     Q.         Do    you    think       the    rules    about

 6      uniforms        are    reasonable          and

 7      appropriate?

 8                             ATTORNEY          HELFER:

 9                             I'd       make    the    same

10                objection          to    form,       calling       for

11                a    legal       opinion.

12                             THE       WITNESS

13                             Yes

14      BY   ATTORNEY         LEVIN:

15      Q.        Do    you    think       the    rules    about

16      sportsmanship,              responsibility             and

17      fundraising           are    reasonable          and

18      appropriate?

19                             ATTORNEY          HELFER:

20                             Object       to    form,    calling

21                for    a    legal       opinion

22                             THE       WITNESS:

23                             I    guess,       yeah

24      BY   ATTORNEY         LEVIN:

25      Q.        Do    you    think       the    rules    about




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                                                                         19
 1      technology           are    reasonable        and

 2      appropriate?

 3                             ATTORNEY        HELFER

 4                             Same     objection

 5                             THE    WITNESS

 6                             I    guess

 7      BY    ATTORNEY        LEVIN:

 8      Q.        On    the    second       page     of    the    rules

 9      under    the     sportsmanship             section,        the

10      rule    states,        quote,       please        have

11      respect        for    your    school,        coaches,

12      teachers,        other       cheerleaders           and

13      teams.         Remember,       you     are    representing

14      your    school        when    at    games,        fundraisers

15      and    other     events            Good    sportsmanship

16      will    be     enforced            This    includes        foul

17      language        and    any    inappropriate

18      gestures

19                Did    I    read     that    correctly?

20      A.        Yes

21      Q.        Do    you    agree       that    it's     a

22      reasonable           and    appropriate           rule    for

23      cheerleaders           to    have     respect       for

24      school,        coaches,       teachers        and       other

25      cheerleaders           and    teams?




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                                                                         20
 1                            ATTORNEY          HELFER:

 2                            I'm    going       to    make    the

 3               same     objection,            you    can    answer

 4                            THE    WITNESS

 5                            I    guess

 6     BY   ATTORNEY       LEVIN:

 7     Q.        And    you       know    what    that       means

 8               Right?           You're    not       confused

 9     about     what     that     means,        are    you?

10                            ATTORNEY          HELFER:

11                            I'm    going       to    object       to

12                form.       What       what    means?

13                            ATTORNEY          LEVIN

14                            The    rules       that    I    just

15               read.

16                            THE    WITNESS:

17                            I    understand          them.

18                            ATTORNEY          HELFER:

19                            Same       objection.

20                            ATTORNEY          LEVIN:

21                            Okay.

22                            Got    it?        Did    you    get

23                            COURT       REPORTER:

24                            Yes.

25                            ATTORNEY          LEVIN




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                                                                                 21
 1                                        she    said       she

 2                understands              them?

 3      BY    ATTORNEY           LEVIN:

 4      Q.        Okay.

 5                And       do    you    agree        that       it   is    a

 6      proper       and     laudable           goal       for   public

 7      schools        to    teach       students           to    have

 8      respect        for       others?

 9                                ATTORNEY           HELFER:

10                                Object        to    form.

11                                THE    WITNESS

12                                Yes

13      BY    ATTORNEY           LEVIN:

14      Q.        Do    you       agree     that       it's       a   proper

15      and    laudable           goal    for        school       districts

16      to    hold     students          accountable              for      not

17      following           applicable           rules?

18                                ATTORNEY           HELFER

19                                I'm     going       to    object         to

20                form.           Are     you    talking          about

21                valid          rules     or    invalid          rules?

22                                ATTORNEY           LEVIN:

23                                You're        allowed          to   answer

24                the       question.

25                                THE     WITNESS




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                                                                                        22
 1                                  Yes.

 2      BY    ATTORNEY             LEVIN:

 3      Q.          Do    you       agree          the    cheerleaders

 4      are    representing                their          teams          like      the

 5      rule       states?

 6                                  ATTORNEY             HELFER:

 7                                  Object          to    the       form.

 8                                  THE     WITNESS:

 9                                  Yes

10      BY    ATTORNEY             LEVIN:

11      Q.          Please          take       a    look       at    Exhibit

12      D-11         Can       we       agree       that       that's            the

13      complaint             that       you       filed       in    this         case?

14      A.          Yes

15      Q.          Please          take       a    look       at    paragraph

16      26    of    the       complaint.                 And    if       I   asked

17      you    this       at       the    last       time,          I'm      sorry.

18      It    says       on    Saturday,             May       28th,         you

19      posted       this          snap.           May    28th       is      a

20      Sunday.

21                  Do    you       remember             now    whether            you

22      posted       it       on    Saturday             or    Sunday?

23                                  ATTORNEY             HELFER:

24                                  I    will       object          as       asked
25                  and       answered.




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                                                                                      23
 1                                  THE       WITNESS:

 2                                  I    don't        remember

 3      BY    ATTORNEY             LEVIN:

 4      Q.          And       did       you    go    and       double-check

 5      after       we    had       the       last       deposition             as    to

 6      whether          it    was       a    Saturday          or       Sunday?

 7      A.          No

 8      Q.          On     page         six              excuse          me,

 9      paragraph             63    of       the    complaint,             when

10      you    get       there,          read       it    to   yourself              and

11      then       I'll       ask       you    a    question             when

12      you ' re        fin i shed .

13      A.          I'm       done

14      Q.          Okay.

15                  You                 do    you    know       where          they

16      got    that       information                that       students             who

17      participate                in    extracurricular

18      activities             are       less       likely          to    abuse

19      alcohol          or    drugs?

20      A           I    don't          know

21      Q           Please          take       a    look       at    61,       where

22      it    is    alleged             that       being       removed          from

23      the    squad          impairs          B.L.                 that's       you,

24      right

25      A.          Yes




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                                                                                24
 1      Q.                  opportunities               to       gain
 2      admission          to     top      colleges.              What's      the

 3      basis     for      that        allegation?

 4                Do       you    know?

 5      A.        I    don't          know

 6      Q.        You're          a    senior                I    mean,

 7      you're        in   11th        grade.

 8                Right?

 9      A         Yes.

10      Q         Okay

11                So       you    haven't         started             applying

12      for    college           yet.

13                Is       that       correct?

14      A         Yes.

15      Q         Have       you       taken      the    SATs          yet?

16      A         No.

17      Q         Where          do    you      currently             think

18      you'd     like      to        go   to   college?

19      A         Bloomsburg

20      Q         And       do    you      know    anything             about

21      Bloomsburg's              cheerleading

22      opportunities?

23      A         No.

24      Q         Have       you       looked      at    Bloomsburg's
25      cheerleading              opportunities                  to   even




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                                                                                        25
 1      know    if      they          have       a    cheerleading

 2      squad?

 3      A.         No

 4      Q.         Do    you          know       anything             about       how

 5      Bloomsburg               views       cheerleading                   in    terms

 6      of   its       enrollment                and       acceptance

 7      process?

 8      A.         I    don't          know.

 9      Q.         Have          you    researched                any

10      colleges         or       universities                   to    determine

11      what    role,            if    any,          your       activity          of

12      cheerleading                  has    with          getting          into

13      those      schools             and       colleges?

14      A          No.

15      Q          Has       anybody             told       you       from       any

16      college         or       university                that       you    would

17      qualify         for       any       scholarships                by       virtue

18      of   your       activities                   on    cheerleading?

19      A.         No.

20      Q.         Paragraph                62       alleges          that,

21      quote,         sustained             participation                   in

22      extracurricular                     activities                also       has

23      significant               benefits                for    student

24      wellbeing,               end    of       quote.

25                 Did       I    read        that         correctly?




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                                                                                   26
 1      A.          Yes

 2      Q.          Can    you       tell       me    what    benefit

 3      your    participation                   in    cheerleading             has

 4      had    on    your       well-being?

 5                               ATTORNEY             HELFER

 6                               I'm       going       to    object       to

 7                  form.

 8                               THE       WITNESS:

 9                               I    don't          know

10      BY    ATTORNEY          LEVIN:

11      Q.          Okay.

12                  Please       turn       to       page    12    of   the

13      transcript,             and       you'll      notice        that

14      there       are    page       numbers          at    the    bottom

15      of    each       page.        I    added       those       page

16      numbers          for    ease       of    reference

17                  Are    you       on    page       12?

18      A.          Yes

19                               ATTORNEY             HELFER

20                               And       just       for

21                  clarification                of    the    record,

22                  you    referred             to    transcript.              I

23                  think       you       were       still    referring

24                  to    the    complaint?

25                               ATTORNEY             LEVIN




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                                                                                            27
 1                                Oh,       if       I    misspoke,               thank

 2                you    for          pointing                that       out            I

 3                am    still          referring                   to    the

 4                complaint.

 5      BY    ATTORNEY        LEVIN

 6      Q.        In    paragraph                E       on    that          page,

 7      you're     asking             the   Court              to,       quote,

 8      award    plaintiff              damages                in       an   amount

 9      determined           at       trial,             end       of    quote

10                Did    I    read          that          correctly?

11      A.        Yes

12      Q.        Do    you       know       what             damages          you

13      are    seeking?

14      A         No

15      Q         Do    you       agree          that          participation

16      in    extracurricular                   activities                   is     a

17      privilege       and           not   a    right?

18                                ATTORNEY                HELFER

19                                I'm       going             to     object         to

20                the    form.

21                                THE       WITNESS

22                                I    guess

23      BY    ATTORNEY        LEVIN:

24      Q.        That's          consistent                   with          your

25      understanding?




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                                                                                   28
 1      A           Yes

 2      Q           And    do    you        agree     that         students

 3      can    be       excluded           from    extracurricular

 4      activities          simply           because         they're         not

 5      good    enough          to     participate?

 6                               ATTORNEY            HELFER

 7                               I'll        object          to    form.

 8                               THE        WITNESS

 9                               I     don't       know

10      BY    ATTORNEY          LEVIN:

11      Q.          Well,       you        would     agree         that     with

12      cheer l e ad in g ,          i f    you    don ' t     me e t     the

13      standards          for       the     tryouts ,            you    don ' t

14      get    to       participate

15                  Right?

16      A           Yes

17      Q           And    you're           aware     that         similar

18      rules       apply       with        respect       to       other

19      teams

20                  Right?

21      A           Yes.

22      Q           I    think       you     said     that         you     were

23      on    another       team.

24                  Right?

25      A.          Cross       country




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                                                                                  29
 1      Q.          Cross       country            And       do    you       have

 2      to    try    out       for    that    and       meet       certain

 3      standards?

 4      A           No.

 5      Q           Okay

 6                  So    everybody          gets       to    be    on

 7      cross       country          regardless          of       their

 8      capabilities?

 9      A           Yes.

10      Q           Okay

11                  Do    you    know       which       sports          in    the

12      school       district          require          tryouts          and       a

13      certain       minimum          level       of    proficiency

14      in    order       to    get    on    the    team          and    which

15      ones    don't?

16                               ATTORNEY          HELFER:

17                               I'm    going       to       object          to

18                  form.

19                               THE    WITNESS:

20                               I'm    not    sure

21      BY    ATTORNEY          LEVIN

22      Q.          Do    you    agree       that       there       are

23      certain          extracurricular                activities                in

24      the    school          district       where          students             can

25      be    excluded          if    their    grades             are    not




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                                                                                 30
 1      good    enough?

 2      A.        Yes.

 3      Q.        Do    you    think       it's          fair       to    keep

 4      someone        off    of    an   extracurricular

 5      activity        if    they're          struggling                in

 6      school     with       their      grades?

 7                             ATTORNEY             HELFER

 8                             I'd       object          to    the       form.

 9                It's       calling       for       an       opinion.

10                You    can       answer.

11                             THE       WITNESS

12                             Yes

13      BY   ATTORNEY         LEVIN:

14      Q.        Do    you    think       a    school             district

15      should     have       any    right          as    to       how    it

16      allows     students          which                    to    wear

17      uniforms        that       the   school          buys        and       pays

18      for?

19                             ATTORNEY             HELFER:

20                             Object          to    the       form.

21                             THE       WITNESS:

22                             Yes

23      BY   ATTORNEY         LEVIN:

24      Q.        Do    you    think       that          teaching

25      students        that       there       are       consequences




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                                                                                       31
 1      for    crude     and          profane                communications

 2      on    social     media                is       a    proper       role   for

 3      school     districts?

 4                                ATTORNEY                   HELFER:

 5                                I'm             going          to   object     to

 6                the    form.

 7                                THE             WITNESS

 8                                I       guess

 9      BY    ATTORNEY       LEVIN:

10      Q.       Which        takes                   more       time,    the

11      cheerleading              or          the          cross      country,        do

12      you    know?      What's                      your       best    estimate?

13     A.         I'm    not

14                                ATTORNEY                   HELFER:

15                                I'm             going          to   obj ect

16                Are    you          asking                in    terms    of    her

17                time       or       -   -   -   ?


18                                ATTORNEY                   LEVIN:

19                                Oh,             yeah,          in   terms

20                of

21                                THE             WITNESS:

22                                Cheer                probably          was.

23      BY    ATTORNEY       LEVIN:

24      Q.        Okay.

25                Is    it    close,                   do    you      think?




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                                                                            32
 1     A.         I'm    not       sure.

 2     Q.         Does       the    cheerleading             squad

 3     ever    perform         outside          of    the   Mahanoy

 4     School      District,          in      other       words,       at

 5      away   games?

 6                             ATTORNEY             HELFER:

 7                              I'm    going         to   object       as

 8                asked       and     answered.

 9                             THE     WITNESS

10                             Yes

11      BY   ATTORNEY        LEVIN:

12      Q.       And     how       does       the    squad    get      to

13      away   games?

14                             ATTORNEY             HELFER:

15                              Same      objection.

16                              THE    WITNESS

17                              Take      a    bus.

18      BY   ATTORNEY        LEVIN:

19      Q.        Is    it    on    the       same    bus    as    the

20      football        team,       for       example,       or   is     it      a

21      different        bus?

22      A.        No.

23                              ATTORNEY            HELFER:

24                              Same      objection.

25                              THE    WITNESS:




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                                                                               33
 1                             It's     a    different         bus.

 2      BY    ATTORNEY        LEVIN:

 3      Q.        Are    there       any     other       students          on

 4      the    bus     other    than        the    cheerleaders?

 5                             ATTORNEY           HELFER:

 6                             Same     objection

 7                             THE     WITNESS:

 8                             Yes

 9      BY    ATTORNEY        LEVIN:

10      Q.        And    who    else        is    on    the   bus

11      other    than     the    cheerleaders?

12                             ATTORNEY           HELFER:

13                             Same     objection

14                             THE     WITNESS:

15                             The     band       front

16      BY    ATTORNEY        LEVIN

17      Q.        Do    you    know     anything          about      an

18      organization           called        the       National

19      Scouting        Report,        NSR       for    short?

20      A.        I    don't    know.

21      Q.        Have    you     or    your       parents       been

22      contacted        by    NSR     about       your

23      cheerleading?

24                             ATTORNEY           HELFER:

25                             I'm     going       to    object            I




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                                                                            34
 1               think        she    already          answered        that

 2               she     doesn't          know       what     the

 3               organization              is.

 4                             THE       WITNESS

 5                             I    don't       know

 6     BY    ATTORNEY         LEVIN:

 7     Q.         Do    you    know       anything           about    an

 8     organization            called          the   College

 9     Cheerleading            Recording             (sic)    Group

10     Recruiting         Group?

11     A         No.

12     Q         Have     you       ever       been    contacted           by

13     any    group      called          the    cheerleading

14     College         Cheerleading             Recording           (sic)

15     Group?

16                             ATTORNEY          HELFER

17                             Same       objection

18                             THE       WITNESS:

19                             No.

20     BY    ATTORNEY         LEVIN

21     Q.         Do    you    know       what       skillset

22      colleges        and    universities             look        for    in

23      order    to     select       a    student       for     their

24      cheerleading           squad?

25     A.         I    don't       know.




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                                                                                 35
 1     Q.         Do    you    have       any       evidence          if

 2      colleges        or    universities                would       know

 3      that   you      were       removed          from    the       junior

 4     varsity         cheerleading               squad     last          year?

 5     A.         I'm    not       sure.

 6     Q.         Does       that    mean          you    know       of    no

 7      evidence        that       they       get    that

 8      information?

 9                             ATTORNEY             HELFER:

10                             I'm     going         to    object          to

11                form.

12                             THE    WITNESS:

13                             I              I    guess    they          can.

14                I    don't       know

15      BY   ATTORNEY         LEVIN:

16     Q.        You     don't       know?           Do    you       know

17     what    weight,         if    any,         colleges           and

18     universities            give       to      participation                 in

19      junior        varsity       cheerleading                in    tenth

20      grade?

21     A          I    don't              I       don't    know.

22     Q         Okay.

23                You    obviously                know    who    Ms.

24     Luchetta         is.

25               Right?




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                                                                                 36
 1     A         Yes.

 2      Q        And       you       were    in        attendance          at

 3      the    preliminary             injunction              hearing          in

 4      this    case       on    October          2,    2017.

 5                Is    that         correct?

 6     A.        Yes.

 7      Q.       You       heard       Ms.    Luchetta              testify

 8      at    that     hearing.

 9                Is    that         correct?

10     A.        Yes

11     Q.        Ms.       Luchetta          testified              that    the

12     main     purpose          of    the    rules           is    not    only

13      to    teach     students            that       they        have    to

14      follow       the    rules,          and    if        they    don't

15      follow       the    rules,          there's

16      consequences.                 But    in    addition,              that

17      the    school       wants       to    teach           them    team

18     building         skills.

19               Do     you      remember              her    testimony

20     about     that?

21                               ATTORNEY              HELFER:

22                               Object       to        form.

23                               THE     WITNESS:

24                               I    don't       remember
25     BY     ATTORNEY          LEVIN:




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                                                                                37
 1     Q.        Do     you      have       any       evidence          to   the

 2     contrary,           to    contradict             her          testimony

 3     as    I've     just       summarized             it       for    you?

 4     A.        I     guess         not

 5     Q.        Please          take       a    look       at       Exhibit

 6     D- 1 3        Can    we       agree       that       that's       a

 7     permission           form          that    your       parents         and

 8     your     sister          signed          this    year?

 9     A         I    don't                 my    sister?

10     Q         You       have       a    sister       or       a    brother.

11     I    forget     what          you    told       me

12     A         I     have      a    brother

13     Q.        Okay

14               Didn't          your       brother          sign       this

15     form?

16     A.        I     guess.

17                               ATTORNEY             HELFER

18                               Object          to    form.

19     BY    ATTORNEY           LEVIN:

20     Q.        This       indicates             that       the

21     homeroom        teacher             is    Gettig

22               Do     you      see       that?

23     A.        Yes.

24     Q.        Is     that         your       understanding

25     that's        your       brother's             homeroom




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                                                                           38
 1      teacher?

 2      A.        I    guess         I    don't       know    what       his

 3      homeroom        is.

 4      Q.        Do    you    have       any    notes       or

 5      records        about    anything          that       occurred

 6      with    cheerleading              last    year?

 7      A.        I    don't    know.

 8      Q.        Well,       did    you       prepare       any

 9      notes?         Did    you    keep       any    journals?           Do

10      you    have

11      A .       No

12      Q.               a    calendar          where       you    put

13      notes    down        about       anything          that

14      happened        at    cheerleading             last       year?

15                             ATTORNEY          HELFER:

16                             I'm       going    to       object    to

17                form.        You       can    answer

18                             THE       WITNESS:

19                             No.

20      BY    ATTORNEY        LEVIN

21      Q.        Do    you    have       any    notes,       records

22      of    things     that       happened          at

23      cheerleading           this       year?

24      A.        No.

25                             ATTORNEY          HELFER




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                                                                                     39
 1                                 Can    we       take    a       quick

 2                break?            Do    you       want       a    tissue?

 3

 4      (WHEREUPON,           AN        OFF       RECORD       DISCUSSION

 5      WAS    HELD.)

 6

 7      BY    ATTORNEY        LEVIN

 8      Q.        Please           take       a    look    at       Exhibit

 9      D-7      That's            an    application               that       you

10      signed        back    in        2017.

11                Is    that        correct?

12      A.        Yes

13      Q.        Did       you     read          the    application

14      before        you    signed           it?

15      A.        I    don't        remember

16      Q.        On    that        form,          towards          the

17      bottom,        it    asks        you       to    list      your

18      extracurricular                  activities                     The   first

19      one    says     Interact              Club

20                What        is    that?

21                                 ATTORNEY             HELFER

22                                 Object          as    asked          and

23                answered,              but       you    can       answer

24                                 THE    WITNESS;

25                                 Interact             Club       is    like




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                                                                         40
 1                Meals     on       Wheels.        Like    we

 2                deliver           meals    to    the    elderly

 3     BY    ATTORNEY      LEVIN:

 4     Q.         Okay.

 5                Did    you        object    to    anything          that

 6     was      stated    on        this    application          at   any

 7     time?

 8                              ATTORNEY          HELFER:

 9                              Objection          to    form.

10                              THE       WITNESS:

11                              I    don't    remember

12     BY    ATTORNEY      LEVIN:

13     Q.         Did    you        file    any    complaints

14     with      anybody        about       what   was     stated      on

15     th i s    form?

16                              ATTOENY       HELFER:

17                              Object       to    form,    you       can

18                answer.

19                              THE       WITNESS:

20                              I    don't    think       so.

21     BY    ATTORNEY      LEVIN:

22     Q.         What     do       you    want    from    this

23     lawsuit?

24     A.         I   don't         know.

25                              ATTORNEY          LEVIN




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                                                                              41
 1                                Were    you    able       to    hear

 2                that?

 3                                COURT    REPORTER

 4                                She    said    I    don' t      know.

 5                                Correct?

 6                                ATTORNEY       LEVIN:

 7                                Yes      Try       to    keep       your

 8                voice       up.

 9      BY    ATTORNEY        LEVIN

10      Q.        When       you    returned          to

11      cheerleading              after    the       Judge       granted

12      the    preliminary              injunction          in    this

13      case            the       same    two    coaches          as

14      before

15                Is    that       correct?

16      A.        Yes

17      Q.        How    did       the    coaches          treat       you

18      when    you     returned          to    the       cheerleading

19      squad?

20      A         Fine,       I    guess.

21      Q         Can    we       agree    that       both       of    the

22      coaches        are    also       teachers          in    the

23      district?

24      A         Yes
25      Q         Did    you       have    either          of    the




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                                                                            42
 1      coaches         as    a    teacher?

 2      A.         Mrs         Luchetta.

 3      Q.         And       what       subject       did    she    teach

 4      you?

 5      A.         Geometry.

 6      Q.         And       did       you    have    her    last

 7      school       year,         the       2017-18       school    year,

 8      or    do   you       have      her     this       school    year

 9      the    '17                '18-'19          school    year?

10      Excuse       me.

11      A.         Last        school         year.

12      Q.         Okay

13                 And       how       did    she    treat    you    as     a

14      teacher         last       school          year?

15      A.         Fine.

16                                 ATTORNEY          LEVIN

17                                 I    have       nothing    further

18                                 ATTORNEY          HELFER:

19                                 Okay.

20                                 ATTORNEY          LEVIN:

21                                 That's          your    reward    for

22                 being          short,       succinct       and

23                 responsive.                 I    assume    you    have

24                 no    questions?

25                                 ATTORNEY          HELFER




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                                                                                      43
 1                             I    only          have       one

 2                question

 3

 4                             EXAMINATION

 5

 6      BY   ATTORNEY         HELFER:

 7      Q.        To    use    opposing                Counsel's

 8      terminology           of    reasonable               and

 9      appropriate,           do    you       believe               it's

10      reasonable        and       appropriate                  for       a

11      school     district          to       force         students             to

12      comply     with       rules       that         violate             the

13      student's       constitutional                      rights?

14      A.        No.

15                             ATTORNEY                HELFER:

16                             Okay.              That's             all

17                Okay.        Thank          you.

18                             ATTORNEY                LEVIN

19                             Thank          you.

20                        *    *    *     *   *    *    *    *

21           DEPOSITION        CONCLUDED                AT       9    30       A.M.

22                        *    *    *     *   *    *    *    *

23

24

25




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                                                                               44
 1     COMMONWEALTH OF PENNSYLVANIA

 2     COUNTY OF LUZERNE

 3                                            CERTIFICATE

 4                        I,    Samantha Bruer,          a Notary Public in

 5    and for the Commonwealth of Pennsylvania,                         do

 6    hereby certify:

 7                       That the witness,             B.L.,    whose

 8    testimony appears in the foregoing deposition,

 9    was duly sworn by me on 11-21-18 and that the

10    transcribed deposition of said witness is a

11    true record of the testimony given by said

12    witness;

13                       That the proceeding is herein recorded

14     fully and accurately;

15                       That I             am neither attorney nor counsel

16     for,      nor related to any of the parties to the

17    action in which these depositions were taken,

18    and further that I                       am not a relative of any

19    attorney or counsel employed by the parties

20    hereto,           or financially interested in this

21    action.

22     Dated the 7th day of December,                        2018
           ·~•n:: '" .,.u OF PENNSYLVANIA
23    cOMM01""L.I"'-' ''
           NOTARIAL SEAL               .
       SAMANTHA BRUER, Notary Public
24     Wilkes-Barre, Luz~me Co~mty, p~               Court Reporter
      My Commission Expires Apnl 15, 2 19
25                                                    Samantha Bruer




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                                                                                    Page 1

      A          alleges             17:3 27:7            34:16,20          37:14
a.m2:14           25:20              31:16                35:9,15          brother's
  43:21          allowed           asks 39: 17            36:21,25          37:25
able 41: 1        21:23            assume 14: 20          37:17,19         Bruer 2: 7
abuse 23: 18     allows 30: 16       42:23                38:15,20          44:4,25
academic         amount 27: 8      attendance             38:25 39:7       building
  17:21          answer 10: 10      15:22 16:3            39:21 40:3        36:18
acceptance        10:20 11:4        16:11,24              40:8,12,21       bus 32: 17,19
  25:6            12:7 13:19        17:16 36:2            40:25 41:6        32:21 33:1
accountable       14:2 20:3        ATTOENY                41:9 42:16        33:4,10
  21:16           21:23              40:16                42:18,20         Business
accurately        30:10            attorney 4: 5          42:25 43:6        3:12
  44:14           38:17              4:7 6:3              43:15,18         buys 30: 17
action 44: 17     39:23             7:18 9:8              44:15,19         Byberry 3 : 13
  44:21            40:18             10:8,13,18          authoriz ...
activities       answered           10:23 11:2            1:24             -
                                                                                    c   ~---




 13:23            13:8 22:25        11:7 12:5            award27: 8        C 3: l7:9
 23:18            32:8 34:1         12:8 13:6            aware 15: 13      calendar
  25:18,22        39:23             13:11,17              28:17             38:12
  27:16 28:4     anybody            13:20,25                               called 7: 12
                  10:15             14:5 15:4                    B          33:18 34:8
 29:23                                                   -   -




 39:18            11:18,22          15:8,12              B 7: 19            34:13
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 3     Actual Name                                    Initials Used
  4    Brandy Levy                                    B. L.,   B.

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